Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 1 of 104




                            In The Matter Of:
           TERESA POPE HOOKS, Individually, et al. vs.
                CHRISTOPHER BREWER, et al.




    The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
                                June 28, 2021



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   Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 2 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                       June 28, 2021
                                                              Page 1                                                                     Page 3

                 IN THE UNITED STATES DISTRICT COURT                                                        I N D E X
                               FOR THE
                     MIDDLE DISTRICT OF GEORGIA                                                                                         Page
                                                                          Examination by Mr. Buckley. . . . . . . . . . . . . .                5
   TERESA POPE HOOKS, et al.,        )
                                     )
         Plaintiffs.                 )       CIVIL ACTION FILE
                                 )       NO.: 3:16-CV-00023-DHB-BKE
   VS.                               )
                                     )
   CHRISTOPHER BREWER, in his        )
   individual capacity,              )                                                                  E X H I B I T S
                                     )
         Defendant.                  )                                                                                           Page Marked/
                                                                          Exhibit           Description                             Identified
         The remote video-conference deposition of FRANCIS W.
                                                                          D-1                 Curriculum Vitae                           4/17
  RUSHING, Ph.D., taken for the purposes stated herein; all
                                                                          D-2                 Fee Schedule                               4/23
   formalities waived, excluding the reading and signing of the
                                                                          D-3                 Loss of Earning Capacity                   4/25
  deposition, before April D. Herbert, Court Reporter in and                                  Report - 06-23-2021
  for the State of Georgia, commencing at 10:06 a.m., Monday,             D-4                Loss of Earning Capacity                  103/31
                                                                                              Report - 08-08-2016
   June 28, 2021.




                                                                                                     TRANSCRIPT CODES:
                                                                          --      interruption/change in thought
                                                                          ...     incomplete thought
                                                                          (sic) denotes word/phrase that may seem strange or incorrect
                          ANSLEY COURT REPORTING                          has been written verbatim
                          April D. Herbert , CVR
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                                Suite F-342
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                               (404) 210-6977                             (pixelated audio)     denotes that the videoconferencing audio
                       www.ansleycourtreporting.com                       feed was momentarily disrupted or degraded
                                                                          (inaudible) denotes that the speaker's voice was not audibly
                                                                          conveyed by the videoconferencing audio feed




                                                              Page 2                                                                     Page 4

                            REMOTE APPEARANCES
                                                                        1              PROCEEDINGS
   ON BEHALF OF THE PLAINTIFF:                                          2                                  10:06 a.m.
         SPEARS & FILIPOVITS, LLC
         BY: GEORGE BRIAN SPEARS, ATTORNEY AT LAW                       3           (Whereupon, the court reporter
         1126 Ponce de Leon Avenue, Northeast
         Atlanta, Georgia 30306                                         4       complied with the requirements of
         (404) 905-2225
         (404) 880-3461, Facsimile                                      5       O.C.G.A. §9-11-28(c).)
         Email: bspears@civil-rights.law
                                                                        6           (Whereupon, Exhibit Numbers 1, 2, 3
   ON BEHALF OF THE DEFENDANTS:                                         7       were marked prior to the deposition.)
         BUCKLEY CHRISTOPHER, PC
         BY: TIMOTHY JOSEPH BUCKLEY, III, ATTORNEY AT LAW
                                                                        8           THE COURT REPORTER: Before I swear
         2970 Clairmont Road, Northeast
         Suite 650                                                      9       in the Witness will Counsel please
         Atlanta, Georgia 30329
         (404) 633-9230                                                10       stipulate on the record that there are no
         (404) 633-9640, Facsimile
         Email: tbuckley@bchlawpc.com                                  11       objections to the Court Reporter swearing
                                                                       12       in the Witness from a remote location?
                                                                       13           MR. SPEARS: No objection from
                                                                       14       Plaintiff.
                                                                       15           MR. BUCKLEY: None here. April, can
                                                                       16       you hear everybody okay?
                                                                       17           THE COURT REPORTER: I can. Can you
                                                                       18       hear me?
                                                                       19           MR. BUCKLEY: Yes.
                                                                       20           THE COURT REPORTER: Okay, great.
                                                                       21               (Witness sworn.)
                                                                       22 Whereupon,
                                                                       23            FRANCIS W. RUSHING, Ph.D.
                                                                       24 was called as a witness herein and, having been first duly
                                                                       25 sworn, was examined and deposed as follows:


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    Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 3 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                       June 28, 2021
                                                                  Page 5                                                                        Page 7



 1         MR. BUCKLEY: This will be the                                    1    Q. Well, I'll dispense with most of the formalities
 2     deposition of Francis Rushing taken for -                            2   about taking a deposition.
 3     - pursuant to subpoena and for discovery                             3           MR. BUCKLEY: Do you know if -- Have
 4     and all other purposes allowed under                                 4         you discussed with the Expert, Ryan,
 5     Georgia law and the Federal Rules of                                 5         whether he's going to reserve signature?
 6     Civil Procedure and Federal Rules of                                 6            MR. SPEARS: Let's reserve just for
 7     Evidence. The deposition will proceed,                               7         convenience. Thank you.
 8     if agreeable, with the understanding that                            8            MR. BUCKLEY: We'll waive any
 9     all objections except those going to the                             9         formalities and stipulate he may sign in
10     form of the question or responsiveness of                           10         front of any notary.
11     the answer will be reserved until such                              11            (Whereupon, an off-the-record
12     time as first use is made, although, of                             12         discussion ensued between Counsel and
13     course, privilege can be asserted and                               13         Court Reporter.)
14     should be on the record today. Is that                              14   BY MR. BUCKLEY (Resuming):
15     agreeable, Brian?                                                   15    Q. Well, Dr. Rushing, the one thing I will talk to you
16         MR. SPEARS: Yes, thank you.                                     16   about briefly in terms of mechanics of the deposition --
17         MR. BUCKLEY: The other objections                               17           MR. BUCKLEY: And I'm leaning in,
18     can be asserted at the time of any                                  18         April, in hopes that that helps, and
19     attempted use of this transcript.                                   19         given that I'm over 50, I'm also talking
20              EXAMINATION                                                20         louder than I need, which may not change
21 BY MR. BUCKLEY:                                                         21         things, so I apologize for that. That's
22   Q. Best to refer to you as Dr. Rushing?                               22         what we do when we think an internet or
23   A. You may refer to me as Dr. Rushing, you may refer                  23         cell phone connection isn't good and we
24 to me as Mr. Rushing, and you may call me Bill Rushing.                 24         probably in the back of our minds know
25   Q. You hold --                                                        25         that that's not going to help. But if I

                                                                  Page 6                                                                        Page 8



 1   A. Whichever is your preference.                                       1         do that, I apologize.
 2   Q. You hold a Ph.D.; is that correct?                                  2   BY MR. BUCKLEY (Resuming):
 3   A. Excuse me?                                                          3     Q. Doctor, one thing that I found to be a little
 4   Q. You hold a Ph.D.; correct?                                          4   unique in Zoom is there can be some delays. So even more
 5   A. Yes, I do.                                                          5   important than usual for the -- for the transcript to be
 6   Q. I'm going to refer to you as Dr. Rushing just --                    6   accurate, and for the peace of mind of our court reporter, is
 7   A. Okay.                                                               7   we really need to make sure we take turns and not talk at the
 8   Q. -- just as I did in 1996 at a trial.                                8   same time. But other than that it's a standard procedure as
 9   A. Okay.                                                               9   far as I see it.
10   Q. Dr. Rushing, my name is Tim Buckley. As I recall,                  10    A. All right, sir. That's agreeable.
11 we've met before and periodically over the years, although I            11     Q. Would you -- Well, I'll put it this way. I've been
12 don't think I've talked to you more than five or six times              12   given a curriculum vitae for you that was provided to us
13 over the years and mostly on the record. Do you have a                  13   recently. When was the last time you updated your CV?
14 different recollection of me?                                           14      A. Well, it's pretty well updated. I have not -- That
15   A. I do not.                                                          15   CV is both the biographical background and the educational
16   Q. You've been deposed easily in excess of 30 or 40                   16   background and professional publications and that kind of
17 times over your career, I would take it?                                17   thing. So most of it is up-to-date. (Inaudible) because I
18   A. Depositions?                                                       18   have not been publishing articles and books any longer since
19   Q. Yes.                                                               19   I retired from -- well, a few things since I retired in 2000,
20   A. The number of depositions probably exceed well over                20   but not many additional publications came forward after that.
21 a hundred.                                                              21    Q. Your street address in Reva -- is it pronounced
22   Q. Yeah.                                                              22   Reva, Virginia?
23   A. I think what you have there in terms of deposition                 23    A. That's correct.
24 and trial testimony I've given in the last five years is                24     Q. The address, your cell, your email, those are all
25 pretty extensive as well.                                               25   accurate; correct?

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     Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 4 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                       June 28, 2021
                                                                     Page 9                                                                        Page 11



 1    A. That is correct.                                                      1     Q. In the field of economics as an expert in the last
 2    Q. And you were a professor at Georgia State                             2   10 years have you given any testimony or provided reports in
 3   University up until when?                                                 3   a litigation setting that were outside of the general
 4      A. July 1, 2000. And then after that I was -- on                       4   subsection of economics having to do with estimating the
 5   August 1, 2000 I was rehired by Georgia State University in a             5   value of a life based on economic factors? For example, have
 6   unique role. Just a negotiated compensation and some                      6   you done any expert testimony in forensics in the value of
 7   responsibilities for the Center for Business and Economic                 7   what a business would have been or what the production of a
 8   Education in the business school there. Well, at that time                8   particular business would have been as opposed to here -- and
 9   it moved to the Andrew Young Business School. So I did that.              9   I'll generalize. You've given us a report about what the
10   I also came back and taught on two occasions in the MBA which            10   estimated future income, subject to reductions to present
11   was a joint program between Georgia State University and the             11   value and so forth, is for an individual?
12   American University in Cairo, Egypt. And I flew to Egypt and             12     A. I understand the question. Let me answer it in
13   taught there for two summers for a combined course of micro              13   this fashion. You gave a timeline of 10 years. Over the
14   and macro in the MBA program. After that my responsibilities             14   course of my -- from 1985 to present I have, on a number of
15   professionally and for compensation terminated. About eight              15   occasions, dealt with some issues pertaining to corporate
16   years ago, maybe not quite that long, maybe like six years               16   claims for damages due to breach of contract, intellectual
17   ago, I accepted a position on the Board of the Honors College            17   property rights, violations and those kinds of things.
18   of Georgia State University and I serve in that capacity to              18   Procedurally, they're not that different in terms of
19   this day. That is non-compensated. It's simply a commitment              19   determining if the causation is, in fact, one party has
20   on my part to help develop the Honors Program at Georgia                 20   violated the -- some right or -- either legal or personal
21   State University.                                                        21   rights of an individual, then it may be -- there may be
22     Q. Outside of your work on the Board of the Honors                     22   losses that has brought about that can be estimated. At
23   College at GSU do you have any other sources of employment               23   least contended to be estimated. But that I haven't done --
24   other than, as today, serving as a privately retained expert             24   I've done very few of those over the last 10 years. I would
25   in the field of economics?                                               25   say maybe one or two. I've had some civil rights things

                                                                    Page 10                                                                        Page 12



 1    A. No, I do not.                                                         1   where procedures of people being -- lost their positions due
 2    Q. We're sitting here on June -- what is it?                             2   to the fact that their performance in one manner or another
 3    A. 28th.                                                                 3   has been inappropriate as far as his employer or her employer
 4    Q. June 28th. When's the last time you gave a                            4   was concerned. But that's not my routine business. I don't
 5   deposition?                                                               5   do that very often. My main practice is personal injury and
 6     A. Actually that's a good point -- a good question to                   6   many medical malpractice cases that also come forward.
 7   ask. I provided -- or at least Brian provided you with a                  7     Q. I take it in the context of evaluating the value of
 8   copy of my list of cases I've testified in. That did not                  8   an individual's life sometimes your expertise is called upon,
 9   have the last testimony I gave which I can look up if you'd               9   say, if they owned their own business, to evaluate the
10   like for me. But essentially I think it was in February of               10   business itself in terms of what the business was generating,
11   2021. And I will provide that to you to complete your -- the             11   what it would have been estimated to generate in the future
12   information that you have on my testimony.                               12   as a, for lack of a better word, a sidecar to what the value
13     Q. If you'll provide that to Brian and he can just                     13   of that individual person's economic life would have been,
14   send it to me. I don't have any questions about it. Let me               14   correct?
15   just confirm that during the last, say, 10 years, to the                 15     A. Let me, if I may, do a differential here. What I
16   extent you've offered expert reports or testimony it's been              16   calculate is the economic -- is economic in nature. In other
17   in the field of economics?                                               17   words, I will calculate loss of income, loss of fringe
18    A. Only. Yes, correct.                                                  18   benefits, loss of value of household services. I may
19     Q. You don't have an expertise in police procedures,                   19   estimate the cost associated with a life care plan that would
20   coronary -- I mean, you're not a medical examiner or a                   20   be needed in order to provide the services the individual has
21   coroner or a medical professional or anything in those                   21   determined they will need if the funds are available. The
22   fields, correct?                                                         22   other -- The whole value of life, which is a different
23     A. That's correct. My Ph.D. is in the field of                         23   concept. In other words, it may have an economic -- it does
24   economics, and that is the expertise that I exercise                     24   have an economic component to it, but it is not the sole
25   consultations.                                                           25   component. Pain and suffering is not something that I


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     Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 5 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                       June 28, 2021
                                                                      Page 13                                                                     Page 15



 1   calculate. I do not try to do that full value of life which                 1   you're looking for and how you might calculate it.
 2   is beyond what the economic justifiable evidence it                         2     Q. And at the risk of the start of this deposition
 3   demonstrates. So I'm just trying to differentiate between                   3   being more about what you don't have opinions about as
 4   the full value of life and economic value.                                  4   opposed to what you do have opinions about, that type of
 5     Q. Fair enough. And I'll take some responsibility for                     5   analysis of a sole proprietorship or an independently owned
 6   sending us down a little bit of a tangent there. I                          6   business, that's not part of what you evaluated with regard
 7   understand that your expertise is limited to the economic                   7   to Mr. Hooks, correct?
 8   component of -- of any aspect of what you're evaluating. So                 8     A. That is correct. Actually I evaluated Mr. Hooks
 9   like things like pain and suffering or the value of the                     9   based on the evidence that I had about his position at the
10   person was as head of household or spouse, you don't                       10   time of his -- that he died. He had become a party to
11   calculate those things other than to the extent that there                 11   business activities with the Graham Brothers in construction,
12   are economic components like generating income and providing,              12   and those were the last -- now, that is brought to the fore
13   you know --                                                                13   by the -- generally the assumptions that an economist would
14     A. Loss of consortium is another one that gets brought                   14   make. And that is that the best indicator of what the
15   into arguments from time to time. But once again, I do not                 15   market's evaluation of an individual's time worth is would be
16   do that either.                                                            16   manifested most likely -- most likely in the last position
17     Q. I could conceive of a situation where the economic                    17   that he or she held. Now, that's not universally true.
18   component of loss of consortium -- for example, if someone is              18   People make economic decisions that are perfectly valid to
19   providing services to a physically challenged or disabled                  19   take a cut in pay to join a company in which their
20   individual and then they pass away or die or have to go do                 20   aspirations rise rapidly in that company to far and exceed
21   something else, you could calculate, well, now they're going               21   what compensation they may have had in the position that they
22   to have to get those services somewhere else. So that would                22   resigned. So it's not a universally true statement, but it
23   have an economic --                                                        23   is one at least for general guidance in terms of what they're
24    A. Right.                                                                 24   doing, because they have, by mutual consent, agreed to a term
25    Q. -- component.                                                          25   of compensation with the related functions they have to

                                                                      Page 14                                                                     Page 16



 1    A. That's right.                                                           1 perform. And, therefore, you would assume it's both parties
 2    Q. But none of that in this case? You're not --                            2 are in agreement as to what the arrangements are.
 3    A. None of that, correct.                                                  3   Q. Fair enough.
 4      Q. So, but getting back -- And restricting it to                         4            MR. BUCKLEY: Brian, I don't want to
 5   economic. You have experienced where the individual whose                   5        go off the record, but I am getting a
 6   life you're looking at for evaluation of the economic                       6        little bit of feedback. And I think if
 7   component might include that they owned a business, and then                7        I, once again, using my highly technical
 8   you would look at the actual records of that business as part               8        skills with regard to the internet, and
 9   of what you were evaluating as the economic stream that had                 9        I'm being facetious, I'm going to check
10   the person's life or ability to participate in that business               10        and see if I can turn off some devices
11   not been interrupted, correct?                                             11        that may be using up some of my
12     A. That's right. If you have an independent, either a                    12        bandwidth, if that's the right term. So
13   sole proprietorship or maybe an LLC in which only one                      13        if you all can just bear with me for 30
14   individual is involved, then it is slightly different in                   14        seconds I'm going to run and turn off
15   terms of the nature of the calculations what you might do.                 15        some phones and things and then I'll be
16   The most typical case is farmers, would be one. The other                  16        right back. But I don't want to take a
17   would be truckers. Many times they're independent truckers.                17        break.
18   So there are -- have been over time cases in which they have               18            MR. SPEARS: We'll be here.
19   come into -- into play. They are not unusual because there                 19            (Whereupon, a short recess was
20   are a lot of sole proprietors now and that's just the nature               20        taken.)
21   of it. What the difference is, is clearly there are no -- If               21 BY MR. BUCKLEY (Resuming):
22   you are the sole proprietor, as I am in my business of                     22   Q. Doctor, your curriculum vitae, I've had it
23   consulting, then I must pay my own Social Security and my own              23 premarked as an exhibit. I'm not sure what number.
24   Workers' Comp, and all of those factors become my burden, not              24            MR. BUCKLEY: Madam Court Reporter,
25   my benefit. So you've got different results in terms of what               25        can you tell me what number it is?


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     Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 6 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                       June 28, 2021
                                                                       Page 17                                                                       Page 19



 1           THE COURT REPORTER: It's Exhibit 1.                                  1   losses that he may have suffered predicated on the
 2        Do you want me to pull it up?                                           2   arrangement he had with the Graham Brothers -- Graham
 3           MR. BUCKLEY: Yeah, just for the                                      3   Construction Company, I think.
 4        formality.                                                              4     Q. With respect to -- Obviously you charge for the
 5           (Whereupon, a document previously                                    5   time you spend preparing an analysis and for giving
 6        marked as Defendant's Exhibit Number 1                                  6   testimony, correct?
 7        was presented for identification.)                                      7    A. Correct.
 8 BY MR. BUCKLEY (Resuming):                                                     8     Q. Is your hourly rate the same for all aspects of the
 9   Q. Doctor, I was provided what was referenced to me as                       9   services you provide or is there a different charge hourly
10 your CV and we did talk about it briefly earlier. I won't                     10   for trial or --
11 ask the court reporter to scroll through it. But what I have                  11    A. The --
12 is a 48-page document.                                                        12    Q. Again, let me finish. Sorry.
13   A. You got the long version.                                                13    A. I am. Go ahead.
14   Q. Yeah. View this however you want, but does this                          14    Q. -- or deposition testimony or different facets of
15 appear to be at least the cover sheet of a true and accurate                  15   what you provide?
16 copy of your current CV?                                                      16     A. My core rate is $350 an hour at this point. The
17   A. Yes.                                                                     17   only deviation of that is I have a minimum charge for a
18   Q. Based on your familiarity with your own CV, have                         18   deposition of $1,400 which is two hours of testimony time.
19 you in the past, to your recollection, given testimony in a                   19   Any additional time will be prorated against the $350 an
20 case specifically involving the death of someone who had an                   20   hour. So if we go a half hour more that's $175, so to speak.
21 interaction with law enforcement?                                             21     Q. To the extent you are called upon to travel as an
22   A. Interaction with law enforcement? I don't know                           22   expert, is your hourly rate for travel the same as every
23 that I have. I think that is a unique element. I've had                       23   other aspect of what you provide time for?
24 cases in which individuals have been shot, but normally by                    24     A. My hourly rate is the same for all functions that I
25 intruders or somebody on property that wasn't theirs, et                      25   perform in the capacity as an economist. This travel time --

                                                                       Page 18                                                                       Page 20



 1   cetera, et cetera. One case in Atlanta. I think it was a                     1   Many times, for instance, flying down to Atlanta and, you
 2   Kroger shopping center or something of that nature. But they                 2   know, being overnight and all of those kinds of things will
 3   were not -- the defendants were not the police.                              3   add to the billing aspects. So yes, my calculations time, my
 4     Q. Well, I guess given your vast experience we've                          4   telephone, my research time, all of that is predicated on an
 5   proved a truism that there's a first time for everything,                    5   hourly rate.
 6   because this is the first police shooting case where you've                  6     Q. So, for example, if we went to trial in this case
 7   provided an opinion with regard to the economic life of the                  7   in the Middle District of Georgia in Dublin -- and I'll
 8   individual who passed away.                                                  8   represent to you it's approximately a two-hour drive from
 9     A. That's correct.                                                         9   Hartsfield to Dublin, Georgia. If you were coming to trial
10            MR. BUCKLEY: You can take that                                     10   on this case, from the time you -- certainly from the time
11         down, April.                                                          11   you left your house in Reva until you arrived at your hotel
12   BY MR. BUCKLEY: (Resuming)                                                  12   in Dublin, if that's where you stayed, you would be on the
13     Q. Doctor, talking about still in the general area of                     13   clock at $350 per hour?
14   the opinions you've given, and to some extent specific to                   14     A. Approximately. You know, I look at things
15   this case, to the extent we were talking a moment ago about                 15   realistically as well in terms of travel. I mean, if in the
16   things like someone being an owner of a sole proprietorship                 16   traveling I get something to eat or things like that. So I
17   or a corporation or being self-employed and some of the                     17   try to be reasonable about what I'm charging off in terms of
18   issues you talked about, about expenses on taxes and Workers'               18   numbers of hours. And I, to this date, never had any client
19   Compensation and other expenses, that -- those skills and                   19   complain about my billing.
20   that analysis were not required for you to prepare the report               20     Q. Do you have a maximum daily charge that you have or
21   you did in this case specifically, right?                                   21   is it just whatever 24 times 350 is?
22     A. That's correct. I think it's specified in one of                       22     A. Twenty-eight hundred dollars is usually the
23   the items. I don't remember if it was three or (inaudible)                  23   retainer I ask. And I don't have in the correspondence that
24   paragraphs. But nevertheless, it identifies the basis of the                24   I did undercover in this case -- I'm not sure what the
25   -- of the dollar value of earnings, potential financial                     25   retainer was that they paid me back in 2016. It may have


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                                                                        (404) 210-6977
     Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 7 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                       June 28, 2021
                                                                     Page 21                                                                       Page 23



 1   been 2,800. If not, it would have been like 2,400. And that                1         could you pull up the fee schedule
 2   is the only billing -- the only compensation I have gotten in              2         exhibit and tell us what number it is?
 3   this case since it's -- since I took it on.                                3            THE COURT REPORTER: Exhibit 2.
 4     Q. Have you provided invoice billing since that time                     4         Would you like for me to pull that up?
 5   at -- I mean, have you periodically sent invoices or billing               5            MR. BUCKLEY: I would.
 6   summaries or tabulations --                                                6            (Whereupon, a document previously
 7    A. No.                                                                    7         marked as Defendant's Exhibit Number 2
 8    Q. -- on this case?                                                       8         was presented for identification.)
 9    A. No.                                                                    9   BY MR. BUCKLEY (Resuming):
10    Q. Do you have --                                                        10     Q. Dr. Rushing, I'm having the court reporter show you
11     A. Generally, my standard procedure is I get the                        11   what's been marked as a document Exhibit Number 2 marked for
12   retainer, and then I proceed from that point forward to                   12   this deposition heading Fee Schedule. This is a document you
13   charge against the retainer. When that is exceeded, then at               13   created, correct?
14   some point I will bill for any time in excess of the eight                14    A. Yes.
15   hours in the retainer. But that may be a year or two years,               15     Q. It's dated May 14th, 2021. Did you put that date
16   sometimes three years. In this case we're now -- what year                16   there simply because in May of 2021 you were providing a copy
17   are we in? At least five years, but that doesn't bother me.               17   of this to Counsel, or did you update it globally in some way
18   And most of the time eight hours is sufficient for me to do               18   at that time?
19   the initial calculations in a case. That's not always true                19     A. That sits inside my computer and there are
20   because sometimes life care plans can be much more                        20   occasions when I just print it out when somebody wants a fee
21   complicated and time consuming.                                           21   schedule. Sometimes when that request is made I will date it
22     Q. When we went on the record today, meaning whatever,                  22   on the date of the request. So May 14th has no uniqueness
23   36 minutes ago, had you exceeded eight hours yet on this                  23   about it in terms of a date. That's been my fee schedule now
24   case?                                                                     24   for a number of years. I did change it periodically over
25    A. Oh, yes.                                                              25   time like any good economist would, but I have not in recent

                                                                     Page 22                                                                       Page 24



 1     Q. What would you estimate your time was when we                         1   years been doing it on a -- I used to do it on a three-year
 2   started?                                                                   2   basis, but I haven't changed it in a while now.
 3     A. I exceeded eight hours on this case probably some                     3     Q. You have informed us that your -- I think you said
 4   time back in 2016, or approximately at the time that I                     4   your retainer amount changed in -- sometime after 2016. So
 5   initially provided a report, I think. It's dated in 2016.                  5   the previous document may have had different or lower numbers
 6    Q. And what would you estimate the numbers you spent                      6   in the past, but otherwise it's the same document, right?
 7   on this case to be as of this morning?                                     7     A. Yeah, so it would have been -- That 28 would have
 8      A. I really -- To be honest with you, I really haven't                  8   probably been $2,600. I'll have to go back and look and see
 9   thought about it. I mean, I could come up with some wild                   9   when I changed that, right. And obviously I can check with
10   number, but it wouldn't have much relevance in terms of what              10   Plaintiff's counsel and find out what they paid me. And I
11   I might actually bill. But since then I have -- certainly                 11   have it in my records. I just haven't gone back to look it
12   I've done all -- I've recalculated everything. I've gone                  12   up.
13   back over the case. I've reviewed all of the documents                    13     Q. Yeah. If you'll provide that to Brian I'd
14   again. So I think we're going to look at doubling the eight               14   appreciate it. But otherwise, this is a true and accurate
15   hours at a minimum. So we at least have 16 hours involved.                15   reflection of what your fee schedule is as an expert in
16   It's more likely if we go to trial it's going to be more like             16   economics, correct?
17   tripling it.                                                              17    A. Yes, that's true.
18     Q. But as of today, you don't expect that you've got                    18            MR. BUCKLEY: You can take the
19   100 hours or 50 hours?                                                    19         document down, April. Please. Now, just
20    A. Oh, no. No.                                                           20         for housekeeping purposes, as I
21         MR. BUCKLEY: April, would --                                        21         understand it -- And I have provided to
22   BY THE WITNESS (Resuming):                                                22         the Court Reporter a document that was
23     A. Maybe that's why -- Maybe that's why I get so many                   23         provided to me last week from Counsel
24   clients.                                                                  24         that's dated June 23rd. It actually says
25            MR. BUCKLEY: Madam Court Reporter,                               25         1021. I think it's meant to say 2021.


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                                                                     (404) 210-6977
     Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 8 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                       June 28, 2021
                                                                     Page 25                                                                       Page 27



 1            THE WITNESS: That's right.                                        1   the document which I would testify at trial as being my
 2            MR. BUCKLEY: Would you bring up                                   2   opinion.
 3         Exhibit 3, Madam Court Reporter, please.                             3     Q. Fair enough. Thank you for that. So to the extent
 4             THE WITNESS: I think a more recent                               4   we're looking at Exhibit 3, it is a four-page document. And
 5         one has been transmitted to counsel but                              5   so, I'll ask the court reporter just to slowly scroll from
 6         it didn't make it to you. But to change                              6   page one to page four. And then I'll just ask you to confirm
 7         the 1021 to 2021. The date is 2021, June                             7   that this appears to be a true and accurate copy of the
 8         23rd.                                                                8   current report. The one you believe would be the report you
 9             MR. BUCKLEY: While she's pulling                                 9   would refer to for purposes of offering expert testimony at
10         that up, Brian, off the record.                                     10   trial about this case.
11             (Whereupon, a brief discussion                                  11      A. That is correct. Let her finish scrolling and I --
12         ensued on the record.)                                              12   It looks correct to me. Okay. I think we're -- That's it.
13             (Whereupon, a document previously                               13    Q. To the extent your earlier --
14         marked as Defendant's Exhibit Number 3                              14         MR. BUCKLEY: And let me ask the
15         was presented for identification.)                                  15         court reporter to leave it on that page.
16   BY MR. BUCKLEY (Resuming):                                                16         And you have both reports there.
17     Q. Doctor, I'm showing you what's being marked as                       17   BY MR. BUCKLEY (Resuming):
18   Exhibit 3 for this deposition. At the risk of making things               18     Q. To the extent your reports have a section called
19   a little more complex for the Court Reporter, I was provided              19   Materials Reviewed, from what I can see, the materials you
20   a report dated November 8th of 2016 that had the same title               20   reviewed to prepare your report in 2016, the list of
21   but was distinct from this report in some aspects. Do you                 21   materials reviewed and the report dated June 23rd, 2021, the
22   have both reports there with you to reference, Doctor?                    22   materials reviewed section did not change, correct?
23    A. Yes.                                                                  23     A. It did not change in terms of actually when the
24    Q. What I'm going to do is ask you questions about                       24   report was issued. However, I would add, and I fully
25   what's been marked as Exhibit 3.                                          25   intended to do so in our conversation, that I had a

                                                                     Page 26                                                                       Page 28



 1            MR. BUCKLEY: Let's go off the                                     1   conversation with James Graham. I think it was either the
 2         record.                                                              2   morning of the 23rd or the -- I suspect it may have been the
 3            (Whereupon, a brief discussion                                    3   24th when I actually talked to him, in which I had some
 4         ensued off the record.)                                              4   questions that I wanted to confirm so -- to make sure the
 5   BY MR. BUCKLEY (Resuming):                                                 5   assumptions I had made in the 23rd report was correct. And I
 6    Q. Doctor, before you start talking, let me ask a                         6   -- So I did talk to him. And that's -- That's not a
 7   question.                                                                  7   document, but it was a conversation I had, and I certainly
 8    A. Okay.                                                                  8   don't mind putting that on the record.
 9           MR. BUCKLEY: Let me wait for the                                   9     Q. Just for housekeeping purposes then, tell us about
10         Court Reporter. Are you ready?                                      10   that conversation. Was anybody else a party to that
11           THE COURT REPORTER: Yes, go ahead.                                11   conversation?
12   BY MR. BUCKLEY (Resuming):                                                12     A. No one else was. It was set up by Mr. Shook's
13     Q. We had a short conversation off the record and                       13   paralegal, and it was a one-on-one conversation with him.
14   there is an earlier iteration of this report on November 8th,             14   And the purpose of the conversation was that in all of the
15   2016, which we are going to add to the record at the end. I               15   analysis that I had, particularly in the November '16 report,
16   have a copy in front of me. You have a copy. I'm sure Brian               16   I had made the assumption that Mr. Hooks was an employee of
17   has access to a copy to that earlier iteration of this                    17   Graham Construction Company. And yet, I could not discern in
18   report. But when we were going back on the record there was               18   the payments that he received that there were any withholding
19   something you were going to comment about that report, and                19   for certain fringe benefits that he might -- been available
20   please tell us what you were about to say.                                20   to him if he were an employee. So I felt that I needed to
21     A. What I was about to say was that that report is, in                  21   confirm either that he was an employee or he wasn't an
22   fact, one that I provided with a specific set of analyses and             22   employee in order that I would retain the fringes as a
23   based on certain assumptions which is, in fact, different                 23   potential loss or drop them from the analysis completely.
24   than the one which I prepared on June 23rd, 2021. And it's                24   And the answer that he gave me was that he was not an
25   the June 23rd, 2021, if we were called to trial now, would be             25   employee, but was rather a contract worker, which means he


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                                                                   (404) 210-6977
     Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 9 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                       June 28, 2021
                                                                     Page 29                                                                        Page 31



 1   would be subject to a 1088 or 1099, I guess it is, report                  1           MR. BUCKLEY: The one we're on,
 2   which he would be held responsible then for any of the                     2       Exhibit 3. Thank you. You know, I'm
 3   legally required fringes that the state or federal government              3       going to make a liar out of myself,
 4   might require. So that was one of the issues that I had.                   4       April. Don't display that yet. I want
 5   And the other, since I had him on the line, that I asked                   5       you to display the document that Kelly
 6   about was I asked him had he assessed the performance of Mr.               6       sent you and I know that might take a
 7   Hooks in -- since he had been working for him for that six-                7       little housework. We're going to call it
 8   and-a-half months and he said he had. And I said, and how                  8       Exhibit 4 and I want to just go through
 9   would you assess it and what kind of an employee was he, and               9       that with the Expert just in terms of
10   he said that he was an outstanding employee. He had                       10       identification. And then we're going to
11   performed very (inaudible) and that they were quite satisfied             11       be referring back and forth and I may
12   with his work. I further asked him the question if the                    12       need you to pull up 3, pull up 4. I will
13   circumstances were such that it was economically potential                13       spare you the joy of side-by-side or
14   would you consider hiring him on a full-time position and he              14       anything like that.
15   said certainly he would. He had great respect for him and he              15           (Whereupon, a document to be marked
16   would consider that if the opportunity arose. And that                    16       as Defendant's Exhibit Number 4 was
17   conversation was probably not more than four or five, six                 17       presented for identification.)
18   minutes long. And the reason it was prompted is because, I                18 BY THE WITNESS (Resuming)
19   guess, Plaintiff's counsel had advised me that Mr. Graham was             19   A. If you notice, my home address was 912 Dixie
20   testifying in a deposition this week, I think on Wednesday,               20 Avenue, Madison, Georgia.
21   and I said, well, it would be interesting to know what he has             21   Q. I show you what's been marked as Exhibit -- will be
22   to say just because one of the things I do review is if there             22 marked as Exhibit Number 4. It's your report from November
23   is -- are depositions by employers I do review those in terms             23 8th of 2016.
24   of making my analysis. And I certainly will review his                    24           MR. BUCKLEY: I'll ask the Court
25   deposition after it is given to make sure that what I have                25       Reporter to scroll through the four

                                                                     Page 30                                                                        Page 32



 1 assumed in my report of June 23rd, 2021 is correct in terms                  1         pages. I think it's also four pages.
 2 of his -- his testimony. Does that make any sense to you at                  2         Just so you can see it.
 3 all?                                                                         3   BY MR. BUCKLEY (Resuming):
 4   Q. I understood all of that. Thank you. Now, let me                        4    Q. In fact --
 5 -- Let me ferret through some of that since we're on the                     5     A. Excuse me. You want to stop there just a second.
 6 topic. In the report from November of 2016 --                                6   About your question early on, that's -- that's an invoice for
 7   A. November 8.                                                             7   the $2,400. So the retainer I have received is $2,400.
 8   Q. What?                                                                   8     Q. And that's where I was going to go. There's an
 9   A. November the 8th, 2016.                                                 9   additional page to this report that is the fee schedule. And
10   Q. Did I say a date? I thought I said November '16.                       10   when we talked earlier about an earlier version reflecting
11   A. You did. I was just identifying it as the 8th.                         11   your earlier unadjusted fees this -- this document is the fee
12   Q. Yes, which we'll say -- will later be marked as                        12   schedule prior to the change, and as you've pointed out,
13 Exhibit Number 4. And you do have a copy of it in front of                  13   reflects when you still lived in Madison, Georgia, correct?
14 you?                                                                        14    A. That's correct.
15   A. Yes.                                                                   15    Q. While we're looking at this document, you did not
16   Q. Looking at the two documents, on page --                               16   know David Hooks or his family personally, correct?
17            MR. BUCKLEY: Scrolling up, Madam                                 17     A. I'm sorry. Would you repeat the question? I
18        Court Reporter, just a little bit from                               18   didn't understand.
19        where we were. Can you display that,                                 19    Q. You didn't know David Hooks or his family
20        please. I'm sorry. I'm not seeing that.                              20   personally?
21        Maybe I'm looking at the wrong thing.                                21     A. No, I did not. I have never met -- I certainly
22            THE COURT REPORTER: No, you're not.                              22   have not met her, and I certainly had not met him.
23        Hang on. So Kelly did send me the                                    23     Q. To form your opinions in the 2016 version, or the
24        November 2016. Do you want that report                               24   current version of this report, that didn't include you
25        or do you want the one you were just on?                             25   traveling to Dublin, Georgia or interviewing witnesses other

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                                                                 (404) 210-6977
     Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 10 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                       June 28, 2021
                                                                      Page 33                                                                        Page 35



 1 than this conversation you've told us you had briefly with                    1   what I'll call the software calculation differences in your
 2 James Graham, correct?                                                        2   report. For example, there is an economic loss profile
 3    A. And her -- the widow's deposition report.                               3   number three in this report versus -- in the new report
 4    Q. Understood. But that was reviewing a transcript,                        4   versus in this report that we're looking at there's profile
 5 not talking to her, correct?                                                  5   one and two. Do you see that?
 6    A. That's correct.                                                         6    A. Yes, and --
 7            MR. BUCKLEY: Scroll up one page,                                   7    Q. Hang on.
 8        Madam Court Reporter, please.                                          8    A. -- and there's a reason for it.
 9 BY MR. BUCKLEY (Resuming):                                                    9     Q. And that's what we're going to talk about right
10    Q. The materials reviewed for the Exhibit 4 and                           10   now. What is the reason that there are three profiles in the
11 Exhibit 3 are the same, but you've clarified today that while                11   current report and only two in November of '16?
12 it's not, quote, materials, you did talk to James Graham                     12     A. The two profiles is that in -- When I went to do
13 sometime in the last two weeks to ask him the questions that                 13   the analysis for an update I went back to the worklife
14 you covered about whether, you know, they would have                         14   calculations of the most recent worklife tables. And in the
15 considered making a more permanent offer or continuing to use                15   worklife tables they had broken down the high school
16 David Hooks, right?                                                          16   education into two segments. One of which was a diploma and
17    A. That was one of the questions. The primary                             17   one of which was a GED. And in those calculations, worklife
18 question that motivated the call was the fringe benefit                      18   estimate for a number of years of employment with a GED for a
19 question.                                                                    19   59-year-old-male was considerably less -- was less. I
20    Q. In terms of --                                                         20   shouldn't say considerably. It was a third less than in the
21            MR. BUCKLEY: Now, Madam Court                                     21   original report. So I thought it was more -- it was more
22        Reporter, scroll up a page, please. Stop                              22   accurate data because it differentiated his GED from the
23        there, please.                                                        23   typical high school diploma and you had a reduction. Well,
24 BY MR. BUCKLEY (Resuming):                                                   24   that gave him only four -- I think 4.06 years of employment
25    Q. One thing I do notice that's different from Exhibit                    25   from the age of -- which would have put him at age 63. And

                                                                      Page 34                                                                        Page 36



 1    4 on this page versus Exhibit 3, which I believe you have a                1   as an economist I looked at that in the analysis, and I have
 2    copy of to refer to for today as well, is the loss of                      2   done this in other cases as well, and his options as a -- as
 3    household services and the total economic losses section are               3   an individual earning income, and also in terms of trying to
 4    different in terms of the -- they are different with respect               4   provide for a best retirement he could, he had two options
 5    to the numbers, and most specifically for now where it says                5   beyond the worklife estimate. The worklife estimate is a
 6    Total Economic Losses -- and the one we're looking at it has               6   statistically solid analysis that is based on the
 7    profile one and profile two. In the current one it has a                   7   probabilities of other occurrences, such as death, illness
 8    profile number three, correct?                                             8   and so forth. And so, those are historically used by an
 9      A. Yes. Those two reports are different in a number                      9   economist to determine, but they're not -- they're not a
10    of aspects. The assumptions are not all identical. They are               10   hundred percent probability, but they're greater than 50
11    -- They were changed due to the fact we have a change in                  11   percent probability. The other thing is that he did have two
12    time. The numbers are not going to be the same for 2021                   12   other options. One is the Social Security Administration
13    dollars as they would be for 2016 dollars.                                13   provides for an early retirement at age 62. It provides the
14     Q. I understand that.                                                    14   retirement eligibility, which is a variable depending upon
15      A. So the numbers could not be the same in either                       15   the year of your birth, and then it has two other options.
16    report even if all the assumptions were identical because the             16   One is the option that you can work to age 67. If you work
17    present day calculations are different.                                   17   to age 67 then you would qualify for the -- the most that you
18      Q. Yes. Doctor, I'm going to ask you to bear with me                    18   could get if you completed 67 years of service. So that's
19    and try and focus just on the question I'm asking you. I'm                19   one option. The other option is if you work to age 70 then
20    not trying to limit your testimony, nor am I trying to imply              20   you would be able -- you'd be eligible for the maximum
21    anything with the questions I'm asking. I understand the                  21   benefit that you could accrue to you based upon your work
22    calculation of present value will be different if you                     22   history, et cetera, et cetera. So it seemed to me reasonable
23    calculate it in 2016 versus 2018, and so it's going to affect             23   at least to provide options that he would consider had he
24    the numbers, and we'll go through that. What I'm trying to                24   lived to have determined what would have been his best
25    do is sort of the -- more of the hardware differences versus              25   economic option to exercise for himself. He may have chosen


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                                                                    (404) 210-6977
     Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 11 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                       June 28, 2021
                                                                       Page 37                                                                        Page 39



 1    any of the later two, either 67 or 70. Seventy is not -- One                1   updated assumptions about whether he was an employee of that
 2    of the things that data are not showing us is that fewer and                2   company versus working as a 1099-employee, correct?
 3    fewer people are retiring as early as they previously did                   3     A. Right. But the one I ended up -- When I had the
 4    because of the necessity of having sufficient income during                 4   facts from his employer that he was not an employee and was
 5    their retirement years. I'm not sure that answers your                      5   not receiving fringe benefits, then obviously I needed to
 6    question, but that's my rationale for having made that change               6   remove any of the potential losses that anyone would be
 7    in the report that's dated the 23rd day of June, 2021.                      7   presented that he might have had when, indeed, he would not
 8      Q. Yeah, that does make clear why. I'm not going to                       8   have had them.
 9    ask you about any conversations or the specifics of any                     9     Q. Having from the start reviewed the tax returns for
10    conversations you had with Counsel. But I do want to know                  10   2009, '10, '12 and '13 of Mr. Hooks and having had that, is
11    when and why it occurred to you that you should do this                    11   the reason that you weren't cognizant of him being a 1099-
12    profile number three as opposed to why you didn't do it when               12   employee versus an employee of Graham Brothers Contractors,
13    you did your original report in 2016?                                      13   is that because you didn't have a tax return for the year
14      A. I think I was influenced by the fact that the                         14   that he was working there?
15    worklife -- the worklife estimate had fallen from six point                15      A. Well, I didn't have that tax return, no. I did --
16    something -- I don't remember right off -- six point seven                 16   I looked in -- and what raised the question that I had when I
17    maybe it was. Wait a minute.                                               17   was doing the -- trying to do the analysis for the current
18     Q. Six point three.                                                       18   change was that I could not find any withholding. If he were
19      A. Six point three. And I thought that's -- that's                       19   -- For instance, he might have had some withholding from his
20    hardly any time from -- that he had just gotten a new                      20   paycheck for some fringe benefits such as health insurance
21    position and was paying him a fairly handsome income and it                21   and that kind of thing, or if he had gotten any kind of a
22    seemed like a rational, at least, consideration that he would              22   retirement benefit, that would have also shown up as a
23    consider remaining in the workforce longer than what the                   23   withholding. So that's what prompted my question and my
24    historical table of what the analysis in the worklife tables               24   request for a conversation when I discovered that -- that
25    had showed would be the probable outcome for all males with -              25   there was to be a deposition by Mr. Graham on -- I think it's

                                                                       Page 38                                                                        Page 40



 1    - 59 years of age with a GED would have. So that's why -- I                 1   Wednesday of this week, which obviously I would have referred
 2    mean, there are options that are there. There are                           2   to have I had not done a report until after that testimony
 3    economically viable options and there are options that would                3   had been made available.
 4    have presented to him. I'm not saying which one he would                    4    Q. So you --
 5    have chosen. I don't know which one he would have chosen,                   5     A. And will subject -- My evaluation will be subject
 6    but those were out there. And I think the -- At least it                    6   to change if there's in his testimony that would make mine
 7    leaves the jury some information that they can utilize in                   7   not an appropriate assumption.
 8    their determination what is appropriate, if any, compensation               8     Q. Given your expertise in this area and the fact that
 9    for his -- if the jury were to award one.                                   9   you've identified as the potential -- as a potential event a
10      Q. Fair enough. So your analysis and the decision to                     10   revision or change or updating of your report based on this
11    do this third profile was not in any way prompted by or                    11   deposition of James Graham, what specific or general areas of
12    influenced by your conversation with James Graham?                         12   testimony would you anticipate might impact your report?
13      A. Oh, no. That was -- That had already been done                        13     A. Oh, I think the one that I -- one that I was
14    long before that. I had had the -- I had gone back and done                14   interested in was his assessment of the performance of Mr.
15    the numbers with assuming fringe benefits, and then I had to               15   Hooks. The other was the fringe benefit question was a key
16    go back and delete all that because of the fact that he                    16   one that did, in fact, impact the numbers that I was
17    affirmed he was not getting fringe benefits from his                       17   generating. What else is in there, I don't know what their
18    employment. So I had to revise the report I'd already                      18   perspective was in terms of the stream of income generated
19    prepared in order to take out the fringe benefits that he                  19   that he might have had access to as an employee or as a
20    would have been paid, or he would have lost had he been a                  20   contract worker or whatever. I don't know what's in that
21    full-time employee.                                                        21   testimony since he hasn't given it yet.
22      Q. Right. And so, in preparing each of these profiles                    22     Q. Understood. Is assessment of performance by an
23    in the updated report, what I'll call the current report --                23   employee an area of inquiry that's common for you in
24     A. Yes.                                                                   24   formulating opinions with regard to the areas reflected in
25     Q. -- you made the same assumptions about -- the same                     25   your report?

Min-U-Script®                                                       Ansley Court Reporting                                             (10) Pages 37 - 40
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     Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 12 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                       June 28, 2021
                                                                        Page 41                                                                       Page 43



 1       A. If they're available. It can be very important in                      1   only know what he did do, and that would be somewhat of a
 2    a number of cases, one of which was the potential for an                     2   reflection of his intent certainly to seek that position and
 3    accountant who was early on in her career who died in an                     3   to do a good job at it per Jim Gardner's response. But no, I
 4    accidental event. And it was fundamental to the assessment -                 4   -- There's no other way that I entered that other than
 5    - the early assessments of her performance as to what her                    5   secondhand information from other individuals other than Mr.
 6    future employ -- or future status within the structure of the                6   Hooks himself.
 7    accounting firm or the accounting industry was.                              7      Q. And part of that is because a six-month track
 8     Q. Right.                                                                   8   record versus if he had worked for Graham Brothers for five
 9       A. So obviously you would need to think if she's not -                    9   years, certainly the six-month track record provides you a
10    - In other words, if your objective is to become a partner,                 10   little less firm indication of what the seller here, Mr.
11    then your early performance is going to be one of the                       11   Hooks', intentions would be versus if he had worked there for
12    indicators of how those who are assessing you for potential                 12   five years interrupted at the time of this death, correct?
13    partnership are going to be looking at it. And I would say                  13    A. That's correct, yes.
14    if that information is available, yes, I would look at it.                  14     Q. And part of my question was you don't take into
15      Q. Those areas in general are less critical with                          15   account lifestyle. For example, unless you're Tom Brady --
16    someone of advanced years and someone who's not working for a               16    A. Lifestyle?
17    company looking at partnership or ownership track, correct?                 17     Q. -- you being an NFL starting football quarterback,
18      A. I think generally speaking that's correct, yes.                        18   the fact that you want to do it versus you can do it could be
19    The longer you've been in a career the more information you                 19   affected by lifestyle, health and those types of things,
20    have about past performance, and also about trajectory with                 20   correct?
21    respect to where you might go.                                              21      A. I guess I'm not sure what you're encompassing under
22      Q. Right. So trajectory of future income working with                     22   lifestyle. If you'll explain that to me I might be able to
23    Graham Brothers, you're limited to the period of months that                23   answer better.
24    he had been working with that company subject to this                       24    Q. Let's say if you found out that someone was a
25    information of the assessment of his performance, correct?                  25   habitual user of illegal drugs, that could impact the

                                                                        Page 42                                                                       Page 44



 1      A. That's correct. And the one fact that the                               1   longevity of their career path as an economic producer versus
 2    economist has is that there's a willing buyer and a willing                  2   someone who does not use illicit drugs, correct?
 3    seller and they've contracted for payment or services and                    3    A. That's possible, yes.
 4    both parties have agreed to it, which in some ways is a                      4    Q. You --
 5    reflection of what the market has cleared, at least in those                 5     A. I don't think that all drug users necessarily -- is
 6    particular individual cases.                                                 6   manifested in a diminution in their economic earning
 7      Q. And in this scenario, using your terms buyer and                        7   capacity, but that's because there are so many variables go
 8    seller, the buyer would be Graham Brothers and the seller                    8   into whether someone's behavior -- private behavior and
 9    would be Mr. Hooks?                                                          9   public behavior may be highly differentiated.
10     A. That's correct.                                                         10     Q. Right. All I'm -- all I'm doing -- I'm not arguing
11      Q. And factors that affect the buyer include economic                     11   with you. I'm just confirming that that's not a factor you
12    factors, vitality of the business as an ongoing enterprise,                 12   take into account when you provide a report like this.
13    fluctuations in the market of what they need in terms of                    13    A. No.
14    workforce, correct?                                                         14      Q. Now, if you had been provided information about not
15     A. Correct.                                                                15   Mr. Hooks but someone else, that they were involved in
16      Q. Your report doesn't take into account any of those                     16   illegal drug trafficking or espionage or street racing at
17    things specifically with regard to Graham Brothers, correct?                17   high speeds, it would be difficult or impossible, or
18     A. That's correct.                                                         18   certainly not within your field to take those into account in
19       Q. With regard to the seller, here being Mr. Hooks,                      19   terms of your estimates that are reflected in a report like
20    using your term, you don't take into account issues like                    20   this, correct?
21    lifestyle, health, interest in staying in a field and things                21    A. I don't think they would be able to be done that
22    like that? You make assumptions that they would remain a                    22   way. Yes, that's correct.
23    seller of their services to that buyer, correct?                            23     Q. On an individual basis though, when a jury is
24      A. Well, he's deceased, so it would be hard to assess                     24   looking at Mr. Hooks and they see your three profiles, none
25    -- I mean, A, we can't ask any of the questions. But, B, we                 25   of those profiles provide information specific to Mr. Hooks

Min-U-Script®                                                        Ansley Court Reporting                                              (11) Pages 41 - 44
                                                                         (404) 210-6977
     Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 13 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                       June 28, 2021
                                                                      Page 45                                                                        Page 47



 1    about whether he would have followed profile one, profile two              1    Q. Yeah.
 2    or profile three, correct?                                                 2    A. Yes.
 3      A. That's correct. And they're only based upon -- as                     3    Q. These are based on sort of mileposts of age based
 4    we try to do, is provide as much information as we can of                  4   on economic factors?
 5    probabilities that they might have occurred. In the case --                5     A. Well, they're based on the rationale that if you
 6    the only one that we have statistical evidence that they're                6   want to get the maximum benefit then obviously you want to
 7    greater than .5 is the one for the worklife estimates which                7   get to 67. Why would you not work if you had the option to
 8    are done through a very systematic and statistical analysis                8   get the 67th year in, or the 70th year in if those were
 9    of a wide dataset, and also a very sophisticated set of the                9   options that you could exercise, which obviously not everyone
10    calculations. And so, most economists use worklife tables at              10   can exercise those options. Some can't do it because they
11    least as a point of departure in terms of a probability that              11   can't afford to even put off another year getting the
12    he would have. I could not assign a probability that he                   12   compensation from Social Security.
13    would have worked at age 67 or that he could have worked to               13     Q. And in terms of the numbers from Social Security
14    age 70. Only that it's something -- It's better than zero,                14   that are impacted by those age 67 and age 70, what people
15    but I don't know what specific level that might be. And I                 15   will make in terms of that Social Security benefit differs
16    would not pretend to tell the jury that -- anything different             16   from person to person based on what their participation
17    than that.                                                                17   payment into the system has been over their career, correct?
18      Q. Right. So within your field all three of these                       18     A. They're interactive. I mean, what you have paid in
19    categories include an element that requires, for lack of a                19   is going to help determine what you are going to be paid out.
20    better word, some speculation about what the individual would             20   But when I say -- I say the maximum benefit, the maximum
21    have done in terms of work activity going into the future,                21   benefit predicated on what you have contributed over the life
22    correct?                                                                  22   of your -- of your working years that you have been part of
23      A. It all -- Everything is based upon assumptions                       23   the Social Security system.
24    about what his future would have been in view of the fact                 24     Q. Right. And you didn't undertake in this case, for
25    that he's deceased. So we don't know -- We don't know any                 25   example, to look at his entire employment history, nor did

                                                                      Page 46                                                                        Page 48



 1    facts about what happened to him after the day that he died.               1   you secure documentation from the Social Security
 2    So you must base it upon what other information you have and               2   Administration evaluating what those numbers would be based
 3    to make a presentation of the possibilities that they might                3   on his individual contribution over his work life, correct?
 4    or might not have occurred. But I -- That I've tried to do                 4    A. That's correct.
 5    as best I can without trying to in any way bias any outcome                5     Q. So if he had been self-employed for a number of
 6    in terms of awards that might be contemplated by the jury                  6   years and didn't contribute to Social Security, that would
 7    other than provide them with information for deliberation.                 7   move these numbers downward in terms of the totals that he
 8      Q. Fair enough. So if we went to trial on this case                      8   might otherwise be entitled to, correct?
 9    you wouldn't anticipate giving testimony saying, well, based               9     A. Now, you said -- By total, you mean the wage
10    on what I know about David Hooks, he's more likely to have                10   totals?
11    followed profile two versus profile one, or profile one                   11    Q. Yes.
12    versus profile three, correct?                                            12    A. Yes, that would be correct.
13      A. No. I would say here are the three potential                         13    Q. And that would have --
14    decisions he would have made -- could have made. And if he                14     A. If you cut off the number -- If you change the
15    makes this one, this is the outcome you would have had in                 15   number of years, you're going to change the number of the
16    terms of present value loss of wages. If you -- If the                    16   value of wages earned.
17    assumption is he worked to age 67, then this would be the                 17    Q. Right. And it would go down?
18    value of the present day value, $21. And if he were to go                 18    A. It would if you reduce the number of years.
19    for maximum compensation for Social Security then this is the             19     Q. And in this case you haven't undertaken to evaluate
20    value that it would have. But it could be any number of                   20   that, nor is it your standard procedure to go look at those
21    years between those -- those parameters, if you will.                     21   specifics. These are --
22      Q. Right. It could have been -- It could be in the                      22      A. Well, I have year-to-year calculations, so I could
23    assessment of a fact-finder somewhere between one and two or              23   actually provide those numbers if anyone were interested in
24    between two and three, correct?                                           24   it. But typically it's -- I think the parameters are the
25     A. Oh, you mean in terms of profiles?                                    25   most, I think, helpful in terms of people getting a grasp of


Min-U-Script®                                                  Ansley Court Reporting                                                  (12) Pages 45 - 48
                                                                   (404) 210-6977
     Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 14 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                       June 28, 2021
                                                                      Page 49                                                                        Page 51



 1    what the nature is in terms of loss of earning capacity. But               1   you say, oh, that's new information. That affects my
 2    I don't know. I have been on a jury, but I've never been on                2   calculations or numbers.
 3    a jury that's made awards for damages.                                     3      A. Well, it can come in with -- There's such a thing
 4      Q. Fair enough. And whether the person continued to                      4   as assessment by the employer of his performance, or that I
 5    work the 4.06 years in profile one, or to age 67, or to age                5   was unaware that they already had three warnings of
 6    70 is -- doesn't take into account whether they either got                 6   misconduct with respect to timeliness on arrival or
 7    hit by a bus a year after you did your calculation or if they              7   departure, or the number of absences that they had. Those
 8    changed to being a bus driver a year after, it's based on the              8   are all characteristic of employment problems. And clearly
 9    data you have, correct?                                                    9   if I'm unaware of them then I might just look at what the
10      A. It's -- It's -- The assumption is that they would                    10   data is showing, what the person is earning and what fringe
11    live. They would have to, at a minimum, live and be capable               11   benefits they might be enjoying, which would not necessarily
12    of working through those years.                                           12   lead me to conclude that a continuing employment would be a
13     Q. And choose to work at an economic level --                            13   likelihood. And this is -- This is always a perplexing
14     A. Yes.                                                                  14   issue, particularly when you have someone, let's say, who has
15      Q. -- that reflects what they've done that you're                       15   an injury, and then the question is what's the likelihood of
16    looking at?                                                               16   those individuals would be employed again. Then you have to
17     A. That's correct, yes.                                                  17   -- normally this goes to vocational experts, not to an
18      Q. And earlier you, on your own, said someone might                     18   economist to determine what they're capable of doing as well
19    make the decision to go take a lower pay for hopes of a                   19   as what they actually are doing. You know, I look at what
20    return later by being on the ground floor of a company, or                20   information is available and presumably dependent to some
21    words to that effect, correct?                                            21   measure on the information that is provided to me by the
22     A. Correct.                                                              22   Plaintiff's counsel who -- who collects and is far more
23      Q. And in some cases people make a quality of life                      23   familiar with the case than I am in most cases. But they are
24    decision of, you know, I can't work as a guy who carries                  24   -- My historic experience with most plaintiff's counsel is
25    around sacks of concrete anymore because I'm 62 years old, so             25   they're very attentive to try and provide as much and correct

                                                                      Page 50                                                                        Page 52



 1 I'm going to take this other job where I don't make that kind                 1   information to the economist or any other expert on behalf of
 2 of money, right?                                                              2   their ---
 3    A. There's that possibility, yes. Correct.                                 3             MR. BUCKLEY: Off the record.
 4    Q. Now, with respect to understanding that the exhibit                     4             (Whereupon, a brief discussion
 5 --                                                                            5          ensued off the record.)
 6           MR. BUCKLEY: April, you can take                                    6   BY MR. BUCKLEY (Resuming):
 7        the exhibit down.                                                      7      Q. Doctor, what I had asked you generally was what
 8 BY MR. BUCKLEY (Resuming):                                                    8   categories of information might impact your decision that you
 9    Q. Whether we're looking -- Looking at Exhibit 3 which                     9   need to supplement or augment or alter your report. And I'm
10 is your current report, other than if James Graham gives more                10   going to go out on a limb here and say, I think I understand
11 detailed information about estimated work life and                           11   if somebody testifies with respect to his performance of
12 employability and what position Mr. Hooks may have served in,                12   employment with Mr. Graham's company, that assessment could
13 are there any other factors that, based on your background                   13   impact or in some way either edify or alter or whatever your
14 and experience, you can identify that might lead to an                       14   testimony. My question is based on your background and
15 altered report by the time we get to trial?                                  15   experience. Leaving that category aside, because I think I
16    A. You mean from any source?                                              16   understand it, what other types of information, in your
17    Q. Yes.                                                                   17   experience, might impact that? And what I'm trying to get at
18    A. Or just from Mr. Graham's?                                             18   is, I don't want to go to trial and have you say voila, I
19    Q. Well, I think you've told us what you expect might                     19   didn't know that he really liked floral arrangements, or
20 affect your opinions on Mr. Graham, right?                                   20   whatever it is. What is -- What are those categories of
21    A. Right, and I -- But I don't know what other source                     21   things?
22 of information that you're referring to.                                     22     A. Well, the categories -- I'm not sure there are lots
23    Q. Well, Doctor, with all due respect, you've been                        23   of categories. I think the one category that I'm aware of
24 doing this for over a quarter of a century. And so, I'm                      24   that across the age spectrum is -- can be significant,
25 saying in your experience what are the types of things that                  25   typically it tends to occur more after midlife than it does


Min-U-Script®                                                   Ansley Court Reporting                                                   (13) Pages 49 - 52
                                                                    (404) 210-6977
     Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 15 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                       June 28, 2021
                                                                      Page 53                                                                        Page 55



 1    in the earlier years, and that's health phenomena.                         1   the bottom line on the analysis. I don't think you would
 2    Individuals can acquire debilitating diseases. People can be               2   subtract whether he's earning from an alternative employment
 3    in accidents and that cause them to be injured and they have               3   for that. You would estimate he would earn in the occupation
 4    a disability which no longer permits them to work in their                 4   he was principally identified with. So I would have to see
 5    old occupation. Those are the kinds of things that would                   5   all the -- I would have to see all the facts before I could
 6    have to occur between the initial notion of some cause that                6   see how it would -- how it would impact. But certainly it
 7    presumably is being litigated and that some other event has                7   would give you a reason to look at it.
 8    occurred that would have impact upon that individual's future              8    Q. Again, Doctor --
 9    capabilities of doing so. That's more likely and those are                 9     A. But you have the same issue. You don't -- You
10    more -- I think more relevant in terms of individuals who are             10   can't claim loss of earnings capacity from cases in which you
11    alive as opposed to those who are deceased because those                  11   have not -- or individuals have concealed income that they
12    eventualities are not -- will not change. I mean, they were               12   have been earning, so ---
13    what they were at the time of their death.                                13      Q. Well, no. I understand that. And my question said
14      Q. So, for example, if you had a case where somebody                    14   if you were provided information that revealed they had that
15    passed away and in the autopsy they happen to discover that               15   income stream. I'm not -- I'm not saying how do you take
16    the person had stage four bone cancer and the doctor said                 16   into account income streams you don't know about. But if you
17    this guy wouldn't live more than another year, that would be              17   were provided information about a witness that said this guy
18    information that might impact your assessment of what the                 18   was getting, you know, $20,000 from a lawn care business that
19    economic values would be for that person regardless of what               19   he didn't file taxes on, but he'd been doing that for 10
20    caused them to die, correct?                                              20   years, that might adjust what his income stream would be
21             MR. SPEARS: Object to the form.                                  21   upward, correct?
22          Calls for speculation.                                              22            MR. SPEARS: Objection to the form
23    BY MR. BUCKLEY (Resuming):                                                23         of the question. It continues to call
24     Q. You may answer.                                                       24         for speculation. It calls for gross
25     A. That would be certainly one -- one possibility that                   25         speculation. It calls for him to both

                                                                      Page 54                                                                        Page 56



 1    would be out there.                                                        1        speculate about the accuracy of what
 2     Q. Right. I'm not saying that with regard to Mr.                          2        you're saying to him and to then
 3    Hooks. I'm trying to --                                                    3        speculate on it. He's answered this
 4     A. I understand.                                                          4        question now several times and I ask that
 5      Q. Yeah. Likewise if you became aware of information                     5        you --
 6    or testimony that suggested an alternate income source. For                6           MR. BUCKLEY: Your objection is
 7    example, you look at the employment and taxes and you find                 7        noted, Brian. Your objection is noted
 8    out that somebody was, you know, a person who was selling                  8        and this witness can answer my question.
 9    used cars on the side and making money and not reporting it,               9           MR. SPEARS: You can answer, sir.
10    but you found out information that showed how much money they             10           THE WITNESS: Well, let him repeat
11    were making doing that, that could impact your evaluation of              11        the question. Could you repeat the
12    what their economic earning might be into the future,                     12        question? Just have her read it back.
13    correct?                                                                  13 BY MR. BUCKLEY (Resuming):
14             MR. SPEARS: Objection to the form                                14   Q. I will not repeat the question. But I'd like
15          of the question.                                                    15 Brian's agreement that I know it's subject to the objection
16    BY MR. BUCKLEY (Resuming):                                                16 that he stated at length just a moment ago, and that is if
17     Q. You may answer.                                                       17 you're aware of an income stream that wasn't reflected on tax
18      A. Well, that's kind of an interesting question,                        18 forms or the information you had been provided that affected
19    because if I'm unaware of those things I'm not sure to what               19 the -- how much this person was making, that might be, now
20    extent that if I'm aware that he's making -- or someone is                20 that we've introduced at your prompting, information that
21    making money outside of what his identified profession is and             21 might cause you to adjust your report or change it, that
22    activities are in the marketplace, then I would -- those                  22 might be in the category of something that would affect that
23    numbers would still be the same. So the question is -- And                23 testimony?
24    there are no losses with respect to the second because he's               24   A. Yes. I think that would certainly be something I
25    still exercising those. So I'm not sure how it would impact               25 would want to look at and -- but I'd have to determine how to


Min-U-Script®                                                   Ansley Court Reporting                                                 (14) Pages 53 - 56
                                                                    (404) 210-6977
     Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 16 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                       June 28, 2021
                                                                       Page 57                                                                      Page 59



 1    assess that in terms of the context of the questions being                  1   said I'd have to --
 2    asked --                                                                    2    A. Well, I'll answer --
 3      Q. Right.                                                                 3     Q. Let me finish. Doctor, let me finish my question,
 4      A. -- which is what are his economic losses.                              4   please.
 5       Q. Understood. And as a further example -- And                           5    A. Sure. I'm sorry.
 6    although this will elicit an objection I'd ask for it to be                 6     Q. You said you (pixelated audio.) I'd have to assess
 7    piffy (ph) so I don't have to try to reformulate my question.               7   the source, and then I said, well, Mr. Graham, you didn't
 8    As a further example, if someone was drawing income from an                 8   assess whether he was a truthful person or whatever. You're
 9    illegal source for a sustained period of time, that might                   9   basing your assumptions based on the fact that he worked with
10    impact your evaluation of what their income stream was if                  10   Mr. Hooks and he now, with respect to a deceased individual
11    that information were provided to you, correct?                            11   after his death, says he had a very high quality performance.
12              MR. SPEARS: Same objection. Same                                 12   That's why you say, okay, I think he could have worked there
13          objection.                                                           13   on an ongoing basis. You didn't go and do a background check
14          MR. BUCKLEY: You may answer.                                         14   on Mr. Graham. That's not what you're talking about, about
15    BY THE WITNESS (Resuming):                                                 15   assessing the source, right?
16      A. Well, once again, I'd have to see the information                     16             MR. SPEARS: I object -- I object to
17    to know: A, to assess the source of the information. If --                 17         the question as multiply compound. And
18    Who is reporting it and what are the foundations for the                   18         I'll certainly ask Mr. Rushing to wait
19    reports that are being provided.                                           19         until Tim finishes his question before he
20      Q. Well, let me ask --                                                   20         answers the next one.
21       A. That's certainly not -- If it's illegal activities                   21              THE WITNESS: I apologize.
22    it's outside -- most of the time it's outside of reportable                22              MR. SPEARS: Yeah, let's just do it
23    kinds of information.                                                      23         that way.
24      Q. Yeah, but when you're saying assessment of the                        24   BY MR. BUCKLEY (Resuming):
25    source, you're not planning to, nor have you have engaged in               25    Q. So now I guess I have to try and do that question

                                                                       Page 58                                                                      Page 60



 1    an assessment in your five-minute conversation of James                     1   again subject to --
 2    Graham in terms of his credibility as a source. You're                      2           MR. SPEARS: No.
 3    taking what he says at face value, correct?                                 3           MR. BUCKLEY: Hold on. Hold on.
 4      A. I'm taking the fact it's his assessment. That's                        4   BY MR. BUCKLEY (Resuming)
 5    his opinion. I asked him for his opinion and he gave me his                 5     Q. Subject to Mr. Spears' objection, I'll ask this
 6    opinion.                                                                    6   question. Mr. Expert, when you say I have to assess the
 7      Q. Right. You haven't gone and said, well, let me                         7   source of the information, what you mean by that doesn't
 8    find out what I can about whether James Graham is an accurate               8   include doing an assessment about that individual being a
 9    historian or someone who's candid. You're basing it on,                     9   truthful person, a person with a criminal record, someone
10    okay, this guy worked with him and he says X in terms of his               10   with a motive to lie. You're just saying I'm assessing the
11    assessment of performance, right?                                          11   quality of the information I'm given, correct?
12      A. He is his employer and I think he has a very good                     12     A. Right. Who is -- Who is recording the information.
13    position to make an assessment upon the performance of his                 13   And particularly when you brought up that it's illegal
14    employee. So I have -- I have great credibility for Mr.                    14   behavior. So I would certainly want to know what the source
15    Graham in terms of that.                                                   15   of this information is about illegal behavior. But that
16      Q. Great credibility because --                                          16   would be normal. You would want to know whatever source of
17      A. But you were asking questions about hypothetical                      17   information that you're going to use. If I'm going to base
18    things that could occur, and I agree with you. Anything that               18   an analysis on it you're going to say, well, am I just flying
19    is -- can occur that might have some potential impact. But                 19   off on a kite here or am I -- got something substantial.
20    you're asking me to determine how I would -- how would I be                20   That's all I'm saying is, yes, I would take it into
21    affected by my -- in terms of my analysis when I don't know                21   consideration.
22    the nature of the information that you are saying is going                 22    Q. Fair enough.
23    possibly to occur.                                                         23     A. But I don't know how far I will take it into
24      Q. Well, with all due respect, I did not ask you how                     24   consideration until I understand what -- where the
25    you would do that. I asked if you could impact it, and you                 25   information came from and how it was gathered.


Min-U-Script®                                                       Ansley Court Reporting                                                 (15) Pages 57 - 60
                                                                        (404) 210-6977
     Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 17 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                       June 28, 2021
                                                               Page 61                                                                        Page 63



 1   Q. I just want to make clear that when you say                       1   surprised if I exercise that right. Let me ask you this. In
 2 assessment of the source, you're not here to offer testimony           2   terms of your analysis of economic earning and those types of
 3 about whether David Hooks was a top-notch worker and these             3   things, what, if any, impact or incorporation does a
 4 tables apply to him because he was a really industrious guy            4   phenomenon like COVID play in terms of your ability to assess
 5 and honest or any of that. You're doing it based on the                5   and evaluate anticipated income streams after 2016?
 6 numbers placed in front of you, correct?                               6     A. I'm sorry. You had a break in your voice at the
 7   A. Yes.                                                              7   very moment of the key word. So I'd hate for you to repeat
 8   Q. So if I told you that before --                                   8   the whole thing. I only missed one word.
 9   A. May I --                                                          9     Q. I'll only ask the question. I think all that
10   Q. Go ahead. Go ahead. What?                                        10   preamble mumbo jumbo you heard. But what I'm saying is in
11   A. No, I'm finished.                                                11   terms of your ability to formulate your reports that we've
12   Q. So if I told you that before his death David Hooks               12   talked about as Exhibit 3 and 4 what, if any, impact or
13 reported a car stolen that he didn't own and he didn't                13   calculation does a phenomenon like COVID play in terms of
14 disclose that he owned it, that has no impact on your                 14   your ability to --
15 testimony?                                                            15    A. COVID.
16   A. No. It doesn't have any -- The first I heard of it               16    Q. -- calculate those figures?
17 was when you just said it.                                            17      A. Well, COVID is a unique phenomenon. One, it's made
18   Q. And you don't anticipate going and revising your                 18   a lot of difference in terms of what the future economic data
19 report based on investigating what I just said or not                 19   are going to show about a lot of things. I have been a
20 investigating what I just said, correct?                              20   little bit reluctant. Most of the data that I've utilized,
21   A. Correct.                                                         21   and certainly in this case, I think it's all pre-2019 data.
22           MR. BUCKLEY: Why don't we take a                            22   So I haven't actually seen what kind of impacts you see and
23       10-minute break. Believe it or not I                            23   what the US Government is collecting across -- across the
24       don't think we have more than maybe about                       24   information they collect for economic purposes. I think
25       another hour. I don't know if Mr. Spears                        25   COVID has been -- thrown us all off. It may be throwing off

                                                               Page 62                                                                        Page 64



 1         intends to ask questions today. I'd be                         1   some of the standards and notions of human behavior even in
 2         surprised, but I'm surprised every day.                        2   terms of how availability of jobs and acceptance of jobs and
 3         So let's take a 10-minute break. April,                        3   compensation for jobs and all of those that are going on.
 4         do you need anything before we do that?                        4   And it's, I think, causing economists to wring their hands a
 5            THE COURT REPORTER: I don't.                                5   little bit. But also everyone else in the business world are
 6            MR. BUCKLEY: Thank you.                                     6   flabbergasted that with so many unemployed people, and yet
 7            (Whereupon, a short recess was                              7   there are so many jobs available for which there are no
 8         taken.)                                                        8   takers, which we would normally think that would be a self-
 9    BY MR. BUCKLEY (Resuming):                                          9   fulfilling process in which people would gradually take up
10      Q. Doctor, when we went off the record we were talking           10   those jobs. In fact, most economists believe that will
11    in general terms about information for formulation of your         11   happen, but we're just dealing with a timeline here. But
12    opinions. Let me just do a housekeeping item. You've               12   COVID per se, I don't think there was anything I did in this
13    reviewed Exhibit 3 which is what I'm calling your current          13   analysis for Mr. Hooks' potential losses was impacted
14    report.                                                            14   particularly by any COVID disparages in data or employment
15     A. Yes.                                                           15   and so forth.
16      Q. And Exhibit 4 which is the one from November of               16    Q. Certainly the income stream --
17    2016. The copies you've shown -- been shown today are true -       17     A. It certainly hasn't been enough time for the data
18    -                                                                  18   to find their way into the analysis.
19     A. Right.                                                         19    Q. Right.
20     Q. -- and complete versions of those, correct?                    20      A. The one -- The one thing that I did do, and when I
21     A. Correct.                                                       21   changed the -- when I went back and redid the analysis on
22     Q. If you reviewed additional materials including but             22   terms of loss -- I'm sorry. Wrong case. But one of the
23    not limited to Mr. Graham's deposition and you have reason to      23   things I did find out recently in a case I was doing is the -
24    amend the report then you'll give it to Mr. Spears. And            24   - the income -- the income for certain education attainment
25    while I'll reserve to reconvene on any points, I'd be very         25   levels has dropped in some cases. And yet, in other higher


Min-U-Script®                                              Ansley Court Reporting                                                (16) Pages 61 - 64
                                                               (404) 210-6977
     Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 18 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                       June 28, 2021
                                                                      Page 65                                                                        Page 67



 1    level cases have gone up. So the data does pick up those                   1   be able to find the same level of compensation as well. But
 2    kinds of strange variations over time on a year to year                    2   my comment -- My answer to your earlier question still holds.
 3    basis. But, as yet, they haven't been enough to warrant                    3   Yes, it could impact upon the specifics if he were to stay
 4    significant changes in analytics.                                          4   employed with the Graham Brothers.
 5       Q. So, for example, the assumptions that are                            5     Q. And in terms of the field that Mr. Hooks was in, to
 6    reflected, even though this report is dated 2021, the                      6   sit here and evaluate using your earlier image of employers
 7    assumptions don't fluctuate in terms of Mr. Hooks'                         7   as buyers and Mr. Hooks as the seller in the employment
 8    anticipated income stream based on economic factors related                8   market, you don't have specific opinions relative to him as a
 9    to the period of time from early 2020 through maybe now and a              9   construction contractor about what the market of buyers were
10    little in the future, the impact of COVID on commerce,                    10   and whether a seller who was not available -- wasn't given
11    correct?                                                                  11   available work by one company would have ease, we're not
12       A. Right. I mean, certainly COVID has had impacts on                   12   getting into any of that with regard to your numbers --
13    almost all aspects of American economy. The U.S. economy.                 13    A. No.
14    It has put millions of people on unemployment. So there are               14    Q. -- with David Hooks?
15    lots of variables out there and lots of impacts it's had on               15    A. No.
16    individuals, but they are not uniform. The impacts in some                16    Q. I think the point you're making --
17    cases were that people made lots more money than they've ever             17     A. The best you have is general trends, and the
18    made before, while other people can't find anything that --               18   general trends of construction have been unbelievable of
19    enough money to go get a meal. So it has been very strange                19   late. But you have to remember, most of Mr. Hooks' losses
20    things. And I don't think we can sort it all out until we                 20   are -- many of them are past losses as well --
21    have a few years of elapsed time to see how it played out.                21    Q. Yes.
22      Q. For the time period I was referring to, if you had                   22     A. -- because the period -- from the time he died in
23    a person that you were assessing that was in the food service             23   '14 and it's seven years until you get out to 2021. So
24    industry in the area of direct delivery to walk-in customers,             24   there's a long period of time in there that is past.
25    something like that could impact, for at least some period of             25    Q. Understood. Understood. And likewise, to the

                                                                      Page 66                                                                        Page 68



 1    time, their income stream in a very significant way perhaps                1   extent COVID had an impact and his age would affect
 2    as opposed to someone like Mr. Spears who can do a lot of                  2   reemployability and those kind of things, that's just not
 3    this stuff virtually and continue in his field, correct?                   3   part of what your analysis includes, correct?
 4     A. Yes.                                                                   4    A. That's correct.
 5      Q. If someone like Mr. Graham were to testify that his                   5     Q. Have you had occasion in your career to evaluate
 6    company had basically had to shut down operations from early               6   someone's -- the economic aspect of the value of their life
 7    last year through now and they're starting back up, and so                 7   and it included periods of time that they weren't in the
 8    they didn't use contract workers and they laid -- they                     8   workforce due to incarceration and you had to incorporate
 9    furloughed almost all of their staff, that could have some                 9   that into your analysis?
10    impact on the period of time that you're assessing an income              10     A. I'll have to think about that question in terms of
11    stream for a guy like David Hooks, correct?                               11   specific cases. I don't -- Not one comes to mind directly,
12     A. Correct.                                                              12   but an individual was employed and was incarcerated and came
13     Q. With respect to --                                                    13   back and had to get another job doing something else. I
14     A. May I make a comment on that point?                                   14   don't think I've ever had that particular scenario in the
15     Q. If it's a clarification of that answer, yes, you                      15   analysis.
16    may.                                                                      16              MR. BUCKLEY: Madam Court Reporter,
17      A. Well, the clarification is the following. The                        17          when I refer to Dr. Rushing's report from
18    assumption of loss of earning capacity is that this -- one                18          here forward I'm probably going to be
19    has an identified capacity that the market has demonstrated               19          looking at -- exclusively at Exhibit 3,
20    in terms of his compensation. Now, the analysis doesn't                   20          so I would ask you to pull up Exhibit 3
21    necessarily say the guy has to stay or the woman has to stay              21          and turn to page 4 of that. That's
22    in the same job all along, but he has to stay in a comparable             22          Exhibit 4.
23    situation which would be in his case for -- you know, as a                23              THE WITNESS: Which one are we
24    contractor as opposed to an employee, but that he would                   24          talking about?
25    hopefully be able to find -- since he did in the past, he may             25              MR. BUCKLEY: We're talking about

Min-U-Script®                                                    Ansley Court Reporting                                                (17) Pages 65 - 68
                                                                     (404) 210-6977
     Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 19 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                       June 28, 2021
                                                                Page 69                                                              Page 71



 1        what we've been calling your current                             1           MR. BUCKLEY: Here's what I would
 2        report.                                                          2        propose. And, you know, Dr. Rushing --
 3           THE WITNESS: The current one. Okay.                           3        Let's go off the record.
 4        The 2021.                                                        4           (Whereupon, a discussion ensued off
 5           MR. BUCKLEY: Right, and I want to                             5        the record.)
 6        go to page four of that report.                                  6           MR. BUCKLEY: Brian, do you need to
 7           THE WITNESS: That's what I thought                            7        say anything as we start here?
 8        you were saying.                                                 8           MR. SPEARS: Well, just by way of
 9           MR. BUCKLEY: Yes. The very bottom                             9        explanation, the Doctor did have in front
10        there, materials reviewed is what I want                        10        of him a letter that he briefly showed to
11        the witness to look at.                                         11        the camera and it was a copy of a letter
12           THE WITNESS: Oh, okay. Got it.                               12        that he had received from Mitch Shook.
13 BY MR. BUCKLEY (Resuming):                                             13        So as to the disclosure of that letter, I
14   Q. In your materials reviewed, both with respect to                  14        believe that it's appropriate to
15 Eastside Construction and the tax returns of David Hooks and           15        interpose that objection that's available
16 Teresa Hooks, I noticed that 2011 is not one of the years as           16        to us through Rule 26. Certainly I
17 to either. Do you know why you don't have that or why it's             17        believe that your question to him had
18 not part of your report?                                               18        been something along the lines, do you
19   A. Let me see if I can give you a specific answer to                 19        know why you don't have 2011 and he's
20 that question. Hold on. In a letter dated to me August                 20        prepared to answer that question.
21 26th, 2016 from --                                                     21           MR. BUCKLEY: Thank you. I
22   Q. Hang on a minute. Hang on a minute.                               22        certainly hope you appreciate, Brian, I
23           MR. BUCKLEY: Brian, I don't -- I'm                           23        was trying to make sure that we didn't
24        not trying to ask him about communication                       24        accidently trammel the privilege that you
25        with you, so just want to make sure                             25        have.

                                                                Page 70                                                              Page 72



 1        you're comfortable.                                              1           MR. SPEARS: Thank you.
 2           MR. SPEARS: I understand. I don't -- I                        2           MR. SPEARS: The attorney certainly
 3     don't have that letter in front of me, Dr. Rushing.                 3        understood it. I missed the point. I'm
 4            MR. BUCKLEY: Yes.                                            4        sorry. Go ahead. Ask the question.
 5            THE WITNESS: Okay. Well, I'll -- I                           5 BY MR. BUCKLEY (Resuming):
 6        had planned on providing it to you as a                          6   Q. So my question is --
 7        response to your --                                              7           MR. BUCKLEY: And Madam Court
 8            MR. SPEARS: Well, Mr. Rushing? Mr.                           8        Reporter, can you pull that page back up.
 9        Rushing?                                                         9 BY MR. BUCKLEY (Resuming):
10            THE WITNESS: -- request for all                             10   Q. My question is, in your report it has tax return
11        correspondence.                                                 11 references for 2009, '10, '12, '13 and '14. It does not
12            MR. SPEARS: Yeah, Mr. Rushing?                              12 include 2011. And I'm asking you with respect to Eastside
13        Rather than tell us what you plan to do,                        13 Construction and Mr. Hooks and his wife Teresa, do you know
14        let's just see if we can go to the                              14 why you didn't look at those years?
15        question as asked.                                              15   A. No. I know why -- I don't have 2011 tax returns
16            THE WITNESS: Well, I started to                             16 for either state or federal or the Georgia tax return for
17        answer it and then you all stopped me.                          17 Eastside Construction.
18            MR. SPEARS: Well, the question that's                       18   Q. You do or you don't know why?
19        asked is do you -- sitting -- Well, if I may,                   19   A. I do not. I do not have 2011 tax returns, and I
20        Tim. Sitting here today do you understand why                   20 don't know why I don't have them, but I don't have them.
21        you do not have some records from 2011?                         21   Q. For either category three or four, correct?
22            THE WITNESS: I just have the                                22   A. Correct.
23        information that was given to me why I                          23   Q. So you don't know if they file. You don't have any
24        don't have it. Do you want to know what                         24 information about why your analysis didn't include those two
25        the answer is?                                                  25 years?


Min-U-Script®                                                Ansley Court Reporting                                         (18) Pages 69 - 72
                                                                 (404) 210-6977
     Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 20 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                       June 28, 2021
                                                                      Page 73                                                                     Page 75



 1   A. That's correct.                                                          1     Q. Now, when you were just referring to a worksheet,
 2   Q. Other than you don't have them?                                          2   is that a worksheet that you created that you were looking
 3   A. That's all I know is I don't have them.                                  3   at?
 4   Q. Without implying anything, had you had those years                       4    A. Yes.
 5 you would have included them in your materials reviewed and                   5    Q. And that was a worksheet utilized as part of the
 6 your analysis of the income issues that are a part of your                    6   process that you followed to come up with the summary data
 7 report, correct?                                                              7   and opinions that are reflected --
 8   A. Correct.                                                                 8     A. What I -- Yes. What it was, was simply taking --
 9   Q. With respect to your report --                                           9   just taking notes down on information such as what I revealed
10           MR. BUCKLEY: And Madam Court                                       10   there as net profits for the years identified in which he had
11        Reporter, let's go up to page two. That                               11   some positives and some negatives, as life would be.
12        meaning the first substantive page after                              12   However, to go on to say then on paragraph four, the scenario
13        the cover sheet.                                                      13   of changes as he obtains employment with the Graham Brothers.
14 BY MR. BUCKLEY (Resuming):                                                   14    Q. Understood.
15   Q. This section is Facts and Assumptions Upon Which                        15         MR. BUCKLEY: Well, let's go off the
16 the Analyses Are Based. Is there anything in this section,                   16        record for just a second.
17 be it number one all the way to number nine that is                          17            (Whereupon, a brief discussion ensued off
18 incomplete, inaccurate, or you need to expound upon for                      18     the record.)
19 purposes of your testimony, to your knowledge?                               19   BY MR. BUCKLEY (Resuming)
20   A. Well, what I'm drawn to obviously, the fact that in                     20     Q. Dr. Rushing, we had a short conversation off the
21 2011 there's a negative 6,362, and I would have to go back in                21   record. What I'm going to ask that you do is with respect to
22 my files and find out. I would have had to have gotten the                   22   any worksheet like you were talking about, or underlying data
23 number from some place.                                                      23   that you relied upon or reviewed specific to this case in
24   Q. Yes.                                                                    24   formulating the calculations and opinions reflected in your
25   A. But I must confess I'm not -- I do not have those                       25   report at Exhibit 3, that you -- you're going to have a

                                                                      Page 74                                                                     Page 76



 1    tax returns downstairs and I -- unfortunately, I cannot go                 1 communication with Mr. Spears to assemble that information
 2    upstairs to get them.                                                      2 and we can revisit that, including the worksheet and whatever
 3      Q. But you've told me you don't have the tax returns                     3 information you determine led to the 2011 number here which
 4    for 2011.                                                                  4 we know not to be tax returns but certainly some information
 5      A. No, I do not. They were not provided to me when                       5 of some type. And I'm not going to characterize in any way
 6    the other tax returns were provided. That was explicitly                   6 other than to say I understand you're going to follow up on
 7    stated that they were not included and, therefore, I'm not                 7 that. With respect to the -- You made some illusion to
 8    sure where the 6,362 -- but I certainly will check that out                8 paragraph number four where he went to work with Graham
 9    and I will provide you with some kind of an explanation for                9 Brothers Construction, in a general sense you would agree
10    that.                                                                     10 with me that your estimates with regard to future income are
11      Q. Because it does say that the corporation tax return                  11 more closely related to projections about continued work life
12    for that years shows a net loss of $6,362, correct?                       12 based on what's in number four as opposed to, for example,
13     A. Correct, it does.                                                     13 what his income was in 2011?
14      Q. But as we sit here today you don't know --                           14   A. That's correct.
15    Actually, the indication is that you didn't have the tax                  15   Q. The calculation analysis that you reflect in
16    return for the corporation for 2011, correct?                             16 paragraphs five and six, to some extent, in terms of
17       A. That's right. And I have a worksheet here in which                  17 identifying what the profiles are and what percentages you
18    that 6,362 shows on the corporation returns for Eastside                  18 use, let me ask you if in utilizing those percentages per
19    Construction, but that's under net profit. But when I go                  19 annum for inflation and for -- in other places, for example,
20    over to the gross revenues and profit, 2011 is blank. So I                20 reduction to present value, is it your opinion and statement
21    don't know -- I would have to track that down to find out why             21 that the percentages you utilized are within the recognized
22    it's absent in one case and there's a number there in the                 22 appropriate percentages utilized in your field to do these
23    second, unless I inadvertently put a number in that I don't               23 analyses?
24    know where it came from. But I will certainly check that                  24   A. Yes, I think -- Yes. In particular with inflation
25    out.                                                                      25 and wage changes which have been enormous. And this is one


Min-U-Script®                                                      Ansley Court Reporting                                            (19) Pages 73 - 76
                                                                       (404) 210-6977
     Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 21 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                       June 28, 2021
                                                                      Page 77                                                                     Page 79



 1    occasion in which -- one circumstance in which COVID seems to              1   household services you're looking at a whole spectrum of
 2    have accelerated the wage inflation among a lot of workers at              2   possible things one can do which, perhaps, in some historical
 3    the lower spectrum of the hourly income. The second                        3   sense may be defined by who's performing them, but which
 4    component of that is the discount rate. And the discount                   4   increasingly is not as well defined by that. But the
 5    rate that is referenced here is the five percent which is                  5   American Time Use survey, which is what the Bureau of Labor
 6    recognized under the Georgia statutes. I think even under                  6   Statistics actually does systematically by telephone
 7    the revised 2013 statute which says that is not mandatory                  7   interviews calls households and in numerous calls to those
 8    that you use five percent, which had been historically the                 8   households, what they do is ask how they divide their time in
 9    case, but that you can -- that you use five percent or you                 9   a 24-hour day, and to various aspects they break them down
10    could use some other -- and I don't know what the terminology             10   into sleeping, recreational, household services, consumer
11    is exactly in the statute, but would amount to appropriate                11   activities, educational things, so forth and so on, and they
12    discount rate. What I look at here is the fact that the                   12   come up with actually hourly totals, hours spent doing each
13    three percent inflation and the five percent discount gives               13   of those things. So the -- when you look at it -- and I
14    you a nominal true discount, a real discount, of two percent              14   guess what the Georgia statute seems to recognize -- I'm not
15    which most -- almost everything I've ever seen looks at                   15   an attorney, so I'm not trying to do a legal interpretation.
16    discount in a spectrum that goes usually between zero and two             16   But my understanding as an economist, what it's saying is
17    or zero and three. So this falls within the -- that -- those              17   that household services have value, and those values can be
18    parameters of being recognizable as probably appropriate,                 18   determined by a process -- actually two processes, but I'll
19    though every case is unique.                                              19   focus on only one of those which is the one I used here,
20     Q. So if I --                                                            20   which is the value of the household services would be what
21      A. So I feel very comfortable with those in -- but                      21   would -- what it would cost you to replace those services
22    they need to go on tandem, because if you started then                    22   with non-household members. And the one that is most
23    changing your discount rate, you'd have to start looking at               23   traditional, of course, is the childcare. A mother who has
24    parameters in terms of your wage rate, but it may be slightly             24   given a newborn and is -- now the baby's six months old and
25    different than the parameters when you use a five percent                 25   the mother now wants to go back to work and the child pending

                                                                      Page 78                                                                     Page 80



 1    discount rate.                                                             1   has to be provided by someone. So typically they find either
 2      Q. Fair enough. To the extent you, in that                               2   daycare or someone to come into the household for which they
 3    explanation, included some characterization of wage growth in              3   must make payment for those persons. So it's not as if we're
 4    what -- I don't want to put words in your mouth, but what you              4   doing quality to quality. So I would argue that only a
 5    sort of talked about as lower hourly workers, lower wages,                 5   mother can probably provide the true care a mother gives, but
 6    certainly you don't characterize the hourly wages that Mr.                 6   that there are substitutes for many roles that mothers
 7    Hooks was making as in the lower end of the hourly wage                    7   perform for their offsprings which are necessary for the
 8    spectrum, correct?                                                         8   well-being of that child. And so, that's how the notion of
 9     A. No.                                                                    9   value of household services came about. So I -- That's a
10      Q. And with respect to whether there's been a marked                    10   long explanation, but I don't think juries fully understand
11    increase in -- and I mean m-a-r-k-e-d, marked increase in                 11   it either, so I try to explain a little bit about what it is
12    hourly wages for low-wage earners, you're not stating that as             12   that we're measuring when we're talking about value of
13    a blanket thing applicable equally to construction versus                 13   household services.
14    food services versus some other type of industry, correct?                14    Q. Now, you're aware that the children of Mr. and Mrs.
15      A. That's correct. They're all -- They're all unique.                   15   Hooks were adult children? You're aware of that?
16    And industry-wide that is -- you'd have to pair them up                   16     A. Of course. And the data I used does not -- does
17    appropriately.                                                            17   not include any child being the beneficiaries of those
18     Q. Fair enough. Drawing your attention to the                            18   services. So it would be just for he and his wife in that
19    household services paragraph, number eight, and that's at the             19   context.
20    bottom of this page and goes on to the next, tell me what                 20     Q. And the services are general in nature. You don't
21    household services are?                                                   21   know when to -- Well, who did the grocery shopping, who mowed
22      A. Household services are those services performed by                   22   the lawn, who, you know -- It's more of a general what
23    an individual within a household that goes for his or her                 23   someone contributes to the household and what it would cost
24    benefit but may be mutually beneficial to other parties                   24   to replace those services, correct?
25    within the household. And so, when you're talking about                   25    A. That's correct.


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                                                                    (404) 210-6977
     Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 22 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                       June 28, 2021
                                                                      Page 81                                                                      Page 83



 1      Q. So if she were to testify, oh, David never mowed                      1   terms of replacement cost because presumably the new husband,
 2    the lawn and I had to do all the cleaning and he never                     2   or the new spouse, would start performing those services,
 3    cooked, these numbers aren't changed by that because they're               3   correct?
 4    sort of a generalization of what household services are worth              4     A. No, we're -- No, we're only valuing what his
 5    and what they cost to replace, correct?                                    5   contribution was. His, in this case, Mr. Hooks. And the
 6      A. What they are is the -- base data is the survey                       6   assumption was had he lived he would have performed those
 7    that -- the surveys that I'm talking about. And in this case               7   services through his life expectancy.
 8    I've used the age -- since he was 59 years of age. Usually                 8    Q. Right.
 9    when I'm talking about males, and let's say they're in their               9     A. It's not a -- It's not a case of a new spouse
10    20s, I would just use the average for male -- or males,                   10   coming in, or a new male entering the household that you
11    period, across the board, and use that hourly -- it's usually             11   reduce Mr. Hooks' contribution because presumably that would
12    about 12 hours a week, something like that. In the case of                12   have been what we had evaluated was what he potentially would
13    as you get older the number of hours available to do                      13   have provided had he lived.
14    household services sometimes increases and the data actually              14     Q. Right. But in your report it says, "The hours have
15    show there is -- there is a somewhat of an increase, and then             15   been valued at their replacement cost of $12 per hour",
16    there's a decrease in the number of hours at certain ages.                16   correct?
17    So I try to use that age-based data to calculate the -- the               17    A. Correct.
18    loss that -- as we're talking about it in terms of lost value             18     Q. So coming up with a figure you say he was doing
19    of household services.                                                    19   this, now he's not, and the replacement cost of that is $12
20     Q. And as you've pointed out --                                          20   per hour, correct?
21     A. Which would have been -- Excuse me?                                   21    A. Right. On average, yeah.
22      Q. Nothing. I didn't know I was going to talk over                      22    Q. But if you actually replace him with a spouse who
23    you. I need to hold off longer.                                           23   performed those services the dollars figure doesn't apply
24     A. Go ahead.                                                             24   anymore, correct?
25     Q. And as reflected here, you take into account that                     25          MR. SPEARS: Objection to the form

                                                                      Page 82                                                                      Page 84



 1    he's a male in the United States at his age, correct?                      1         of the question.
 2      A. Right. Males and females are quite different in                       2   BY THE WITNESS (Resuming):
 3    household services performance.                                            3     A. No. I'm sorry. It does apply. We're only
 4      Q. In terms of the assumptions you make, not in terms                    4   measuring what Mr. Hooks, according to the data sample of a
 5    of analyzing a specific household with regard to who actually              5   males contribution to household, what he would have provided
 6    provides those household services, correct?                                6   had he lived in his natural life expectancy and it -- that
 7      A. Well, the data are specific male/female data                          7   precludes there being another spouse for Mrs. Hooks because
 8    because they are, in fact -- the number of hours performed by              8   the analysis assumes he is living through his life
 9    males is considerably less than by females by about 50                     9   expectancy.
10    percent. So the value that men contribute to the household                10     Q. I understand that. I know it assumes that. But to
11    is not as much as females contribute to the household. And                11   assign a dollar value to it, what you talk about is
12    so, we're only dealing with the male contribution in this                 12   replacement cost of that, and that means in general terms, if
13    case.                                                                     13   he was mowing the lawn and you have to go hire somebody to
14      Q. Right. And those are not -- Again, they aren't                       14   mow the lawn there's a replacement cost of that, correct?
15    specific to this couple. They're based on data that's                     15    A. Yes.
16    assembled nationally, correct?                                            16     Q. So with that analysis, if you remarry after he dies
17      A. They are based on data. The Bureau of Labor                          17   and you don't have to hire somebody to do the lawn, your new
18    Statistic data by the America Time Use Survey.                            18   spouse does that, you don't incur that cost anymore, correct?
19     Q. Fair enough. I'm just saying it's not looking at                      19           MR. SPEARS: Hold on, Mr. Rushing.
20    what Teresa and David Hooks say about what they did.                      20         Dr. Rushing, if you could, please hold on
21     A. That's correct. I misunderstood you. I'm sorry.                       21         just a moment. May I suggest, Tim, that
22      Q. And if you're talking about a couple and you're                      22         the value of his life is not measured by
23    talking about replacement of services, if a couple's married              23         her economic loss and I would ask you to
24    and one of them dies and then two or three years later that               24         please refrain from continuing this
25    spouse remarries, that could impact household services in                 25         particular line of questioning, otherwise


Min-U-Script®                                                  Ansley Court Reporting                                                  (21) Pages 81 - 84
                                                                   (404) 210-6977
     Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 23 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                       June 28, 2021
                                                                    Page 85                                                                        Page 87



 1         I'll just continue to object every time                             1   hour," and I'll add the next sentence, "The hourly rate
 2         you ask it.                                                         2   reflects the average hourly rates of occupations similar to
 3              MR. BUCKLEY: You can have a                                    3   those of household services and they are published in the
 4         standing objection. His report says                                 4   GDLO wage data. What that means to a non-economist like me
 5         replacement cost, and I'm saying that's                             5   is you look at the services and what it would cost to hire
 6         based on what it would cost you to get                              6   someone to provide those service, right?
 7         someone to perform those services and he                            7    A. That's the value of the loss.
 8         said yes.                                                           8           MR. SPEARS: Object to the form of
 9              MR. SPEARS: All right. I'm not                                 9       the question. Are you asking him whether
10         going to withdraw what I said, Tim. I                              10       he agrees with your conceptualization of
11         think you're now in the arena of losses                            11       what it means or are you asking him what
12         to her rather than the value of his life,                          12       he means by it?
13         and --                                                             13           MR. BUCKLEY: Well, so much for
14              MR. BUCKLEY: I understand that                                14       simple question and answer. My question
15         that's what you think.                                             15       is -- No. Just state a form objection
16              MR. SPEARS: Go ahead.                                         16       because you're now interrupting my
17              MR. BUCKLEY: But that's not an                                17       ability to ask questions. You're having
18         objection, or an obstruction -- or an                              18       the very conversation you said we're not
19         instruction to him. I'm trying to                                  19       here to have, Brian.
20         understand the field and I'm allowed to                            20   BY MR. BUCKLEY (Resuming):
21         ask questions about what -- what does                              21      Q. Now, Mr. Expert, subject to that objection I will
22         replacement cost -- what do you -- what                            22   ask you this question. In terms of the replacement cost of
23         do they use to come up with that. And                              23   household services, that means you look at, well, what would
24         what the Expert has already said is,                               24   it cost to hire somebody to do that service, right?
25         well, they look at what those services                             25    A. What I'm saying -- That's right. What it will cost

                                                                    Page 86                                                                        Page 88



 1         cost. And he gave the example of                                    1   to hire someone to come in and do the job that Mr. Hooks
 2         childcare. A specific example. And so                               2   would have performed had he lived.
 3         I'm saying, okay, so when we look at the                            3    Q. Right.
 4         services of a male in the household, for                            4     A. And what we're trying to do is to provide some
 5         example, if he always mowed the lawn, the                           5   value for those services as they were being generated by him
 6         replacement cost would be I've got to                               6   in an economic situation. So there is a value to them. The
 7         hire somebody to mow the lawn, and he                               7   question is it's not a direct value because nobody was paying
 8         agreed with that in general.                                        8   Mr. Hooks to do those things. But there is value to them
 9            THE WITNESS: But you --                                          9   because in the absence of Mr. Hooks you have to go out and
10            MR. SPEARS: Dr. Rushing, wait,                                  10   hire someone to provide those -- I mean, you have to go pay
11         please. Wait for a specific question and                           11   them to do what he was doing. And, therefore, it's a
12         then -- and then we'll go from there.                              12   comparability in terms of value that you attribute to his
13         Okay, please?                                                      13   services. But what we're valuing is Mr. Hooks' contribution,
14            THE WITNESS: Okay.                                              14   not --
15            MR. SPEARS: This isn't a general --                             15    Q. Yes.
16         like the three of us having a general                              16    A. -- somebody else's contribution, and the --
17         communication about how to do things.                              17    Q. Yes.
18         Let's just kind of go with a format of                             18      A. -- and the full value of the loss is not only his
19         question and answer. Please go ahead,                              19   loss of wages and fringe benefits, but also the loss of the
20         Tim.                                                               20   value of household services. And some of those, presumably,
21    BY MR. BUCKLEY (Resuming):                                              21   if they all are pertinent, would be to provide the full
22      Q. Closing off that part of the conversation in the                   22   economic losses due to Mr. Hooks' death. Now, that's how I
23    record. Dr. Rushing, I have a question for you. And that                23   understand it. Now, it doesn't have anything to do with Mrs.
24    is, in terms of the sentence in your report that says, "The             24   Hooks other than she was a beneficiary of his performing
25    hours have been valued at their replacement cost of $12 an              25   those services and -- but the actual value being generated


Min-U-Script®                                               Ansley Court Reporting                                                   (22) Pages 85 - 88
                                                                (404) 210-6977
     Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 24 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                       June 28, 2021
                                                                      Page 89                                                                     Page 91



 1    was being generated by him and it's valued by a process that               1             MR. BUCKLEY: I move to strike all
 2    we rely on the market to help determine what the value of                  2         of that as argumentative and
 3    that is since he was not himself being paid to do those                    3         unresponsive.
 4    things.                                                                    4   BY MR. BUCKLEY (Resuming):
 5      Q. Right. And what you've made clear -- And I'd                          5     Q. My question, in isolation, because I'm talking
 6    object to some of that as non-responsive, but I have a hard                6   about the elements of what underlies paragraph eight. And
 7    time untangling the unresponsive from the responsive. My                   7   based on what you said, I said, so replacement cost is
 8    question -- limited question was replacement cost. To                      8   calculated based on what it would cost generally to go out
 9    calculate that, or what underlies that is, as you've said                  9   and hire in the market someone to perform that service, and
10    before, if you went out into the market and hired someone to              10   you said yes.
11    provide that service and you said yes; is that not correct?               11    A. I said yes. I still say yes.
12     A. That's correct.                                                       12    Q. Now, when you start getting into the philosophy of
13      Q. And you gave the example of is you have to hire                      13   how that impacts -- I'm not asking you that. I'm not. So --
14    someone to provide childcare, like a mother who goes back                 14    A. I'm not --
15    into the workforce, and you gave commentary about the real                15    Q. So that's all I asked you. And then I --
16    mother versus hiring someone and so forth. Underlying                     16    A. And I gave you the answer.
17    replacement cost was if you have to hire childcare it's going             17     Q. And then I asked you another question which was if
18    to cost a value and that's what they look at in terms of the              18   a household is being provided a specific service by a spouse
19    replacement cost of childcare as a household item, right?                 19   who is no longer in the household and the valuation of
20     A. So what we're doing is saying how much --                             20   household services is what it would cost to go get those
21     Q. Please give a yes or no and then --                                   21   services from the market, which we've agreed on so far, would
22      A. -- value what the wife, as the mother, was                           22   you not agree that if someone comes in and provides those
23    providing in the way of childcare by looking at what it would             23   services for free, that replacement cost is not something
24    take to replace it. That is absolutely true. But it's the                 24   someone actually has to pay for. And that's my question.
25    value she is creating. And it's just the form of valuation                25   Would you agree that if someone comes in and provides those

                                                                      Page 90                                                                     Page 92



 1    that you seem to be discussing, and the end point is you get               1   services, that's not a cost that the household actually
 2    a value of what she is contributing to the household in the                2   incurs?
 3    way of her own behavior.                                                   3     A. Well, I will agree with that statement because
 4     Q. So --                                                                  4   something that's free is not being paid for. So there's no
 5       A. And that's the loss we're trying to calculate is                     5   cost associated with it. But --
 6    what it was for the fact the wife is either now -- Let's say               6    Q. Right. For example --
 7    if she's deceased, then I don't know where you would go. And               7     A. -- Mr. Hooks is not what my calculations were
 8    my argument is we've done the analysis on her losses and it                8   about.
 9    has nothing to do with whether her husband gets remarried and              9     Q. I'm going to stop saying stuff's nonresponsive
10    finds someone to take care of the child.                                  10   because it's blatantly obvious that it is. But I move to
11     Q. With all due respect, that was an unresponsive                        11   strike that commentary at the end because it wasn't
12    answer to my question.                                                    12   responsive to my question. I'm not asking you about that. I
13     A. You asked me to say yes or no. No --                                  13   was asking you a specific question.
14     Q. Mr. Expert --                                                         14     A. And I gave you an answer. The answer was obviously
15     A. -- and I gave you a yes.                                              15   there is no cost if it is free.
16      Q. -- you are not going to talk over me. With all due                   16     Q. Thank you. At the risk of stepping further into
17    respect. I've tried desperately not to do it to you. Do not               17   the chasm, you would agree with me that if there are two
18    do that, please.                                                          18   working parents and grandma decides to be the nanny versus
19     A. I apologize. I apologize.                                             19   hiring a nanny there's not a cost incurred to hire a nanny,
20     Q. What I'm saying is --                                                 20   correct?
21      A. But if you think -- I've answered your question.                     21    A. That's true.
22    I'm happy to answer your question. Ask me a question again.               22     Q. And understanding what you're trying to convey to
23    I will say the same thing that I just told you. What I'm                  23   me, what you're saying is that household services item exists
24    trying to do as an economist, and you say something different             24   regardless of what the marital experience is of the spouse
25    from what my analysis is trying to accomplish.                            25   going forward from the time the person dies, correct?

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                                                                    (404) 210-6977
     Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 25 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                       June 28, 2021
                                                                     Page 93                                                                        Page 95



 1     A. That's what I'm saying.                                               1 deposition?
 2     Q. Yes.                                                                  2   A. No.
 3     A. I'm saying the analysis is about Mr. Hooks' value.                    3            MR. BUCKLEY: Madam Court Reporter,
 4      Q. Your opinions with respect to David Hooks and the                    4        could you display Exhibit 3, page two.
 5    economic issues that you're giving testimony about are                    5 BY MR. BUCKLEY (Resuming):
 6    unimpacted and exist in isolation from anything specific                  6   Q. In paragraph five of the report -- Do you see that,
 7    about Teresa Hooks' income stream, contribution of household              7 Mr. Expert?
 8    services or the character of their relationship prior to his              8   A. Yes.
 9    death, correct?                                                           9   Q. Do you see that you -- your analysis used a base
10     A. Mrs. Hooks you said?                                                 10 wage for Mr. Hooks with an annualized wage of $77,149?
11     Q. Yes.                                                                 11   A. That is the base wage as calculated from the
12     A. No. This is a calculation about Mr. Hooks.                           12 information on the six and a half weeks that he worked in
13      Q. Right. So those factors don't matter to your                        13 that year.
14    calculation, correct?                                                    14   Q. And that's the -- That's the wage that you utilized
15      A. They don't have an impact on the dollar evaluation,                 15 to calculate the anticipated income stream under the three
16    that's correct.                                                          16 different profiles, correct?
17     Q. They don't have any impact on your opinion in any                    17   A. Correct.
18    way, right?                                                              18   Q. The numbers that you utilized for those three
19      A. Well, yes. In the household services they do                        19 profiles were not impacted or calculated based on any of the
20    because it's a household and he's performing services. She's             20 figures we see in paragraph three of your report, correct?
21    a beneficiary of those services without being directly                   21   A. That's correct.
22    providing them.                                                          22   Q. So, for example, if you utilized the wage
23      Q. Outside of that though, no, and not specific to                     23 information and tax returns up to 2014 before he went to work
24    looking at who mowed the lawn and who did the grocery                    24 for Graham Brothers Construction that would have impacted the
25    shopping, right?                                                         25 numbers in each of the three profiles, correct?


                                                                     Page 94                                                                        Page 96



 1     A. Right.                                                                1     A. Yes, if you had used data for the years prior to
 2             MR. BUCKLEY: Off the record.                                     2   2014 that would be true.
 3             (Whereupon, a short recess was                                   3    Q. Right. And without getting specific, it wouldn't
 4          taken.)                                                             4   have been $77,000 a year, it would have been less?
 5             MR. BUCKLEY: We're back on the                                   5    A. Yes.
 6          record.                                                             6    Q. Significantly less?
 7    BY MR. BUCKLEY (Resuming):                                                7    A. Correct.
 8      Q. Dr. Rushing, just tying up some loose ends, so I'm                   8    Q. Significantly less?
 9    going to jump around a little bit here. You reviewed Teresa               9     A. Well, significantly -- It would have been less.
10    Hooks' deposition, correct?                                              10   Significant or insignificant, but it seemed like it would
11     A. Correct.                                                             11   have been less. Yes, for sure.
12      Q. She made some -- Well, let me back up. You were                     12     Q. So you don't like significant or insignificant, but
13    reviewing that exclusively for -- Well, no. Why did you                  13   less for sure is what --
14    review her deposition? Let me just do it that way.                       14     A. Well, that's -- Quantitatively that doesn't -- You
15      A. Well, I always review -- If there's a spousal                       15   could say 50 percent less or 75 percent less, and that's a
16    deposition out there I usually review it. I want to get                  16   very specific number, but significantly less --
17    whatever insights she may have had in discussing her                     17      Q. Then you tell me, what percentage less would it be
18    deposition. I should be aware of them whatever they might                18   if you didn't -- if you didn't have that six and a half weeks
19    be.                                                                      19   of wage?
20      Q. Are there portions of your report or your analysis                  20     A. Well, first you'd have to go back and recalculate.
21    of income that you identify as something you drew                        21   I'd had to go back and look at those calculations on those
22    specifically from her deposition?                                        22   2009 through 2014, because one of the things that you do with
23     A. I'm sorry. You broke up there.                                       23   a self-employed person is sometimes you do -- use what is
24     Q. Are there any aspects of your report or your                         24   known as a discretionary income analysis which looks at what
25    opinions that you identify as drawn specifically from her                25   that individual may have had. The most significant


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                                                                     (404) 210-6977
     Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 26 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                       June 28, 2021
                                                                     Page 97                                                                         Page 99



 1    contribution that might have decreased their discretionary                1   at any time?
 2    income would be to what extent they have significant                      2    A. I do not. And he's in Dublin, is he?
 3    depreciation allowances in their -- in their analysis. Not                3    Q. He is, and Augusta.
 4    knowing that, but I would say clearly the highest earnings                4    A. Okay.
 5    year they had was 42,000 with no adjustment to that, and                  5     Q. And may have served in Savannah. I don't know.
 6    16,000. So you're looking at certainly about a 50 percent                 6   I'm not limiting it. But he's a Southern District --
 7    reduction at a minimum.                                                   7    A. Judge.
 8     Q. And looking at -- Were you finished? I'm sorry.                       8     Q. --- Court judge, and has been on the bench for a
 9     A. Yes, I was.                                                           9   number of years. So I just was asking you that. In your CV
10      Q. But looking at 2013, on your report I see there's                   10   there are several publications. To your recollection have
11    an end paren on the right side. That's a typo. You meant to              11   you ever done a publication -- That's really bad grammar. To
12    reflect in 2013 a positive number of 16,406, correct?                    12   your recollection have you ever prepared or authored a
13     A. Yes, I did.                                                          13   publication specific to the field of construction or with
14      Q. But in years 2010, '11 and '14, up to July when you                 14   respect to the type of construction work that David Hooks
15    utilized those figures, those were net loss years, correct?              15   did?
16     A. Yes.                                                                 16     A. I'm sorry. Have I ever done any -- any papers
17      Q. In your experience can you recall a time when your                  17   about the construction industry? Is that what you asked?
18    proffered -- you being proffered as an expert in economics,              18    Q. Essentially, yeah.
19    you were refused by any court?                                           19     A. Not to my knowledge have I ever focused on that.
20      A. I have not been -- My testimony has never been                      20   I've had cases in which the parties -- the deceased or
21    denied by the court.                                                     21   injured parties have been part of the construction industry,
22      Q. I'm assuming in -- I won't assume. In your                          22   which is a very big and important industry.
23    recollection has your testimony ever been limited or                     23    Q. Understood.
24    curtailed by a court?                                                    24     A. But I have not written papers particularly focused
25     A. Yes. Once I had the judge -- it was -- I don't                       25   on the structure and impact of construction on the U.S.

                                                                     Page 98                                                                        Page 100



 1    remember if it was federal court. I think it was in state                 1   economy in general.
 2    court in Bibb County, but I can't remember the guy's name.                2     Q. Under the heading of questions you just have to
 3    He was a rather famous judge down there. And when I went and              3   ask, even though I don't know what value they have, do you
 4    did my analysis and I failed to use the five percent                      4   have an estimate of how often you are the expert proffered by
 5    discount, he denied my testimony because I had to go back                 5   a plaintiff versus a defendant?
 6    that night and recalculate everything using a five percent                6     A. Yes. I do have an answer to that question. I
 7    discount. Once I did that he approved the testimony to go                 7   would say overwhelmingly it's the plaintiff's side, and I
 8    forward.                                                                  8   would say if you did all the cases I've ever had, probably on
 9      Q. Can you give me an estimate of how many times                        9   the low end it's been, you know, 95 percent, and on the high
10    you've been retained by Mr. Spears over the years?                       10   end for plaintiff's and the high end 99 percent. But that
11     A. None to my recollection.                                             11   is, I think, typical with any economic expert with regard to
12      Q. Can you recall -- for example, you just were                        12   -- to who are our clients, and I would say most of us have
13    recalling -- you were recalling a time in Bibb County which              13   clients that are plaintiff's attorneys rather than defense
14    is in the Middle District of Georgia in federal court, but               14   attorneys, and that may be driven by the law rather than by
15    you said you thought it was in state court. This case is                 15   the economics of it.
16    pending in the Southern District of Georgia. Do you know how             16      Q. Is there any underlying information, leaving aside
17    many times you have offered expert testimony in federal court            17   the testimony and interview of James Graham, is there any
18    in the Southern District of Georgia over your career?                    18   source of information you can identify that you -- if you had
19      A. Probably not more than two or three times. A                        19   it you would feel more confident or differently about your
20    specific case was one in Savannah. I may have been in Dublin             20   opinions with regard to the areas that you've given us expert
21    before. I'm not quite sure. It's been a long time now since              21   opinions on in this case?
22    '85. But I have been in the Southern District at least on                22     A. No. Obviously if I had my -- I wish that I had a
23    one occasion prior to this.                                              23   longer period of time in which Mr. Hooks had been employed by
24     Q. The presiding judge in this case is Judge Bowen.                     24   the Graham Brothers, but that is not determined by any
25    Do you have a specific recollection of appearing in his court            25   conscious decision on anyone's part, I think, but rather just


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                                                                   (404) 210-6977
     Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 27 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                       June 28, 2021
                                                                     Page 101                                                              Page 103



 1    the reality of the facts in the case. But I don't know of                  1            MR. BUCKLEY: And with that, that's
 2    any specifically that I said, gee, I wish I knew this. But                 2        all the questions I have. Thank you, Dr.
 3    I'm hoping that if there are any other facts that come                     3        Rushing.
 4    available that I will be advised of any other testimony that               4            THE WITNESS: Thank you, Mr.
 5    has impact on the economic -- that has economic ramifications              5        Buckley.
 6    that I would become aware of and assess it with respect to                 6            MR. SPEARS: Thank you, Doctor.
 7    whether it would or would not impact my analysis.                          7            THE COURT REPORTER: I do need to
 8     Q. Certainly to the extent they exist you would have                      8        know about signature.
 9    preferred to have the 2011 tax returns for the Eastside                    9            MR. BUCKLEY: He's reserved
10    Construction and for Mr. and Mrs. Hooks, correct?                         10        signature.
11       A. Yes. The only thing that comes to mind I would                      11            (Whereupon, the court reporter
12    have -- I shouldn't even bring it up. But sometimes the                   12        marked a document as Defendant's Exhibit
13    previous tax returns -- sometimes tax returns have previous               13        Number 4 for identification.)
14    tax returns indicated in them, and I could have possibly                  14
15    found that information and pulled that unique data out. But               15          (Whereupon, the above-entitled
16    I'll have to go back and check that which I told you I would              16        matter was concluded at 1:26 p.m.)
17    do.                                                                       17                   o0o
18      Q. Let me ask you this. In projecting going forward                     18
19    Mr. Hooks' income, why do years 2009 through the first part               19
20    of 2014, why aren't those put into the hopper, if you will,               20
21    of how you calculate anticipated future wages?                            21
22      A. Well, they're not because that's -- that's not the                   22
23    particular employment that he had or the compensation that he             23
24    was generating for his performance. I want to make it much                24
25    more related to what his circumstances were at the time of                25

                                                                     Page 102                                                              Page 104

                                                                                                        CERTIFICATE OF COURT REPORTER
 1    his death which was his last employment. And the other --
                                                                                     STATE OF GEORGIA        )
 2    The nature of his performance in prior years, I guess other                    COUNTY OF FULTON        )
 3    than the tax returns, I don't -- I don't know what -- what                          I, April D. Herbert, Certified Court Reporter, 2872
 4    exactly was going on there.                                                    hereby certify that the foregoing transcript of deposition as
 5     Q. He was in the construction industry --                                     stated in the caption consisting of page 4 through 103, was
 6     A. Yes.                                                                       taken down by me and then transcribed under my supervision,
 7     Q. -- during those years, right?                                              and that the same is a true, correct, and complete transcript
 8     A. Yes, he was.                                                               of the evidence given by the witness, who was first duly
 9      Q. So if the jury is to utilize your opinions, those                         sworn by me.
10    opinions are based on calculations of figures based on the                          I further certify that I am a disinterested party to
11    income stream projected in the future based on the time                        this action and that I am neither of kin or counsel to any of

12    period that he was working for Graham Brothers, correct?                       the parties hereto.
13     A. Yes.                                                                            This certification is expressly withdrawn and denied

14      Q. They do not take into account the income stream or                        upon the disassembly or photocopying of the foregoing
15    trends associated with that from any time prior to that                        transcript, unless said disassembly or photocopying is done

16    period of time he was working for Graham Brothers, correct?                    by the undersigned certified court reporter and original

17     A. That's correct.                                                            signature and seal is attached thereto.

18     Q. As a general statement you would agree with me that                             IN WITNESS WHEREOF, I hereby affix my hand on this the

19    peoples employment experiences can ebb and flow over time                      24th day of July, 2021.

20    based on a number of factors, correct?
21     A. Correct.
22     Q. You can have somebody who makes a significant
                                                                                           April D. Herbert
23    amount of money in year three, but in years one, two, four                           CERTIFIED COURT REPORTER, 2872
24    and five they don't perform as well, correct?
25     A. Correct.


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  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 28 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                       June 28, 2021
                                                                  Page 105

                                       DISCLOSURE
    STATE OF GEORGIA                          Deposition of
    COUNTY OF FULTON                        Francis W. Rushing, Ph.D.




            Pursuant to Article 10.B of the Rules and Regulations of
    the Board of Court Reporting of the Judicial Counsel of
    Georgia, I make the following disclosure:
            I am a Georgia Certified Court Reporter.        I am here as
    an independent contractor.
            I was contacted by the offices of the taking attorney to
    provide court reporting services for this deposition.          I will

    not be taking this deposition under any contract that is
    prohibited by O.C.G.A. 15-14-37(a) and (b) or Article 7.C.
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    services with any party to the case, any counsel in the case,
    or any reporter or reporting agency from whom a referral
    might have been made to cover this deposition.          I will charge

    its usual and customary rates to all parties in the case, and
    a financial discount will not be given to any party to this
    litigation.

                                 _________________________________
                                 April D. Herbert
                                 Certified Court Reporter, 2872




                                                                  Page 106

    07/24/21/FrancisRushing/ADH
                                E R R A T A     S H E E T
         I hereby certify that I have read the foregoing and
    within pages 4 through 103 and no changes are required:

                                     _______________________________
                                       Dr. Francis Rushing
         Sworn to and subscribed before me this ___ day of
    ___________________________, 20__.
                                     _______________________________
                                       NOTARY PUBLIC
            My commission expires _____________________________.


                                      ************
            I hereby certify that I have read the foregoing and
    within pages 4 through 103 and I wish to make the following
    changes:
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                                    _________________________________
                                       Dr. Francis Rushing
         Sworn to and subscribed before me this ____ day of
    _______________________, 20__.
                                         ______________________________
                                              NOTARY PUBLIC
            My commission expires ________________________________.




Min-U-Script®                                                  Ansley Court Reporting      (27) Pages 105 - 106
                                                                   (404) 210-6977
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 29 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                        June 28, 2021
                 accomplish (1)             affects (1)              21:19;51:13;86:5;     38:8;40:7;71:14;
              $          90:25
                       according (1)
                                                51:1
                                              affirmed (1)
                                                                         94:15
                                                                       amend (1)
                                                                                                   76:22;77:11,18
                                                                                                 appropriately (1)
$1,400 (1)               84:4                   38:17                    62:24                     78:17
  19:18                account (9)            afford (1)               America (1)               approved (1)
$12 (3)                  42:16,20;43:15;        47:11                    82:18                     98:7
  83:15,19;86:25         44:12,18;49:6;55:16; again (10)               American (3)              approximately (3)
$175 (1)                 81:25;102:14           13:15;16:7;19:12;        9:12;65:13;79:5           20:8,14;22:4
  19:20                accountant (1)           22:14;51:16;55:8;      among (1)                 April (8)
$2,400 (2)               41:3                   57:16;60:1;82:14;        77:2                      4:15;7:18;18:11;
  32:7,7               accounting (2)           90:22                  amount (3)                  22:21;24:19;31:4;
$2,600 (1)               41:7,7               against (2)                24:4;77:11;102:23         50:6;62:3
  24:8                 accrue (1)               19:19;21:13            analyses (3)              area (4)
$20,000 (1)              36:21                age (20)                   26:22;73:16;76:23         18:13;40:8,23;
  55:18                accuracy (1)             35:25,25;36:13,16,     analysis (38)               65:24
$21 (1)                  56:1                   17,19;38:1;45:13,14;     15:5;18:20;19:5;        areas (4)
  46:18                accurate (7)             46:17;47:3,14,14;        28:15,23;29:24;           40:11,24;41:15;
$350 (3)                 8:6,25;17:15;24:14;    49:5,5;52:24;68:1;       35:13;36:1,6;37:24;       100:20
  19:16,19;20:13         27:7;35:22;58:8        81:8,8;82:1              38:10;39:17;45:8;       arena (1)
$6,362 (1)             acquire (1)            age-based (1)              55:1;58:21;60:18;         85:11
  74:12                  53:2                   81:17                    63:2;64:13,18,21;       argue (1)
$77,000 (1)            across (4)             ages (1)                   66:20;68:3,9,15;          80:4
  96:4                   52:24;63:23,23;        81:16                    72:24;73:6;76:15;       arguing (1)
$77,149 (1)              81:11                ago (5)                    84:8,16;90:8,25;93:3;     44:10
  95:10                activities (4)           9:16,17;18:15;           94:20;95:9;96:24;       argument (1)
                         15:11;54:22;57:21;     21:23;56:16              97:3;98:4;101:7           90:8
              §          79:11                agree (7)                analytics (1)             argumentative (1)
                       activity (1)             58:18;76:9;91:22,        65:4                      91:2
§9-11-28c (1)            45:21                  25;92:3,17;102:18      analyzing (1)             arguments (1)
  4:5                  actual (2)             agreeable (3)              82:5                      13:15
                         14:8;88:25             5:8,15;8:10            and-a-half (1)            arose (1)
              A        Actually (18)          agreed (4)                 29:8                      29:16
                         10:6;15:8;22:11;       15:24;42:4;86:8;       Andrew (1)                around (2)
ability (5)              24:24;27:23;28:3;      91:21                    9:9                       49:25;94:9
  14:10;63:4,11,14;      48:23;51:19;63:22;   agreement (2)            annualized (1)            arrangement (1)
  87:17                  74:15;79:6,12,18;      16:2;56:15               95:10                     19:2
able (5)                 81:14;82:5;83:22;    agrees (1)               annum (1)                 arrangements (2)
  36:20;43:22;44:21;     91:24;92:1             87:10                    76:19                     16:2;52:19
  66:25;67:1           add (4)                ahead (8)                answered (2)              arrival (1)
above-entitled (1)       20:3;26:15;27:24;      19:13;26:11;61:10,     56:3;90:21                  51:6
  103:15                 87:1                   10;72:4;81:24;85:16; anticipate (3)              arrived (1)
absence (1)            additional (4)           86:19                  40:12;46:9;61:18            20:11
  88:9                   8:20;19:19;32:9;     alive (1)                anticipated (4)           articles (1)
absences (1)             62:22                  53:11                    63:5;65:8;95:15;          8:18
  51:7                 address (3)            allowances (1)             101:21                  aside (2)
absent (1)               8:21,24;31:19          97:3                   anymore (3)                 52:15;100:16
  74:22                adjust (2)             allowed (2)                49:25;83:24;84:18       aspect (3)
absolutely (1)           55:20;56:21            5:4;85:20              apologize (5)               13:8;19:23;68:6
  89:24                adjustment (1)         almost (3)                 7:21;8:1;59:21;         aspects (7)
accelerated (1)          97:5                   65:13;66:9;77:15         90:19,19                  19:8;20:3;25:21;
  77:2                 Administration (2)     along (2)                appear (1)                  34:10;65:13;79:9;
acceptance (1)           36:12;48:2             66:22;71:18              17:15                     94:24
  64:2                 adult (1)              alter (2)                appearing (1)             aspirations (1)
accepted (1)             80:15                  52:9,13                  98:25                     15:20
  9:17                 advanced (1)           altered (1)              appears (1)               assemble (1)
access (2)               41:16                  50:15                    27:7                      76:1
  26:17;40:19          advised (2)            alternate (1)            applicable (1)            assembled (1)
accidental (1)           29:19;101:4            54:6                     78:13                     82:16
  41:4                 affect (5)             alternative (1)          apply (3)                 asserted (2)
accidently (1)           34:23;42:11;50:20;     55:2                     61:4;83:23;84:3           5:13,18
  71:24                  56:22;68:1           although (3)             appreciate (2)            assess (9)
accidents (1)          affected (3)             5:12;6:11;57:6           24:14;71:22               29:9;42:24;57:1,17;
  53:3                   43:19;56:18;58:21    always (4)               appropriate (6)             59:6,8;60:6;63:4;
Min-U-Script®                                 Ansley Court Reporting                                   (1) $1,400 - assess
                                                  (404) 210-6977
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 30 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                         June 28, 2021
   101:6         available (12)               54:5                 both (7)                103:1,5,9
 assessed (1)       12:21;28:19;40:3;       become (4)               8:15;16:1;25:22;    burden (1)
  29:6                     41:1,14;51:20;64:7;      14:24;15:10;41:10;       27:16;42:4;55:25;       14:24
assessing (5)              67:10,11;71:15;          101:6                    69:14                 Bureau (2)
  41:12;59:15;60:10;       81:13;101:4            behalf (1)               bother (1)                79:5;82:17
  65:23;66:10            Avenue (1)                 52:1                     21:17                 bus (2)
assessment (15)            31:20                  behavior (7)             bottom (3)                49:7,8
  40:14,22;41:4,25;      average (3)                44:8,8,9;60:14,15;       55:1;69:9;78:20       Business (18)
  46:23;51:4;52:12;        81:10;83:21;87:2         64:1;90:3              Bowen (1)                 9:7,8,9;11:7,8;12:4,
  53:18;57:24;58:1,4,    award (1)                bench (1)                  98:24                   9,10,10;14:7,8,10,22;
  11,13;60:8;61:2          38:9                     99:8                   Brady (1)                 15:6,11;42:12;55:18;
assessments (1)          awards (2)               beneficial (1)             43:15                   64:5
  41:5                     46:6;49:3                78:24                  breach (1)              buyer (5)
assign (2)               aware (8)                beneficiaries (1)          11:16                   42:2,7,8,11,23
  45:12;84:11              52:23;54:5,20;           80:17                  break (5)               buyers (2)
associated (3)             56:17;80:14,15;        beneficiary (2)            16:17;61:23;62:3;       67:7,9
  12:19;92:5;102:15        94:18;101:6              88:24;93:21              63:6;79:9
assume (2)               away (3)                 benefit (10)             Brian (12)                            C
  16:1;97:22               13:20;18:8;53:15         14:25;33:18;36:21;       5:15;10:7,13;16:4;
assumed (1)                                         39:22;40:15;47:6,15,     24:13;25:10;26:16;    Cairo (1)
  30:1                                B             20,21;78:24              56:7;69:23;71:6,22;     9:12
assumes (2)                                       benefits (9)               87:19                 calculate (13)
  84:8,10                baby's (1)                  12:18;28:19;38:15, Brian's (1)                  12:16,17;13:1,11,
assuming (2)               79:24                     17,19;39:5,20;51:11;   56:15                    21;15:1;34:23;63:16;
  38:15;97:22            back (28)                   88:19                brief (4)                  81:17;89:9;90:5;
assumption (6)             7:24;9:10;14:4;        Best (6)                  25:11;26:3;52:4;         95:15;101:21
  28:16;40:7;46:17;        16:16;20:25;22:4,13;      5:22;15:14;36:4,24;    75:17                  calculated (3)
  49:10;66:18;83:6         24:8,11;26:18;31:11;      46:5;67:17           briefly (4)                91:8;95:11,19
assumptions (14)           35:13;38:14,16;        better (4)                7:16;17:10;33:1;       calculation (7)
  15:13;26:23;28:5;        56:12;64:21;66:7;         12:12;43:23;45:14,     71:10                    34:22;35:1;49:7;
  34:10,16;38:25;39:1;     68:13;72:8;73:21;         20                   bring (2)                  63:13;76:15;93:12,14
  42:22;45:23;59:9;        79:25;89:14;94:5,12;   beyond (2)                25:2;101:12            calculations (13)
  65:5,7;73:15;82:4        96:20,21;98:5;101:16      13:2;36:5            broke (1)                  14:15;20:3;21:19;
Atlanta (2)              background (5)           bias (1)                  94:23                    34:17;35:14,17;
  18:1;20:1                8:15,16;50:13;            46:5                 broken (1)                 45:10;48:22;51:2;
attainment (1)             52:14;59:13            Bibb (2)                  35:15                    75:24;92:7;96:21;
  64:24                  bad (1)                     98:2,13              Brothers (14)              102:10
attempted (1)              99:11                  big (1)                   15:11;19:2;39:12;      call (6)
  5:19                   bandwidth (1)               99:22                  41:23;42:8,17;43:8;      5:24;31:7;33:18;
attention (1)              16:12                  Bill (3)                  67:4;75:13;76:9;         35:1;38:23;55:23
  78:18                  base (5)                    5:24;21:14;22:11       95:24;100:24;102:12,   called (5)
attentive (1)              46:2;60:17;81:6;       billing (5)               16                       4:24;12:8;19:21;
  51:25                    95:9,11                   20:3,19;21:2,4,5     brought (4)                26:25;27:18
attorney (2)             based (34)               biographical (1)          11:22;13:14;15:12;     calling (2)
  72:2;79:15               11:5;15:9;17:18;          8:15                   60:13                    62:13;69:1
attorneys (2)              26:23;36:6,21;40:10; birth (1)                  BUCKLEY (88)            Calls (5)
  100:13,14                45:3,23;46:9;47:3,3,5, 36:15                      4:15,19;5:1,17,21;      53:22;55:24,25;
attribute (1)              16;48:2;49:8;50:13; bit (7)                       6:10;7:3,8,14,17;8:2;   79:7,7
  88:12                    52:14;59:9;61:5,19;    13:6;16:6;30:18;           16:4,21,24;17:3,8;    came (6)
audio (1)                  65:8;73:16;76:12;      63:20;64:5;80:11;          18:10,12;22:21,25;      8:20;9:10;60:25;
  59:6                     82:15,17;85:6;91:7,8; 94:9                        23:5,9;24:18;25:2,9,    68:12;74:24;80:9
augment (1)                95:19;102:10,10,11, blank (1)                     16;26:1,5,9,12;27:14, camera (1)
  52:9                     20                     74:20                      17;30:17;31:1,24;       71:11
August (2)               basically (1)            blanket (1)                32:3;33:7,9,21,24;    can (53)
  9:5;69:20                66:6                     78:13                    50:6,8;52:3,6;53:23;    4:15,17,17;5:13,18;
Augusta (1)              basing (2)               blatantly (1)              54:16;56:6,13;57:14;    8:4;10:9,13;11:22;
  99:3                     58:9;59:9                92:10                    59:24;60:3,4;61:22;     16:10,13,25;18:10;
authored (1)             basis (5)                Board (3)                  62:6,9;68:16,25;69:5, 21:20;24:9,18;27:19;
  99:12                    18:24;24:2;44:23;        9:17,22;81:11            9,13,23;70:4;71:1,6,    30:19;32:2;36:16;
autopsy (1)                59:13;65:3             bone (1)                   21;72:5,7,9;73:10,14; 38:7;41:1;43:18;45:4;
  53:15                  bear (2)                   53:16                    75:15,19;85:3,14,17;    46:5;47:10;50:6,14;
availability (1)           16:13;34:18            books (1)                  86:21;87:13,20;91:1,    51:3;52:24;53:2,2;
  64:2                   became (1)                 8:18                     4;94:2,5,7;95:3,5;      56:8,9;58:8,19;65:20;
Min-U-Script®                                     Ansley Court Reporting                                  (2) assessed - can
                                                      (404) 210-6977
   Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 31 of 104
TERESA POPE HOOKS, Individually, et al. vs.    The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
CHRISTOPHER BREWER, et al.                                                                                June 28, 2021
   66:2;69:19;70:14;       9:7;18:2               circumstance (1)         15:19,20;19:3;         100:25
   72:8;76:2;77:9;79:2, century (1)                  77:1                  28:17;39:2;41:17,24; consent (1)
   17;80:5;85:3;97:17;     50:24                  circumstances (2)        49:20;52:12;66:6;      15:24
   98:9,12;100:18;       certain (4)                 29:13;101:25          67:11                consider (4)
   102:19,22               26:23;28:19;64:24; Civil (2)                  comparability (1)        29:14,16;36:23;
 cancer (1)                81:16                     5:6;11:25             88:12                  37:23
   53:16                 certainly (29)           claim (1)              comparable (1)         considerably (3)
 candid (1)                20:10;22:11;28:7;         55:10                 66:22                  35:19,20;82:9
   58:9                    29:15,24;32:21,22; claims (1)                 compensation (13)      consideration (3)
 capabilities (1)          43:2,9;44:18;53:25;       11:16                 9:6,15;15:21,25;       37:22;60:21,24
   53:9                    55:6;56:24;57:21;      clarification (2)        18:19;21:2;38:8;     considered (1)
 capable (2)               59:18;60:14;63:21;        66:15,17              46:19;47:12;64:3;      33:15
   49:11;51:18             64:16,17;65:12;        clarified (1)            66:20;67:1;101:23    consortium (2)
 capacity (7)              71:16,22;72:2;74:8,       33:11               complain (1)             13:14,18
   9:18;19:25;44:7;        24;76:4;78:6;97:6; cleaning (1)                 20:19                construction (19)
   49:1;55:10;66:18,19     101:8                     81:2                complete (2)             15:11;19:3;28:17;
 car (1)                 cetera (4)               clear (3)                10:11;62:20            67:9,18;69:15;72:13,
   61:13                   18:1,1;36:22,22           37:8;61:1;89:5      completed (1)            17;74:19;76:9;78:13;
 care (5)                challenged (1)           cleared (1)              36:18                  95:24;99:13,14,17,21,
   12:19;21:20;55:18;      13:19                     42:5                completely (1)           25;101:10;102:5
   80:5;90:10            change (15)              clearly (3)              28:23                consultations (1)
 career (7)                7:20;23:24;25:6;          14:21;51:8;97:4     complex (1)              10:25
   6:17;41:3,19;44:1;      27:22,23;32:12;        client (1)               25:19                consulting (1)
   47:17;68:5;98:18        34:11;37:6;39:18;         20:18               complicated (1)          14:23
 carries (1)               40:6,10;48:14,15;      clients (3)              21:21                consumer (1)
   49:24                   53:12;56:21               22:24;100:12,13     complied (1)             79:10
 cars (1)                changed (7)              clock (1)                4:4                  consuming (1)
   54:9                    24:2,4,9;34:11;           20:13               component (7)            21:21
 case (43)                 49:8;64:21;81:3        closely (1)              12:24,25;13:8,18,    contemplated (1)
   14:2,16;17:20;18:1, changes (3)                   76:11                 25;14:7;77:4           46:6
   6,15,21;20:6,10,24;     65:4;75:13;76:25       Closing (1)            components (1)         contended (1)
   21:3,8,16,19,24;22:3, changing (1)                86:22                 13:12                  11:23
   7,13;27:10;45:5;46:8; 77:23                    cognizant (1)          compound (1)           context (3)
   47:24;48:19;51:23; character (1)                  39:11                 59:17                  12:7;57:1;80:19
   53:14;63:21;64:22,      93:8                   collect (1)            computer (1)           continue (2)
   23;66:23;74:22;       characteristic (1)          63:24                 23:19                  66:3;85:1
   75:23;77:9,19;81:7,     51:8                   collecting (1)         concealed (1)          continued (2)
   12;82:13;83:5,9;      characterization (1)        63:23                 55:11                  49:4;76:11
   98:15,20,24;100:21;     78:3                   collects (1)           conceive (1)           continues (1)
   101:1                 characterize (2)            51:22                 13:17                  55:23
 cases (16)                76:5;78:6              College (2)            concept (1)            continuing (3)
   10:8;12:6;14:18;      charge (5)                  9:17,23               12:23                  33:15;51:12;84:24
   17:24;36:2;41:2;42:6; 19:4,9,17;20:20;         combined (1)           conceptualization (1) contract (4)
   49:23;51:23;55:10;     21:13                   9:13                    87:10                   11:16;28:25;40:20;
   64:25;65:1,17;68:11; charging (1)            comfortable (2)         concerned (1)             66:8
   99:20;100:8            20:17                   70:1;77:21              12:4                  contracted (1)
categories (5)          chasm (1)               coming (3)              conclude (1)              42:3
   45:19;52:8,20,22,      92:17                   20:9;83:10,18           51:12                 contractor (2)
   23                   check (6)               comment (3)             concluded (1)             66:24;67:9
category (4)              16:9;24:9;59:13;        26:19;66:14;67:2        103:16                Contractors (1)
   52:15,23;56:22;        74:8,24;101:16        commentary (2)          concrete (1)              39:12
   72:21                child (4)                 89:15;92:11             49:25                 contribute (3)
causation (1)             79:25;80:8,17;        commerce (1)            confess (1)               48:6;82:10,11
   11:19                  90:10                   65:10                   73:25                 contributed (1)
cause (3)               childcare (6)           commitment (1)          confident (1)             47:21
   53:3,6;56:21           79:23;86:2;89:14,       9:19                    100:19                contributes (1)
caused (1)                17,19,23              common (1)              confirm (4)               80:23
   53:20                children (2)              40:23                   10:15;27:6;28:4,21    contributing (1)
causing (1)               80:14,15              communication (3)       confirming (1)            90:2
   64:4                 choose (1)                69:24;76:1;86:17        44:11                 contribution (9)
cell (2)                  49:13                 Comp (1)                connection (1)            48:3;82:12;83:5,11;
   7:23;8:24            chosen (3)                14:24                   7:23                    84:5;88:13,16;93:7;
Center (2)                36:25;38:5,5          company (11)            conscious (1)             97:1
Min-U-Script®                                  Ansley Court Reporting                          (3) cancer - contribution
                                                   (404) 210-6977
   Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 32 of 104
TERESA POPE HOOKS, Individually, et al. vs. The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
CHRISTOPHER BREWER, et al.                                                                              June 28, 2021
 convenience (1)         99:8;103:7,11         day (7)                  4:7;5:2,7;6:23;7:2, diploma (2)
   7:7                 cover (2)                 9:19;34:17;37:7;       16;10:5;15:2;19:14,    35:16,23
 conversation (16)       17:15;73:13             46:1,18;62:2;79:9      18;23:12;25:18;      direct (2)
   26:13;27:25;28:1,7, covered (1)             daycare (1)              29:20,25;33:3;39:25;   65:24;88:7
   10,11,13,14;29:17;    33:14                   80:2                   40:11;62:23;94:10, directly (2)
   33:1;38:12;39:24;   COVID (11)              dealing (2)              14,16,18,22;95:1       68:11;93:21
   58:1;75:20;86:22;     63:4,13,15,17,25;       64:11;82:12          Depositions (3)        disability (1)
   87:18                 64:12,14;65:10,12; dealt (1)                   6:18,20;29:23          53:4
 conversations (2)       68:1;77:1               11:15                depreciation (1)       disabled (1)
   37:9,10             created (2)             death (9)                97:3                   13:19
 convey (1)              23:13;75:2              17:20;36:7;43:12;    desperately (1)        discern (1)
   92:22               creating (1)              53:13;59:11;61:12;     90:17                  28:17
 cooked (1)              89:25                   88:22;93:9;102:1     detailed (1)           disclose (1)
   81:3                credibility (3)         debilitating (1)         50:11                  61:14
 copies (1)              58:2,14,16              53:2                 determination (1)      disclosure (1)
   62:17               criminal (1)            deceased (6)             38:8                   71:13
 copy (10)               60:9                    42:24;45:25;53:11; determine (7)            discount (11)
   10:8;17:16;23:16;   critical (1)              59:10;90:7;99:20       36:9;47:19;51:18;      77:4,4,12,13,14,14,
   26:16,16,17;27:7;     41:15                 decides (1)              56:25;58:20;76:3;      16,23;78:1;98:5,7
   30:13;34:2;71:11    current (11)              92:18                  89:2                 discover (1)
 core (1)                17:16;27:8;32:24;     decision (5)           determined (4)           53:15
   19:16                 34:7;35:11;38:23;       38:10;49:19,24;        12:21;36:24;79:18; discovered (1)
 coronary (1)            39:17;50:10;62:13;      52:8;100:25            100:24                 39:24
   10:20                 69:1,3                decisions (2)          determining (1)        discovery (1)
 coroner (1)           curriculum (2)            15:18;46:14            11:19                  5:3
   10:21                 8:12;16:22            decrease (1)           develop (1)            discretionary (2)
 corporate (1)         curtailed (1)             81:16                  9:20                   96:24;97:1
   11:15                 97:24                 decreased (1)          deviation (1)          discussed (1)
 corporation (4)       customers (1)             97:1                   19:17                  7:4
   18:17;74:11,16,18     65:24                 defendant (1)          devices (1)            discussing (2)
 correspondence (2)    cut (2)                   100:5                  16:10                  90:1;94:17
   20:23;70:11           15:19;48:14           defendants (1)         die (2)                discussion (6)
 cost (32)             CV (6)                    18:3                   13:20;53:20            7:12;25:11;26:3;
   12:19;79:21;80:23;    8:13,15;17:10,16,     Defendant's (5)        died (4)                 52:4;71:4;75:17
   81:5;83:1,15,19;      18;99:9                 17:6;23:7;25:14;       15:10;41:3;46:1;     diseases (1)
   84:12,14,18;85:5,6,                             31:16;103:12             67:22                      53:2
   22;86:1,6,25;87:5,22,            D            defense (1)              dies (3)                   disparages (1)
   24,25;89:8,17,18,19;                            100:13                   82:24;84:16;92:25          64:14
   91:7,8,20,23;92:1,5, daily (1)                defined (2)              difference (2)             dispense (1)
   15,19                  20:20                    79:3,4                   14:21;63:18                7:1
Counsel (10)            damages (2)              delays (1)               differences (2)            display (4)
  4:9;7:12;23:17;        11:16;49:3                8:4                      34:25;35:1                 30:19;31:4,5;95:4
  24:10,23;25:5;29:19; data (25)                 delete (1)               different (20)             distinct (1)
  37:10;51:22,24         35:22;37:2;49:9;          38:16                    6:14;11:18;12:22;      25:21
County (2)               51:10;63:18,20,21;      deliberation (1)           14:14,25;19:9,14;    District (6)
  98:2,13                64:14,17;65:1;75:6,       46:7                     24:5;26:23;33:25;      20:7;98:14,16,18,
couple (2)               22;80:16;81:6,14,17;    delivery (1)               34:4,4,9,17,22;45:16; 22;99:6
  82:15,22               82:7,7,15,17,18;84:4;     65:24                    77:25;82:2;90:24;    divide (1)
couple's (1)             87:4;96:1;101:15        demonstrated (1)           95:16                  79:8
  82:23                dataset (1)                 66:19                  differential (1)           Dixie (1)
course (5)               45:9                    demonstrates (1)           12:15                      31:19
  5:13;9:13;11:14;     date (7)                    13:3                   differentiate (1)          Doctor (16)
  79:23;80:16            20:18;23:15,21,22,      denied (2)                 13:3                       8:3;16:22;17:9;
court (42)               23;25:7;30:10             97:21;98:5             differentiated (2)           18:13;25:17,22;26:6;
  4:3,8,11,17,20;      dated (8)                 departure (2)              35:22;44:9                 34:18;50:23;52:7;
  7:13;8:6;16:24;17:1,   22:5;23:15;24:24;         45:11;51:7             differently (1)              53:16;55:8;59:3;
  11;22:25;23:3,10;      25:20;27:21;37:7;       dependent (1)              100:19                     62:10;71:9;103:6
  24:22;25:3,19;26:10,   65:6;69:20                51:20                  differs (1)                document (18)
  11;27:5,15;30:18,22; David (13)                depending (1)              47:15                      17:5,12;23:6,11,12;
  31:24;33:8,21;62:5;    32:16,19;33:16;           36:14                  difficult (1)                24:5,6,19,22;25:13;
  68:16;72:7;73:10;      46:10;61:3,12;66:11;    deposed (2)                44:17                      27:1,4;28:7;31:5,15;
  95:3;97:19,21,24;      67:14;69:15;81:1;         4:25;6:16              diminution (1)               32:11,15;103:12
  98:1,2,14,15,17,25;    82:20;93:4;99:14        deposition (24)            44:6                     documentation (1)
Min-U-Script®                                    Ansley Court Reporting                      (4) convenience - documentation
                                                     (404) 210-6977
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 33 of 104
                                          The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                          June 28, 2021
   48:1                                      effect (1)               39:3                  101:12
 documents (2)                  E               49:21               ends (1)              event (3)
   22:13;30:16                               Egypt (2)                94:8                  40:9;41:4;53:7
 dollar (3)          earlier (11)               9:12,12             enforcement  (2)      eventualities (1)
   18:25;84:11;93:15   17:10;26:14,17;       eight (8)                17:21,22              53:12
 dollars (4)           27:13;32:10,10,11;       9:15;21:14,18,23;   engaged (1)           everybody (1)
  20:22;34:13,13;        49:18;53:1;67:2,6        22:3,14;78:19;91:6       57:25                      4:16
  83:23                early (8)                either (15)              enjoying (1)               everyone (2)
done (15)                32:6;36:13;37:3;         11:20;13:16;14:12;       51:11                      47:9;64:5
  11:6,23,24;22:12;      41:3,5,11;65:9;66:6      28:1,21;34:15;37:1;    enormous (1)               Evidence (4)
  36:2;38:13,14;40:2; earn (1)                    49:6;52:13;69:17;        76:25                      5:7;13:2;15:9;45:6
  44:21;45:8,21;49:15; 55:3                       72:16,21;80:1,11;      enough (13)                exactly (2)
  90:8;99:11,16        earned (1)                 90:6                     13:5;16:3;27:3;        77:11;102:4
doubling (1)             48:16                  elapsed (1)                38:10;46:8;49:4;     EXAMINATION (1)
  22:14                earners (1)                65:21                    60:22;64:17;65:3,19;   5:20
down (12)                78:12                  element (2)                78:2,18;82:19        examined (1)
  13:6;18:11;20:1;     earning (9)                17:23;45:19            ensued (6)               4:25
  24:19;35:15;48:17;     36:3;44:6;49:1;        elements (1)               7:12;25:12;26:4;     examiner (1)
  50:7;66:6;74:21;75:9; 51:10;54:12;55:2,12;      91:6                     52:5;71:4;75:17        10:20
  79:9;98:3              63:2;66:18             elicit (1)               entered (1)                example (20)
downstairs (1)         earnings (3)               57:6                     43:4                       11:5;13:18;20:6;
  74:1                   18:25;55:10;97:4       eligibility (1)          entering (1)                 35:2;43:15;47:25;
downward (1)           ease (1)                   36:14                    83:10                      53:14;54:7;57:5,8;
  48:7                   67:11                  eligible (1)             enterprise (1)               65:5;76:12,19;86:1,2,
Dr (15)                easily (1)                 36:20                    42:12                      5;89:13;92:6;95:22;
  5:22,23;6:6,10;       6:16                    else (8)                 entire (1)                   98:12
  7:15;23:10;68:17;   Eastside (5)                13:21,22;28:10,12;       47:25                    exceed (2)
  70:3;71:2;75:20;      69:15;72:12,17;           40:17;44:15;64:5;      entitled (1)                 6:20;15:20
  84:20;86:10,23;94:8; 74:18;101:9                68:13                    48:8                     exceeded (3)
  103:2               eat (1)                   else's (1)               equally (1)                  21:13,23;22:3
drawing (2)             20:16                     88:16                    78:13                    except (1)
  57:8;78:18          ebb (1)                   email (1)                espionage (1)                5:9
drawn (2)               102:19                    8:24                     44:16                    excess (2)
  73:20;94:25         Economic (42)             employ (1)               essentially (2)              6:16;21:14
drew (1)                9:7;11:5;12:13,16,        41:6                     10:10;99:18              exclusively (2)
  94:21                 16,23,24;13:2,4,7,12,   employability (1)        estimate (10)                68:19;94:13
drive (1)               17,23;14:5,6,9;15:18;     50:12                    12:19;22:1,6;35:18;      Excuse (3)
  20:8                  18:7;34:3,6;35:2;       employed (4)               36:5,5;37:15;55:3;         6:3;32:5;81:21
driven (1)              36:25;42:11;44:1,6;       51:16;67:4;68:12;        98:9;100:4               exercise (5)
  100:14                47:4;49:13;53:19;         100:23                 estimated (5)                10:24;36:25;47:9,
driver (1)              54:12;57:4;63:2,18,     employee (16)              11:10,22,23;12:11;         10;63:1
  49:8                  24;65:8;68:6;84:23;     28:16,20,21,22,25;         50:11                    exercising (1)
drop (1)                88:6,22;93:5;100:11;    29:9,10;38:21;39:1,4, estimates (3)                   54:25
  28:23                 101:5,5                 12,12;40:19,23;          44:19;45:7;76:10           Exhibit (35)
dropped (1)           economically (2)          58:14;66:24           estimating (1)                  4:6;16:23;17:1,6;
  64:25                 29:13;38:3            employer (5)               11:4                         23:2,3,7,11;25:3,14,
drug (2)               economics (8)            12:3,3;39:4;51:4;     et (4)                          18,25;27:4;30:13;
  44:5,16                9:25;10:17,24;11:1,    58:12                    17:25;18:1;36:22,            31:2,8,16,21,22;
drugs (2)                4;24:16;97:18;100:15 employers (2)              22                           33:10,11,25;34:1;
  43:25;44:2           economist (10)           29:23;67:6            evaluate (5)                    50:4,7,9;62:13,16;
Dublin (6)               15:13;19:25;23:25; employment (16)              12:9;48:19;63:5;             63:12;68:19,20,22;
  20:7,9,12;32:25;       36:1,9;42:2;51:18;     9:23;35:18,24;           67:6;68:5                    75:25;95:4;103:12
  98:20;99:2             52:1;79:16;90:24       38:18;47:25;51:8,12; evaluated (3)                  exist (2)
due (9)                economists (3)           52:12;54:7;55:2;         15:6,8;83:12                 93:6;101:8
  11:16;12:1;34:11;      45:10;64:4,10          64:14;67:7;75:13;     evaluating  (4)               exists (1)
  50:23;58:24;68:8;    economy (3)              101:23;102:1,19          12:7;13:8;14:9;              92:23
  88:22;90:11,16         65:13,13;100:1       encompassing (1)           48:2                       expect (2)
duly (1)               edify (1)                43:21                 evaluation  (6)                 22:18;50:19
  4:24                   52:13                end (8)                    14:6;15:15;40:5;           expectancy (3)
during (3)             Education (3)            26:15;78:7;90:1;         54:11;57:10;93:15            83:7;84:6,9
  10:15;37:4;102:7       9:8;35:16;64:24        92:11;97:11;100:9, even (8)                         expenses (2)
                       educational (2)          10,10                    8:4;34:16;47:11;             18:18,19
                         8:15;79:11           ended (1)                  64:1;65:6;77:6;100:3;      experience (8)
Min-U-Script®                                   Ansley Court Reporting                           (5) documents - experience
                                                    (404) 210-6977
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 34 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                         June 28, 2021
   18:4;50:14,25;     98:4                     55:19;72:23         fore (1)                15:25;19:24
   51:24;52:15,17; Fair (10)                files (1)                15:12               fundamental (1)
   92:24;97:17        13:5;16:3;27:3;          73:22               forensics (1)           41:4
 experienced (1)      38:10;46:8;49:4;      financial (1)            11:6                funds (1)
   14:5               60:22;78:2,18;82:19      18:25               form (9)                12:21
 experiences (1)   fairly (1)               find (12)                5:10;32:23;53:21;   furloughed (1)
  102:19                  37:21                   24:10;39:18;54:7;     54:14;55:22;83:25;        66:9
Expert (20)             fallen (1)                58:8;64:18,23;65:18; 87:8,15;89:25            further (4)
  7:4;9:24;10:16;        37:15                    66:25;67:1;73:22;   formalities (2)             29:12;57:5,8;92:16
  11:1,6;19:22;24:15; falls (1)                   74:21;80:1            7:1,9                   future (14)
  27:9;31:9;52:1;60:6;   77:17                  finds (1)                formality (1)            11:10;12:11;41:6,6,
  85:24;87:21;90:14; familiar (1)                 90:10                    17:4                   22;45:21,24;53:8;
  95:7;97:18;98:17;      51:23                  finish (4)               format (1)               54:12;63:18;65:10;
  100:4,11,20          familiarity (1)            19:12;27:11;59:3,3       86:18                  76:10;101:21;102:11
expertise (5)            17:18                  finished (2)             forms (1)
  10:19,24;12:8;13:7; family (2)                  61:11;97:8               56:18                             G
  40:8                   32:16,19               finishes (1)             formulate (1)
experts (1)             famous (1)                59:19                    63:11                Gardner's (1)
  51:17                   98:3                  firm (2)                 formulating (2)          43:3
explain (2)             far (6)                   41:7;43:10               40:24;75:24          gathered (1)
  43:22;80:11             8:9;12:3;15:20;       first (8)                formulation (1)          60:25
explanation (4)           51:22;60:23;91:21       4:24;5:12;18:5,6;        62:11                gave (12)
  71:9;74:9;78:3;       farmers (1)               61:16;73:12;96:20;     forth (6)                10:4,9;11:13;28:24;
  80:10                   14:16                   101:19                   11:11;31:11;36:8;      35:24;58:5;86:1;
explicitly (1)          fashion (1)             five (16)                  64:15;79:11;89:16      89:13,15;90:15;
  74:6                    11:13                   6:12,24;21:17;       forward (7)                91:16;92:14
expound (1)             February (1)              29:17;43:8,12;76:16; 8:20;12:6;21:12;         GDLO (1)
  73:18                   10:10                   77:5,8,9,13,25;95:6;   68:18;92:25;98:8;        87:4
extensive (1)           Federal (7)               98:4,6;102:24          101:18                 GED (4)
  6:25                    5:5,6;29:3;72:16;     five-minute (1)          found (4)                35:17,18,22;38:1
extent (14)               98:1,14,17              58:1                     8:3;43:24;54:10;     gee (1)
  10:16;13:11;18:14, fee (7)                    flabbergasted (1)          101:15                 101:2
  15;19:21;27:3,13,18;    23:1,12,20,23;          64:6                   foundations (1)        general (17)
  54:20;68:1;76:16;       24:15;32:9,11         flew (1)                   57:18                  11:3;15:23;18:13;
  78:2;97:2;101:8      feedback (1)               9:12                   four (12)                40:11;41:15;62:11;
                          16:6                  floor (1)                  27:6;29:17;31:25;      67:17,18;76:9;80:20,
              F         feel (2)                  49:20                    32:1;35:24;53:16;      22;84:12;86:8,15,16;
                          77:21;100:19          floral (1)                 69:6;72:21;75:12;      100:1;102:18
face (1)                fees (1)                  52:19                    76:8,12;102:23       generalization (1)
  58:3                    32:11                 flow (1)                 four-page (1)            81:4
facetious (1)           felt (1)                  102:19                   27:4                 generalize (1)
  16:9                    28:20                 fluctuate (1)            FRANCIS (2)              11:9
facets (1)              females (3)               65:7                     4:23;5:2             generally (5)
  19:14                   82:2,9,11             fluctuations (1)         free (3)                 15:13;21:11;41:18;
fact (20)               ferret (1)                42:13                    91:23;92:4,15          52:7;91:8
  11:19;12:2;26:22,       30:5                  flying (2)               fringe (11)            generate (1)
  23;32:4;34:11;37:14; few (3)                    20:1;60:18               12:17;28:19;33:18;     12:11
  38:16;40:8,16;42:1;     8:19;11:24;65:21      focus (2)                  38:15,17,19;39:5,20; generated (4)
  43:18;45:24;58:4;    fewer (2)                  34:19;79:19              40:15;51:10;88:19      40:18;88:5,25;89:1
  59:9;64:10;73:20;       37:2,3                focused (2)              fringes (2)            generating (4)
  77:12;82:8;90:6      field (12)                 99:19,24                 28:22;29:3             12:10;13:12;40:17;
fact-finder (1)           9:25;10:17,23;11:1;   follow (1)               front (6)                101:24
  46:23                   42:21;44:18;45:18;      76:6                     7:10;26:16;30:13;    Georgia (17)
factor (1)                66:3;67:5;76:22;      followed (3)               61:6;70:3;71:9         5:5;9:2,5,11,18,20;
  44:11                   85:20;99:13             45:1;46:11;75:6        fulfilling (1)           20:7,9;31:20;32:13,
factors (9)             fields (1)              following (1)              64:9                   25;72:16;77:6;79:14;
  11:5;14:24;42:11,       10:22                   66:17                  full (4)                 98:14,16,18
  12;47:4;50:13;65:8;   figure (2)              follows (1)                13:1,4;88:18,21      gets (2)
  93:13;102:20            83:18,23                4:25                   full-time (2)            13:14;90:9
facts (6)               figures (4)             food (2)                   29:14;38:21          given (16)
  39:4;46:1;55:5;         63:16;95:20;97:15;      65:23;78:14            fully (2)                6:24;7:19;8:12;
  73:15;101:1,3           102:10                football (1)               27:24;80:10            11:2,9;17:19;18:4,14;
failed (1)              file (2)                  43:17                  functions (2)            29:25;40:8,21;60:11;
Min-U-Script®                                   Ansley Court Reporting                           (6) experienced - given
                                                    (404) 210-6977
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 35 of 104
                                          The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                           June 28, 2021
   67:10;70:23;79:24; habitual (1)             84:13,17;86:7;87:5, hourly (14)               67:6
   100:20               43:25                  24;88:1,10;89:13,17;   19:8,9,22,24;20:5;   impact (28)
 gives (3)            half (3)                 91:9;92:19             77:3;78:5,6,7,12;      40:12,16;43:25;
   50:10;77:13;80:5     19:20;95:12;96:18    hired (1)                79:12;81:11;87:1,2     52:8,13,17;53:8,18;
 giving (3)           hands (1)                89:10                hours (17)               54:11,25;55:6;57:10;
   19:5;46:9;93:5       64:4                 hiring (3)               19:18;20:18;21:15,     58:19,25;61:14;63:3,
 globally (1)         handsome (1)             29:14;89:16;92:19      18,23;22:3,15,15,19,   12;65:10,25;66:10;
   23:17                37:21                historian (1)            19;79:12;81:12,13,     67:3;68:1;82:25;
 goes (5)             Hang (4)                 58:9                   16;82:8;83:14;86:25    93:15,17;99:25;
   51:17;77:16;78:20,   30:23;35:7;69:22,    historic (1)           house (1)                101:5,7
   23;89:14             22                     51:24                  20:11                impacted (4)
 good (6)             happen (2)             historical (2)         household (41)           47:14;64:13;95:19,
  7:23;10:6,6;23:25;        53:15;64:11            37:24;79:2                12:18;13:10;34:3;          24
  43:3;58:12              happened (1)           historically (2)            78:19,21,22,23,25;      impacts (5)
government (2)              46:1                   36:8;77:8                 79:1,10,17,20;80:2,9,      63:22;65:12,15,16;
  29:3;63:23              happy (1)              history (2)                 13,23;81:4,14,19;          91:13
gradually (1)               90:22                  36:22;47:25               82:3,5,6,10,11,25;      imply (1)
  64:9                    hard (2)               hit (1)                     83:10;84:5;86:4;87:3,      34:20
Graham (32)                 42:24;89:6             49:7                      23;88:20;89:19;90:2;    implying (1)
  15:11;19:2,2;28:1,      hardly (1)             hold (9)                    91:18,19,20;92:1,23;       73:4
  17;29:19;33:2,12;         37:20                  5:25;6:2,4;60:3,3;        93:7,19,20              important (3)
  38:12;39:12,25;         hardware (1)             69:20;81:23;84:19,20 households (2)                  8:5;41:1;99:22
  40:11;41:23;42:8,17;      34:25                holds (1)                  79:7,8                   impossible (1)
  43:8;50:10,20;58:2,8,   Hartsfield (1)           67:2                   housekeeping (3)              44:17
  15;59:7,14;66:5;67:4;     20:9                 home (1)                   24:20;28:9;62:12         inaccurate (1)
  75:13;76:8;95:24;       hate (1)                 31:19                  housework (1)                 73:18
  100:17,24;102:12,16       63:7                 honest (2)                 31:7                     inadvertently (1)
Graham's (3)              head (1)                 22:8;61:5              human (1)                     74:23
  50:18;52:12;62:23         13:10                Honors (3)                 64:1                     inappropriate (1)
grammar (1)               heading (2)              9:17,20,22             hundred (3)                   12:3
  99:11                     23:12;100:2          Hooks (46)                 6:21;20:22;36:10         Inaudible (3)
grandma (1)               health (4)               15:7,8;28:16;29:7; husband (2)                       8:17;18:23;29:11
  92:18                     39:20;42:21;43:19;     32:16,19;33:16;          83:1;90:9                incarcerated (1)
grasp (1)                   53:1                   39:10;40:15;42:9,19; hypothetical (1)                68:12
  48:25                   hear (2)                 43:6;44:15,24,25;        58:17                    incarceration (1)
great (4)                   4:16,18                46:10;50:12;54:3;                                    68:8
  4:20;29:15;58:14,       heard (2)                59:10;61:3,12;66:11;               I              include (8)
  16                        61:16;63:10            67:5,7,14;69:15,16;                                  14:7;32:24;42:11;
greater (2)               held (2)                 72:13;78:7;80:15;      identical (2)                 45:19;60:8;72:12,24;
  36:10;45:7                15:17;29:2             82:20;83:5;84:4,7;       34:10,16                    80:17
grocery (2)               help (4)                 88:1,8,9,24;92:7;93:4, identification (6)         included (4)
  80:21;93:24               7:25;9:20;47:19;       10,12;95:10;99:14;       17:7;23:8;25:15;            68:7;73:5;74:7;
gross (2)                   89:2                   100:23;101:10            31:10,17;103:13             78:3
  55:24;74:20             helpful (1)            Hooks' (11)              identified (5)             includes (1)
ground (1)                  48:25                  43:11;64:13;65:7;         40:9;54:21;55:4;           68:3
  49:20                   helps (1)                67:19;83:11;88:13,        66:19;75:10             including (2)
growth (1)                  7:18                   22;93:3,7;94:10;       identifies (1)                62:22;76:2
  78:3                    herein (1)               101:19                    18:24                   income (35)
GSU (1)                     4:24                 hope (1)                 identify (4)                  11:10;12:17;13:12;
  9:23                    Here's (1)               71:22                     50:14;94:21,25;            36:3;37:4,21;40:18;
guess (7)                   71:1                 hopefully (1)               100:18                     41:22;54:6;55:11,15,
  18:4;29:1,19;43:21;     high (6)                 66:25                  identifying (2)               16,20;56:17;57:8,10;
  59:25;79:14;102:2         35:15,23;44:17;      hopes (2)                   30:11;76:17                63:5;64:16,24,24;
guidance (1)                59:11;100:9,10         7:18;49:19             illegal (6)                   65:8;66:1,10;73:6;
  15:23                   higher (1)             hoping (1)                  43:25;44:16;57:9,          76:10,13;77:3;93:7;
guy (7)                     64:25                  101:3                     21;60:13,15                94:21;95:15;96:24;
  49:24;53:17;55:17; highest (1)                 hopper (1)               illicit (1)                   97:2;101:19;102:11,
  58:10;61:4;66:11,21  97:4                        101:20                    44:2                       14
guy's (1)                 highly (2)             hotel (1)                illness (1)                incomplete (1)
  98:2                      16:7;44:9              20:11                     36:7                       73:18
                          himself (3)            hour (8)                 illusion (1)               incorporate (1)
            H               36:25;43:6;89:3        19:16,20,20;20:13;    76:7                           68:8
                          hire (11)                61:25;83:15,20;87:1 image (1)                     incorporation (1)
Min-U-Script®                                    Ansley Court Reporting                              (7) gives - incorporation
                                                     (404) 210-6977
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 36 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                       June 28, 2021
  63:3                      24:3                   45:21;47:17;49:6;      94:9                    93:24
increase (3)              initial (2)              54:12;55:16;60:20, June (9)                 lead (2)
  78:11,11;81:15            21:19;53:6             23;64:18;67:12;68:9; 10:2,4;24:24;25:7;        50:14;51:12
increases (1)             initially (1)            79:10;80:2;81:25;      26:24,25;27:21;30:1; leaning (1)
  81:14                     22:5                   89:10,15;91:12;        37:7                    7:17
increasingly (1)          injured (2)              92:16;101:20;102:14 juries (1)              least (13)
  79:4                      53:3;99:21          introduced (1)            80:10                   10:7;11:23;15:23;
incur (1)                 injury (2)               56:20               jury (8)                   17:15;21:17;22:15;
  84:18                     12:5;51:15          intruders (1)             38:7,9;44:23;45:16;     36:23;37:22;38:6;
incurred (1)              inquiry (1)              17:25                  46:6;49:2,3;102:9       42:5;45:11;65:25;
  92:19                     40:23               investigating (2)      justifiable (1)            98:22
incurs (1)                inside (1)               61:19,20               13:2                 leave (1)
  92:2                      23:19               invoice (2)                                       27:15
indeed (1)                insights (1)             21:4;32:6                      K            leaves (1)
  39:7                      94:17               invoices (1)                                      38:7
independent (2)           insignificant (2)        21:5                Kelly (2)               Leaving (2)
  14:12,17                  96:10,12            involved (3)              30:23;31:5              52:15;100:16
independently (1)         instance (2)             14:14;22:15;44:15   key (2)                 led (1)
  15:5                      20:1;39:19          involving (1)             40:15;63:7              76:3
indicated (1)             instruction (1)          17:20               kind (10)               left (1)
  101:14                    85:19               isolation (2)             8:16;29:9;39:21,21;     20:11
indication (2)            insurance (1)            91:5;93:6              50:1;54:18;63:22;    legal (2)
  43:10;74:15               39:20               issue (2)                 68:2;74:9;86:18         11:20;79:15
indicator (1)             intellectual (1)         51:14;55:9          kinds (5)               legally (1)
  15:14                     11:16               issued (1)                11:17;20:2;53:5;        29:3
indicators (1)            intended (1)             27:24                  57:23;65:2           length (1)
  41:12                     27:25               issues (6)             kite (1)                   56:16
individual (18)           intends (1)              11:15;18:18;29:4;      60:19                less (16)
  11:11,21;12:13,20;        62:1                   42:20;73:6;93:5     knew (1)                   35:19,19,20;41:15;
  13:20;14:5,14;18:8;     intent (1)            item (3)                  101:2                   43:10;82:9;96:4,6,8,9,
  36:3;42:6;44:23;          43:2                   62:12;89:19;92:23   knowing (1)                11,13,15,15,16,17
  45:20;48:3;59:10;       intentions (1)        items (1)                 97:4                 letter (5)
  60:8;68:12;78:23;         43:11                  18:23               knowledge (2)              69:20;70:3;71:10,
  96:25                   interaction (2)       iteration (2)             73:19;99:19             11,13
individuals (7)         17:21,22                   26:14,17            known (1)               level (4)
  17:24;43:5;51:16;   interactive (1)                                     96:24                   45:15;49:13;65:1;
  53:2,10;55:11;65:16   47:18                               J          Kroger (1)                 67:1
individual's (3)          interest (1)                                    18:2                 levels (1)
  12:8;15:15;53:8           42:21               James (9)                                         64:25
industrious (1)           interested (2)           28:1;33:2,12;38:12;             L           liar (1)
  61:4                      40:14;48:23            40:11;50:10;58:1,8;                            31:3
industry (7)              interesting (2)          100:17              Labor (2)               lie (1)
  41:7;65:24;78:14;         29:21;54:18         Jim (1)                   79:5;82:17              60:10
  99:17,21,22;102:5       internet (2)             43:3                lack (2)                life (23)
industry-wide (1)           7:22;16:8           job (5)                   12:12;45:19             11:5;12:8,13,19,22;
  78:16                   interpose (1)            43:3;50:1;66:22;    laid (1)                   13:1,4;14:6,10;18:7;
inflation (4)               71:15                  68:13;88:1             66:8                    21:20;47:21;48:3;
  76:19,24;77:2,13        interpretation (1)    jobs (5)               last (13)                  49:23;50:11;68:6;
influenced (2)              79:15                  64:2,2,3,7,10          6:24;8:13;10:4,9,       75:11;76:11;83:7;
  37:14;38:12             interrupted (2)       join (1)                  15;11:1,24;15:12,16;    84:6,8,22;85:12
information (50)            14:11;43:12            15:19                  24:23;33:13;66:7;    lifestyle (5)
  10:12;38:7;41:14,       interrupting (1)      joint (1)                 102:1                   42:21;43:15,16,19,
  19,25;43:5;44:14,25;      87:16                  9:11                late (1)                   22
  45:4;46:2,7;50:11,22;   interview (1)         joy (1)                   67:19                liked (1)
  51:1,20,21;52:1,8,16;     100:17                 31:13               later (4)                  52:19
  53:18;54:5,10;55:14,    interviewing (1)      judge (6)                 30:12;37:1;49:20;    likelihood (2)
  17;56:18,20;57:11,16,     32:25                  97:25;98:3,24,24;      82:24                   51:13,15
  17,23;58:22;60:7,11,    interviews (1)           99:7,8              law (4)                 likely (5)
  12,15,17,25;62:11;        79:7                July (2)                  5:5;17:21,22;           15:16,16;22:16;
  63:24;70:23;72:24;      into (29)                9:4;97:14              100:14                  46:10;53:9
  75:9;76:1,3,4;95:12,      13:15;14:19,19;     jumbo (1)                lawn (9)                Likewise (2)
  23;100:16,18;101:15       35:16;42:16,20;       63:10                    55:18;80:22;81:2;       54:5;67:25
informed (1)                43:14;44:8,12,18;   jump (1)                   84:13,14,17;86:5,7;   limb (1)
Min-U-Script®                                   Ansley Court Reporting                                (8) increase - limb
                                                    (404) 210-6977
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 37 of 104
TERESA POPE HOOKS, Individually, et al. vs. The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
CHRISTOPHER BREWER, et al.                                                                            June 28, 2021
    52:10                27:12;77:15;96:24     manifested (2)         meaning (2)           Mitch (1)
 limit (1)            loose (1)                  15:16;44:6             21:22;73:12           71:12
    34:20                94:8                  manner (1)             means (6)             moment (4)
 limited (5)          loss (22)                  12:2                   28:25;84:12;87:4,     18:15;56:16;63:7;
    13:7;41:23;62:23;    12:17,17,18;13:14, many (12)                   11,12,23              84:21
    89:8;97:23           18;28:23;34:2;35:2;     8:20;12:6;14:17;     meant (2)             money (7)
 limiting (1)            46:16;49:1;55:10;       20:1;22:23;44:7;64:6, 24:25;97:11            50:2;54:9,10,21;
    99:6                 64:22;66:18;74:12;      7;67:20;80:6;98:9,17 measure (1)             65:17,19;102:23
 line (3)                81:18;84:23;87:7;     marital (1)              51:21               months (3)
    29:5;55:1;84:25      88:18,19,19;90:5;       92:24                measured (1)            29:8;41:23;79:24
 lines (1)               97:15                 marked (15)              84:22               more (30)
    71:18             losses (13)                4:7;17:6;23:7,11,    measuring (2)           6:12;8:4;15:3;
 list (2)                11:22;19:1;34:3,6;      11;25:14,17,25;        80:12;84:4            19:20;21:20;22:16,
    10:8;27:20           39:6;54:24;57:4;        30:12;31:15,21,22; mechanics (1)             16;25:4,19;29:17;
 litigated (1)           64:13;67:19,20;         78:10,11;103:12        7:16                  33:15;34:25;35:21,
    53:7                 85:11;88:22;90:8      m-a-r-k-e-d (1)        medical (3)             21;41:19;46:10;
 litigation (1)       lost (3)                   78:11                  10:20,21;12:6         50:10;51:22;52:25;
    11:3                 12:1;38:20;81:18      market (9)             members (1)             53:9,10,10,17;61:24;
 little (12)          lot (5)                    42:5,13;66:19;67:8,    79:22                 65:17;76:11;80:22;
    8:3;13:6;16:6;       14:20;63:18,19;         9;89:2,10;91:9,21    men (1)                 98:19;100:19;101:25
    25:19;30:18;31:7;    66:2;77:2             marketplace (1)          82:10               morning (2)
    43:10;63:20;64:5; lots (4)                   54:22                met (4)                 22:7;28:2
    65:10;80:11;94:9     52:22;65:15,15,17     market's (1)             6:11;32:21,22,22    most (21)
 live (3)             louder (1)                 15:15                micro (1)               7:1;8:17;14:16;
    49:11,11;53:17       7:20                  married (1)              9:13                  15:16,16;21:18;34:5;
 lived (6)            low (1)                    82:23                Middle (2)              35:14;36:17;45:10;
    32:13;36:24;83:6,    100:9                 materials (10)           20:7;98:14            48:25;51:23,24;
    13;84:6;88:2      lower (6)                  27:19,19,21,22;      midlife (1)             57:22;63:20;64:10;
 living (1)              24:5;49:19;77:3;        33:10,12;62:22;        52:25                 67:19;77:15;79:22;
    84:8                 78:5,5,7                69:10,14;73:5        might (36)              96:25;100:12
 LLC (1)              low-wage (1)             matter (2)               14:7,15;15:1;22:11; mostly (1)
   14:13                  78:12                    93:13;103:16              28:19;29:4;31:6;39:7, 6:13
location (1)                                     maximum (6)                 19;40:12,19;41:21; mother (7)
   4:12                             M              20:20;36:20;46:19;        43:22;45:5,15;46:3,4, 79:23,25;80:5,5;
long (7)                                           47:6,20,20                6;48:8;49:18;50:14,   89:14,16,22
   9:16;17:13;29:18;    macro (1)                may (42)                    19;51:9,11;52:8,17; mothers (1)
   38:14;67:24;80:10;     9:14                     5:23,23,24;7:9,20;        53:18;54:12;55:20;    80:6
   98:21                Madam (10)                 11:21,21;12:15,18,23;     56:19,21,22;57:9;    motivated (1)
longer (7)                16:24;22:25;25:3;        15:21;16:11;19:1;         58:19;94:18;97:1      33:18
   8:18;37:23;41:19;      30:17;33:8,21;68:16;     20:25;21:15;23:15,      mileposts (1)          motive (1)
   53:4;81:23;91:19;      72:7;73:10;95:3          16,22;24:5;28:2;          47:3                   60:10
   100:23               Madison (2)                31:11;36:25;44:9;       millions (1)           mouth (1)
longevity (1)             31:20;32:13              50:12;53:24;54:17;        65:14                  78:4
   44:1                 main (1)                   57:14;61:9;63:25;       mind (4)               move (3)
look (24)               12:5                       66:14,16,25;70:19;        8:6;28:8;68:11;        48:7;91:1;92:10
  10:9;14:8;20:14;     makes (2)                   77:24;78:24;79:3;         101:11               moved (1)
  22:14;24:8,11;41:14; 46:15;102:22                84:21;94:17;96:25;      minds (1)                9:9
  47:25;48:20;51:9,19; making (10)                 98:20;99:5;100:14         7:24                 mow (2)
  54:7;55:7;56:25;      25:18;29:24;33:15; maybe (10)                      mine (1)                 84:14;86:7
  69:11;72:14;77:12;    54:9,11,20,21;56:19;  9:16,16;11:25;                 40:6                 mowed (4)
  79:13;85:25;86:3;     67:16;78:7            14:13;22:23,23;              minimum (4)              80:21;81:1;86:5;
  87:5,23;89:18;96:21 male (5)                30:21;37:17;61:24;             19:17;22:15;49:11;     93:24
looked (2)              81:10;82:1,12;        65:9                           97:7                 mowing (1)
  36:1;39:16            83:10;86:4           MBA (2)                       minute (3)               84:13
looking (24)           male/female (1)        9:10,14                        37:17;69:22,22       Mrs (5)
  14:6;15:1;27:4;       82:7                 meal (1)                      minutes (2)              80:14;84:7;88:23;
  30:16,21;32:15;34:6; males (6)              65:19                          21:23;29:18            93:10;101:10
  35:4;41:13,17;44:24; 37:25;81:9,10;82:2, mean (15)                       misconduct (1)         much (10)
  49:16;50:9,9;68:19;   9;84:5                10:20;20:15;21:5;              51:6                   21:20;22:10;45:4;
  75:2;77:23;79:1;     malpractice (1)        22:9;38:2;42:25;             missed (2)               51:25;54:10;56:19;
  82:19;89:23;93:24;    12:6                  46:25;47:18;48:9;              63:8;72:3              82:11;87:13;89:20;
  97:6,8,10            mandatory (1)          50:16;53:12;60:7;            misunderstood (1)        101:24
looks (3)               77:7                  65:12;78:11;88:10              82:21                multiply (1)
Min-U-Script®                                    Ansley Court Reporting                                (9) limit - multiply
                                                     (404) 210-6977
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 38 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                         June 28, 2021
  59:17               73:17                   79:7                    7:11               order (3)
 mumbo (1)          nobody (1)                                     often (2)               12:20;28:22;38:19
  63:10               88:7                             O              12:5;100:4         original (2)
 must (4)           nominal (1)                                    old (3)                 35:21;37:13
  14:23;46:2;73:25;   77:14                 o0o (1)                   49:25;53:5;79:24   otherwise (4)
  80:3              non-compensated (1)       103:17               older (1)               24:6,14;48:8;84:25
 mutual (1)           9:19                  Object (6)                81:13              out (28)
  15:24             None (5)                  53:21;59:16,16;      once (5)                23:20;24:10;31:3;
 mutually (1)         4:15;14:2,3;44:24;      85:1;87:8;89:6          13:15;16:7;57:16;    32:12;38:6,19;43:24;
  78:24               98:11                 objection (16)            97:25;98:7           47:19;52:10;54:1,8,
 myself (1)         non-economist (1)         4:13;54:14;55:22;    one (81)                10;58:8;64:23;65:15,
  31:3                    87:4                     56:6,7,15;57:6,12,13;     7:15;8:3;11:19,25;        20,21;67:23;73:22;
                       non-household (1)           60:5;71:15;83:25;         12:2;13:14;14:13,16;      74:8,21,25;81:20;
             N            79:22                    85:4,18;87:15,21          15:23;18:1,22;25:5;       88:9;89:10;91:8;
                       nonresponsive (1)         objections (3)              26:22,24;27:6,8;          94:16;101:15
name (2)                  92:9                     4:11;5:9,17               28:12;29:4,22;30:25;    outcome (3)
  6:10;98:2            non-responsive (1)        objective (1)               31:1;33:7,17,25;34:6,     37:25;46:5,15
nanny (3)                 89:6                     41:10                     7,7;35:5,16,17;36:12,   Outside (6)
  92:18,19,19          nor (4)                   obstruction (1)             16,19;37:1;38:4,5,9;      9:22;11:3;54:21;
nationally (1)            34:20;47:25;48:20;       85:18                     39:3;40:13,13,16;         57:22,22;93:23
  82:16                   57:25                  obtains (1)                 41:2,11;42:1;45:1,6,    outstanding (1)
natural (1)            normal (1)                  75:13                     7;46:11,11,15,23;         29:10
  84:6                    60:16                  obvious (1)                 49:5;52:23;53:25,25;    over (21)
nature (8)             normally (3)                92:10                     59:20;62:16;63:8,17;      6:11,13,17,20;7:19;
  12:16;14:15,20;         17:24;51:17;64:8       Obviously (10)              64:20,20,22;66:18;        11:13,24;14:18;
  18:2;49:1;58:22;     notary (1)                  19:4;24:9;39:5;           67:11;68:11,23;69:3,      22:13;23:24;47:17,
  80:20;102:2             7:10                     40:1;41:9;47:6,9;         16;73:17;74:22;           21;48:3;50:24;65:2;
necessarily (3)        noted (2)                   73:20;92:14;100:22        76:25;77:1;79:2,19,       74:20;81:22;90:16;
  44:5;51:11;66:21        56:7,7                 occasion (3)                19,22;82:24;96:22;        98:10,18;102:19
necessary (1)          notes (1)                   68:5;77:1;98:23           98:20,23;102:23         overnight (1)
  80:7                    75:9                   occasions (3)             one-on-one (1)              20:2
necessity (1)          notice (2)                  9:10;11:15;23:20          28:13                   overwhelmingly (1)
  37:4                    31:19;33:25            occupation (2)            ongoing (2)                 100:7
need (13)              noticed (1)                 53:5;55:3                 42:12;59:13             own (7)
  7:20;8:7;12:21;        69:16                   occupations (1)           Only (20)                12:9;14:23,23;
  31:12;41:9;42:13;    notion (2)                  87:2                      10:18;14:13;19:17;     17:18;49:18;61:13;
  52:9;62:4;71:6;73:18; 53:6;80:8                occur (5)                   21:2,2;35:11,24;43:1; 90:3
  77:22;81:23;103:7    notions (1)                 52:25;53:6;58:18,         45:3,6,14;63:8,9;    owned (4)
needed (3)               64:1                      19,23                     79:19;80:4;82:12;      12:9;14:7;15:5;
  12:20;28:20;39:5     November (11)             occurred (4)                83:4;84:3;88:18;       61:14
negative (1)             25:20;26:14;28:15;        37:11;45:5;46:4;          101:11               owner (1)
  73:21                  30:6,7,9,10,24;31:22;     53:8                    operations (1)           18:16
negatives (1)            35:11;62:16             occurrences (1)             66:6                 ownership (1)
  75:11                number (44)                 36:7                    opinion (7)              41:17
negotiated (1)           6:20;11:14;16:23,       OCGA (1)                    18:7;27:2;58:5,5,6;
  9:6                    25;17:6;22:10;23:2,7,     4:5                       76:20;93:17                    P
net (4)                  11,24;25:14;30:13;      off (25)                  opinions (16)
  74:12,19;75:10;        31:16,22;34:8,9;35:3,     16:5,10,14;20:17;         15:3,4;18:14;32:23;     page (15)
  97:15                  18;37:12;41:2;46:20;      25:10;26:1,4,13;          40:24;50:20;62:12;        27:6,6,15;30:16;
nevertheless (1)         48:5,14,15,15,18;         37:16;47:11;48:14;        67:8;75:7,24;93:4;        32:9;33:7,22;34:1;
  18:24                  51:7;73:17,17,23;         52:3,5;60:19;62:10;       94:25;100:20,21;          68:21;69:6;72:8;
new (8)                  74:22,23;76:3,8,12;       63:25,25;71:3,4;          102:9,10                  73:11,12;78:20;95:4
  35:3;37:20;51:1;       78:19;81:13,16;82:8;      75:15,17,20;81:23;      opportunity (1)           pages (2)
  83:1,2,9,10;84:17      96:16;97:12;99:9;         86:22;94:2                29:16                     32:1,1
newborn (1)              102:20;103:13           offer (2)                 opposed (7)               paid (7)
  79:24                Numbers (21)                33:15;61:2                11:8;15:4;37:12;          20:25;24:10;38:20;
next (3)                 4:6;20:18;22:6;         offered (2)                 53:11;66:2,24;76:12       47:18,19;89:3;92:4
  59:20;78:20;87:1       24:5;34:5,12,15,24;       10:16;98:17             option (5)                Pain (2)
NFL (1)                  38:15;40:16;47:13;      offering (1)                36:16,19,19,25;           12:25;13:9
  43:17                  48:2,7,23;51:2;54:23;     27:9                      47:7                    pair (1)
night (1)                61:6;67:12;81:3;        offsprings (1)            options (10)                78:16
  98:6                   95:18,25                  80:7                      36:2,4,12,15,23;        papers (2)
nine (1)               numerous (1)              off-the-record (1)          38:2,3,3;47:9,10          99:16,24
Min-U-Script®                                    Ansley Court Reporting                                (10) mumbo - papers
                                                     (404) 210-6977
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 39 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                       June 28, 2021
 paragraph (6)       people (12)              80:3                   10:6;19:16;21:12,     46:3
   75:12;76:8;78:19;   12:1;15:18;37:3;     person's (2)             14;37:15,16,18,19; presented (6)
  91:6;95:6,20           47:14;48:25;49:23;      12:13;14:10              45:11;66:14;67:16;        17:7;23:8;25:15;
paragraphs (2)           53:2;64:6,9;65:14,17, perspective (1)            72:3;90:1                 31:17;38:4;39:7
  18:24;76:16            18                      40:18                  pointed (2)               presiding (1)
paralegal (1)          peoples (1)             pertaining (1)             32:12;81:20               98:24
  28:13                  102:19                  11:15                  points (1)                presumably (5)
parameters (5)         per (6)                 pertinent (1)              62:25                     51:20;53:7;83:1,11;
  46:21;48:24;77:18,     20:13;43:3;64:12;       88:21                  police (3)                  88:20
  24,25                  76:18;83:15,20        ph (1)                     10:19;18:3,6            pretend (1)
paren (1)              percent (17)              57:7                   portions (1)                45:16
  97:11                  36:10,11;77:5,8,9,    PhD (4)                    94:20                   pretty (2)
parents (1)              13,13,14,25;82:10;      4:23;6:2,4;10:23       position (9)                6:25;8:14
  92:18                  96:15,15;97:6;98:4,6; phenomena (1)              9:17;15:9,16,21;        previous (3)
part (14)                100:9,10                53:1                     29:14;37:21;43:2;         24:5;101:13,13
  9:20;14:8;15:6;     percentage (1)           phenomenon (3)             50:12;58:13             previously (4)
  43:7,14;47:22;68:3;   96:17                    63:4,13,17             positions (1)               17:5;23:6;25:13;
  69:18;73:6;75:5;    percentages (4)          philosophy (1)             12:1                      37:3
  86:22;99:21;100:25;   76:17,18,21,22           91:12                  positive (1)              primary (1)
  101:19              perfectly (1)            phone (1)                  97:12                     33:17
participate (1)         15:18                    7:23                   positives (1)             principally (1)
  14:10               perform (6)              phones (1)                 75:11                     55:4
participation (1)       16:1;19:25;80:7;         16:15                  possibilities (1)         print (1)
  47:16                 85:7;91:9;102:24       physically (1)             46:3                      23:20
particular (6)         performance (16)          13:19                  possibility (2)           prior (7)
  11:8;42:6;68:14;       12:2;29:6;40:14,22;   pick (1)                   50:3;53:25                4:7;32:12;93:8;
  76:24;84:25;101:23     41:5,11,20,25;51:4;     65:1                   possible (2)                96:1;98:23;102:2,15
particularly (5)         52:11;58:11,13;       piffy (1)                  44:3;79:2               private (1)
  28:15;51:14;60:13;     59:11;82:3;101:24;      57:7                   possibly (2)                44:8
  64:14;99:24            102:2                 pixelated (1)              58:23;101:14            privately (1)
parties (5)            performed (6)             59:6                   potential (11)           9:24
  16:1;42:4;78:24;       29:11;78:22;82:8;     place (1)                  18:25;28:23;29:13; privilege (2)
  99:20,21               83:6,23;88:2            73:23                    39:6;40:9,9;41:2,12;   5:13;71:24
partner (1)            performing (4)          placed (1)                 46:13;58:19;64:13    probabilities (2)
  41:10                  79:3;83:2;88:24;        61:6                   potentially (1)          36:7;45:5
partnership (2)          93:20                 places (1)                 83:12                probability (4)
  41:13,17             perhaps (2)               76:19                  practice (1)             36:10,11;45:11,12
party (3)                66:1;79:2             Plaintiff (2)              12:5                 probable (1)
  11:19;15:10;28:10    period (12)              4:14;100:5              pre-2019 (1)             37:25
pass (1)                 41:23;57:9;65:9,22, Plaintiff's (7)              63:21                probably (10)
  13:20                  25;66:10;67:22,24;     24:10;29:19;51:22,      preamble (1)             6:20;7:24;22:3;
passed (2)               81:11;100:23;102:12, 24;100:7,10,13              63:10                  24:8;29:17;68:18;
  18:8;53:15             16                   plan (2)                  precludes (1)            77:18;80:5;98:19;
past (6)               periodically (3)         12:19;70:13               84:7                   100:8
  17:19;24:6;41:20;      6:11;21:5;23:24      planned (1)               predicated (3)            problems (1)
  66:25;67:20,24       periods (1)              70:6                      19:1;20:4;47:21           51:8
path (1)                 68:7                 planning (1)              preference (1)            Procedurally (1)
  44:1                 permanent (1)            57:25                     6:1                       11:18
pay (5)                  33:15                plans (1)                 preferred (1)             Procedure (4)
  14:23;15:19;49:19;   permits (1)              21:20                     101:9                     5:6;8:8;21:11;
  88:10;91:24            53:4                 play (3)                  premarked (1)               48:20
paycheck (1)           perplexing (1)           14:19;63:4,13             16:23                   procedures (2)
  39:20                  51:13                played (1)                prepare (2)                 10:19;12:1
paying (2)             person (15)              65:21                     18:20;27:20             proceed (2)
  37:21;88:7             13:10;47:16,16;      please (16)               prepared (4)                5:7;21:12
payment (3)              49:4;51:10;53:16,19;   4:9;24:19;25:3;           26:24;38:19;71:20;      process (4)
  42:3;47:17;80:3        54:8;56:19;59:8;60:9, 26:20;30:20;33:8,22,       99:12                     64:9;75:6;79:18;
payments (1)             9;65:23;92:25;96:23    23;59:4;84:20,24;       preparing (2)               89:1
  28:18                personal (2)             86:11,13,19;89:21;        19:5;38:22              processes (1)
peace (1)                11:20;12:5             90:18                   present (7)                 79:18
  8:6                  personally (2)          pm (1)                     11:10,14;34:17,22;      producer (1)
pending (2)              32:16,20                103:16                   46:16,18;76:20            44:1
  79:25;98:16          persons (1)             point (13)               presentation (1)          production (1)
Min-U-Script®                                  Ansley Court Reporting                         (11) paragraph - production
                                                   (404) 210-6977
   Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 40 of 104
TERESA POPE HOOKS, Individually, et al. vs.   The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
CHRISTOPHER BREWER, et al.                                                                                 June 28, 2021
   11:7                    55:14,17;56:18;       raised (1)               98:11,25;99:10,12       53:19;92:24
 profession (1)            57:11,19;74:5,6;80:1; 39:16                  reconvene (1)           rehired (1)
   54:21                   83:13;84:5;91:18      ramifications (1)        62:25                   9:5
 professional (2)        provides (6)              101:5                record (27)             related (4)
   8:16;10:21              36:13,13;43:9;82:6; rapidly (1)                4:10;5:14;6:13;         15:25;65:8;76:11;
 professionally (1)        91:22,25                15:20                  16:5;21:22;25:10,12;    101:25
   9:15                  providing (6)           rate (12)                26:2,4,13,15,18;28:8; relationship (1)
 professor (1)             13:12,19;23:16;         19:8,16,22,24;20:5;    43:8,9;52:3,5;60:9;     93:8
   9:2                     70:6;89:23;93:22        77:4,5,12,23,24;78:1; 62:10;71:3,5;75:16, relative (1)
 proffered (3)           public (1)                87:1                   18,21;86:23;94:2,6      67:8
   97:18,18;100:4          44:9                  rates (1)              recording (1)           relevance (1)
 profile (15)            publication (2)           87:2                   60:12                   22:10
   34:7,7,8;35:2,4;        99:11,13              rather (7)             records (3)             relevant (1)
   37:12;38:11;45:1,1,2; publications (3)          28:25;70:13;85:12;     14:8;24:11;70:21        53:10
   46:11,11,11,12;49:5     8:16,20;99:10           98:3;100:13,14,25    recreational (1)        relied (1)
 profiles (10)           published (1)           rational (1)             79:10                   75:23
   35:10,12;38:22;         87:3                    37:22                redid (1)               reluctant (1)
   44:24,25;46:25;       publishing (1)          rationale (2)            64:21                   63:20
   76:17;95:16,19,25       8:18                    37:6;47:5            reduce (2)              rely (1)
 profit (2)              pull (7)                read (1)                 48:18;83:11             89:2
   74:19,20                17:2;23:1,4;31:12,      56:12                reduction (3)           remain (1)
 profits (1)               12;68:20;72:8         ready (1)                35:23;76:20;97:7        42:22
   75:10                 pulled (1)                26:10                reductions (1)          remaining (1)
 program (3)               101:15                real (2)                 11:10                   37:23
   9:11,14,20            pulling (1)               77:14;89:15          reemployability (1)     remarried (1)
 projected (1)             25:9                  realistically (1)        68:2                    90:9
   102:11                purpose (1)               20:15                refer (7)               remarries (1)
 projecting (1)            28:14                 reality (1)              5:22,23,23;6:6;         82:25
   101:18                purposes (6)              101:1                  27:9;34:2;68:17       remarry (1)
 projections (1)           5:4;24:20;27:9;       really (6)             reference (1)             84:16
   76:11                   28:9;63:24;73:19        8:7;22:8,8;52:19;      25:22                 remember (5)
 prompted (3)            pursuant (1)              61:4;99:11           referenced (2)            18:23;37:16;67:19;
   29:18;38:11;39:23       5:3                   reason (6)               17:9;77:5               98:1,2
 prompting (1)           put (8)                   29:18;35:8,10;       references (1)          remote (1)
   56:20                   8:11;23:15;35:25;       39:11;55:7;62:23        72:11                    4:12
pronounced (1)             47:11;65:14;74:23;   reasonable (2)           referred (1)             remove (1)
   8:21                    78:4;101:20             20:17;36:22             40:1                     39:6
property (2)             putting (1)            recalculate (2)          referring (4)            repeat (5)
   11:17;17:25             28:8                    96:20;98:6              31:11;50:22;65:22;       32:17;56:10,11,14;
propose (1)                                     recalculated (1)           75:1                     63:7
   71:2                            Q               22:12                 reflect (2)              replace (5)
proprietor (1)                                  recall (3)                 76:15;97:12              79:21;80:24;81:5;
   14:22                 qualify (1)               6:10;97:17;98:12      reflected (7)              83:22;89:24
proprietors (1)            36:17                recalling (2)              40:24;44:19;56:17;     replacement (16)
   14:20                 quality (5)               98:13,13                65:6;75:7,24;81:25       82:23;83:1,15,19;
proprietorship (3)         49:23;59:11;60:11;   received (3)             reflecting (1)             84:12,14;85:5,22;
   14:13;15:5;18:16        80:4,4                  28:18;32:7;71:12        32:10                    86:6,25;87:22;89:8,
prorated (1)             Quantitatively (1)     receiving (1)            reflection (3)             17,19;91:7,23
   19:19                   96:14                   39:5                    24:15;42:5;43:2        report (67)
proved (1)               quarter (1)            recent (3)               reflects (3)               11:9;18:20;22:5;
   18:5                    50:24                   23:25;25:4;35:14        32:13;49:15;87:2         25:20,21;26:14,18,19,
provide (23)             quarterback (1)        recently (2)             reformulate (1)            21;27:8,8,20,21,24;
   10:11,13;12:20;         43:17                   8:13;64:23              57:7                     28:5,15;29:1;30:1,6,
   19:9,15,23;24:13;     quite (4)              recess (3)               refrain (1)                24;31:22;32:9,24;
   36:4,23;44:12,25;       9:16;29:11;82:2;        16:19;62:7;94:3         84:24                    33:3;34:16;35:2,3,3,4,
   45:4;46:7;48:23;        98:21                recognizable (1)         refused (1)                11,21;37:7,13;38:18,
   51:25;74:9;80:5;87:6; quote (1)                 77:18                   97:19                    23,23;40:2,10,12,25;
   88:4,10,21;89:11,14     33:12                recognize (1)            regard (12)                42:16;44:12,19;
provided (25)                                      79:14                   15:6;16:8;18:7;          50:10,15;52:9;56:21;
   8:12;10:7,7;11:2;               R            recognized (2)             40:24;42:17,19;54:2;     61:19;62:14,24;65:6;
   17:9;18:7;21:4;22:5;                            76:21;77:6              67:12;76:10;82:5;        68:17;69:2,6,18;
   24:21,23;25:19;      racing (1)              recollection (7)           100:11,20                72:10;73:7,9;75:25;
   26:22;44:14;51:21;     44:16                    6:14;17:19;97:23;     regardless (2)             83:14;85:4;86:24;
Min-U-Script®                                   Ansley Court Reporting                            (12) profession - report
                                                    (404) 210-6977
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 41 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                         June 28, 2021
   94:20,24;95:6,20;   14:4                 right (58)               38:4;46:9;50:25;    sent (2)
   97:10             results (1)               8:10;11:20;13:24;     54:2;55:15;56:2;      21:5;31:6
 reportable (1)        14:25                   14:1,12;16:12,16;     57:24;58:22;60:10, sentence (2)
   57:22             Resuming (35)             18:21;24:6,9;25:1;    20;63:10;69:8;79:16; 86:24;87:1
 reported (1)          7:14;8:2;16:21;         33:16;35:9;37:16;     82:19;85:5;86:3;    serve (1)
  61:13                    17:8;18:12;22:22;       38:22;39:3;41:8,22;       87:25;89:20;90:20;     9:18
reporter (32)              23:9;25:16;26:5,12;     44:10;45:18;46:22;        92:9,23;93:1,3       served (2)
  4:3,8,11,17,20;          27:17;31:18;32:3;       47:24;48:17;50:2,20,    scenario (3)             50:12;99:5
  7:13;8:6;16:24;17:1,     33:9,24;50:8;52:6;      21;54:2;57:3;58:7,11;     42:7;68:14;75:12     service (7)
  11;22:25;23:3,10;        53:23;54:16;56:13;      59:15;60:12;62:19;      schedule (7)             36:18;65:23;87:6,
  24:22;25:3,19;26:10,     57:15;59:24;60:4;       63:1;64:19;65:12;         23:1,12,21,23;         24;89:11;91:9,18
  11;27:5,15;30:18,22;     62:9;69:13;72:5,9;      69:5;74:17;82:2,14;       24:15;32:9,12        services (52)
  31:25;33:8,22;62:5;      73:14;75:19;84:2;       83:8,14,21;85:9;87:6,   school (4)               12:18,20;13:19,22;
  68:16;72:8;73:11;        86:21;87:20;91:4;       24,25;88:3;89:5,19;       9:8,9;35:15,23         19:9;34:3;42:3,23;
  95:3;103:7,11            94:7;95:5               92:6;93:13,18,25;       scroll (5)               78:14,19,21,22,22;
reporting (2)            retain (1)                94:1;96:3;97:11;          17:11;27:5;31:25;      79:1,10,17,20,21;
  54:9;57:18               28:22                   102:7                     33:7,22                80:9,13,18,20,24;
reports (8)              retained (2)            rights (3)                scrolling (2)            81:4,14,19;82:3,6,23,
  10:16;11:2;25:22;      9:24;98:10                11:17,21,25               27:11;30:17            25;83:2,7,23;85:7,25;
  27:16,18;34:9;57:19; retainer (7)              rise (1)                  se (1)                   86:4;87:3,5,23;88:5,
  63:11                  20:23,25;21:12,13,        15:20                     64:12                  13,20,25;91:20,21,23;
represent (1)            15;24:4;32:7            risk (3)                  second (5)               92:1,23;93:8,19,20,21
  20:8                 retired (2)                 15:2;25:18;92:16          32:5;54:24;74:23;    serving (1)
request (4)              8:19,19                 role (1)                    75:16;77:3             9:24
  23:21,22;39:24;      retirement (5)              9:6                     secondhand (1)         set (3)
  70:10                  36:4,13,14;37:5;        roles (1)                   43:5                   26:22;28:12;45:9
require (1)              39:22                     80:6                    seconds (1)            setting (1)
  29:4                 retiring (1)              routine (1)                 16:14                  11:3
required (2)             37:3                      12:4                    section (5)            seven (2)
  18:20;29:3           return (7)                Rule (1)                    27:18,22;34:3;         37:16;67:23
requirements (1)         39:13,15;49:20;           71:16                     73:15,16             Seventy (1)
  4:4                    72:10,16;74:11,16       Rules (2)                 secure (1)               37:1
requires (1)             returns (15)              5:5,6                     48:1                 several (2)
  45:19                    39:9;69:15;72:15,     run (1)                   Security (9)            56:4;99:10
research (1)               19;74:1,3,6,18;76:4;    16:14                     14:23;36:12;46:19; sheet (2)
  20:4                     95:23;101:9,13,13,14; RUSHING (23)                47:12,13,15,23;48:1,6 17:15;73:13
reserve (3)                102:3                   4:23;5:2,22,23,24,      seeing (1)             Shook (1)
  7:5,6;62:25            Reva (3)                  24;6:6,10;7:15;23:10;     30:20                  71:12
reserved (2)               8:21,22;20:11           59:18;70:3,8,9,12;      seek (1)               Shook's (1)
  5:11;103:9             revealed (2)              71:2;75:20;84:19,20;      43:2                   28:12
resigned (1)               55:14;75:9              86:10,23;94:8;103:3     seem (1)               shooting (1)
  15:22                  revenues (1)            Rushing's (1)               90:1                   18:6
respect (23)               74:20                   68:17                   seemed (3)             shopping (3)
  19:4;29:15;34:4;    review (6)                 Ryan (1)                    36:22;37:22;96:10      18:2;80:21;93:25
  41:21;50:4,23;51:6;   29:22,23,24;94:14,         7:4                     seems (2)              short (5)
  52:11;54:24;58:24;    15,16                                                77:1;79:14             16:19;26:13;62:7;
  59:10;66:13;69:14; reviewed (14)                            S            segments (1)             75:20;94:3
  72:12;73:9;75:21;     22:13;27:19,20,21,                                   35:16                shot (1)
  76:7;78:10;90:11,17; 22;33:10;39:9;62:13,      sacks (1)                 self- (1)                17:24
  93:4;99:14;101:6      22;69:10,14;73:5;          49:25                     64:8                 show (4)
response (2)            75:23;94:9               same (18)                 self-employed (3)        23:10;31:21;63:19;
  43:3;70:7           reviewing (2)                8:8;19:8,22,24;        18:17;48:5;96:23          81:15
responsibilities (2)    33:4;94:13                 24:6;25:20;33:11;   seller (8)                 showed (3)
  9:7,14              revise (1)                   34:12,15;38:25,25;     42:3,8,8,19,23;           37:25;54:10;71:10
responsibility (1)      38:18                      54:23;55:9;57:12,12; 43:10;67:7,10             showing (3)
  13:5                revised (1)                  66:22;67:1;90:23    selling (1)                  25:17;37:2;51:10
responsible (1)         77:7                     sample (1)               54:8                    shown (3)
  29:2                revising (1)                 84:4                send (2)                     39:22;62:17,17
responsive (2)          61:18                    satisfied (1)            10:14;30:23             shows (2)
  89:7;92:12          revision (1)                 29:11               sending (1)                  74:12,18
responsiveness (1)      40:10                    Savannah (2)             13:6                    shut (1)
  5:10                revisit (1)                  98:20;99:5          sense (3)                    66:6
restricting (1)         76:2                     saying (23)              30:2;76:9;79:3          side (3)
Min-U-Script®                                    Ansley Court Reporting                             (13) reportable - side
                                                     (404) 210-6977
   Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 42 of 104
TERESA POPE HOOKS, Individually, et al. vs.    The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
CHRISTOPHER BREWER, et al.                                                                                June 28, 2021
    54:9;97:11;100:7       15;49:18;51:14;        specifically (7)          36:6               suffered (1)
 side-by-side (1)          54:20;57:8;58:9;60:9; 17:20;18:21;34:5;       Statistics (1)          19:1
    31:13                  66:2,5;80:1,2,23;         42:17;94:22,25;101:2 79:6                 suffering (2)
 sidecar (1)               85:7;87:6;88:1,10;     specifics (3)          status (1)              12:25;13:9
    12:12                  89:10,14,16;90:10;        37:9;48:21;67:3        41:6               sufficient (2)
 sign (1)                  91:9,22,24,25          specified (1)          statute (3)             21:18;37:4
    7:9                  someone's (2)               18:22                  77:7,11;79:14      suggest (1)
 signature (3)             44:8;68:6              spectrum (5)           statutes (1)            84:21
    7:5;103:8,10         sometime (2)                52:24;77:3,16;78:8;    77:6               suggested (1)
 significant (8)           24:4;33:13                79:1                stay (4)                54:6
    52:24;65:4;66:1;     sometimes (8)            speculate (2)             66:21,21,22;67:3   summaries (1)
    96:10,12,25;97:2;      12:8;21:16,20;            56:1,3              stayed (1)              21:6
    102:22                 23:21;81:14;96:23; speculation (4)               20:12              summary (1)
 Significantly (4)         101:12,13                 45:20;53:22;55:24, staying (1)              75:6
    96:6,8,9,16          somewhat (2)                25                     42:21              summers (1)
 similar (1)               43:1;81:15             speeds (1)             stepping (1)            9:13
    87:2                 somewhere (2)               44:17                  92:16              supplement (1)
 simple (1)                13:22;46:23            spend (1)              still (6)               52:9
    87:14                sophisticated (1)           19:5                   18:13;32:13;54:23, sure (18)
 simply (3)                45:9                   spent (2)                 25;67:2;91:11        8:7;16:23;20:24;
    9:19;23:16;75:8      Sorry (12)                  22:6;79:12          stipulate (2)           26:16;28:4;29:25;
 sit (2)                   19:12;30:20;32:17; spousal (1)                   4:10;7:9             37:5;43:21;52:22;
    67:6;74:14             59:5;63:6;64:22;72:4; 94:15                   stolen (1)              54:19,25;59:5;69:25;
 sits (1)                  82:21;84:3;94:23;      spouse (9)                61:13                71:23;74:8;96:11,13;
    23:19                  97:8;99:16                13:10;82:25;83:2,9, stop (3)                98:21
 sitting (3)             sort (5)                    22;84:7,18;91:18;      32:5;33:22;92:9    surprised (3)
    10:2;70:19,20          34:25;47:3;65:20;         92:24               stopped (1)             62:2,2;63:1
 situation (3)             78:5;81:4              staff (1)                 70:17              survey (3)
    13:17;66:23;88:6     source (14)                 66:9                strange (2)             79:5;81:6;82:18
 six (11)                  50:16,21;54:6;57:9, stage (1)                    65:2,19            surveys (1)
    6:12;9:16;29:17;       17,25;58:2;59:7,15;       53:16               stream (14)             81:7
    37:15,16,18,19;76:16; 60:7,14,16;61:2;        standard (3)              14:9;40:18;55:15,  suspect (1)
   79:24;95:12;96:18      100:18                  8:8;21:11;48:20         20;56:17;57:10;       28:2
six- (1)                sources (1)             standards (1)             64:16;65:8;66:1,11; sustained (1)
   29:7                   9:23                    64:1                    93:7;95:15;102:11,14 57:9
six-month (2)           Southern (4)            standing (1)            streams (2)             swear (1)
   43:7,9                 98:16,18,22;99:6        85:4                    55:16;63:5              4:8
skills (2)              spare (1)               start (7)               street (2)              swearing (1)
   16:8;18:19             31:13                   15:2;26:6;39:9;         8:21;44:16              4:11
sleeping (1)            speak (1)                 71:7;77:23;83:2;      strike (2)              sworn (2)
   79:10                  19:20                   91:12                   91:1;92:11              4:21,25
slightly (2)            speaking (1)            started (3)             structure (2)           system (2)
   14:14;77:24            41:18                   22:2;70:16;77:22        41:6;99:25              47:17,23
slowly (1)              SPEARS (32)             starting (2)            stuff (1)               systematic (1)
   27:5                   4:13;5:16;7:6;          43:17;66:7              66:3                    45:8
Social (9)                16:18;53:21;54:14; State (10)                 stuff's (1)             systematically (1)
  14:23;36:12;46:19;      55:22;56:9;57:12;       9:2,5,11,18,21;         92:9                    79:6
  47:12,13,15,23;48:1,6   59:16,22;60:2;61:25;    29:3;72:16;87:15;     subject (9)
software (1)              62:24;66:2;70:2,8,12, 98:1,15                   11:10;29:1;40:5,5;                 T
  35:1                    18;71:8;72:1,2;76:1; stated (2)                 41:24;56:15;60:1,5;
sole (6)                  83:25;84:19;85:9,16;    56:16;74:7              87:21                 table (1)
  12:24;14:13,20,22;      86:10,15;87:8;98:10; statement (4)            subpoena (1)              37:24
  15:5;18:16              103:6                   15:22;76:20;92:3;       5:3                   tables (5)
solid (1)               Spears' (1)               102:18                subsection (1)            35:14,15;37:24;
  36:6                    60:5                 States (1)                 11:4                    45:10;61:4
somebody (11)           specific (23)             82:1                  substantial (1)         tabulations (1)
  17:25;23:20;52:11;      18:14;26:22;40:11; stating (1)                  60:19                   21:6
  53:14;54:8;84:13,17; 44:25;45:15;67:8;          78:12                 substantive (1)         takers (1)
  86:7;87:24;88:16;       68:11;69:19;75:23; Statistic (1)                73:12                   64:8
  102:22                  82:5,7,15;86:2,11;      82:18                 substitutes (1)         talk (9)
someone (31)              91:18;92:13;93:6,23; statistical (2)            80:6                    7:15;8:7;17:10;
  13:18;17:20;18:16;      96:3,16;98:20,25;       45:6,8                subtract (1)              28:6;33:12;35:9;
  41:16,16;43:24;44:2,    99:13                statistically (1)          55:2                    81:22;84:11;90:16
Min-U-Script®                                  Ansley Court Reporting                            (14) side-by-side - talk
                                                   (404) 210-6977
   Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 43 of 104
TERESA POPE HOOKS, Individually, et al. vs.   The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
CHRISTOPHER BREWER, et al.                                                                                June 28, 2021
 talked (6)                29:20                 total (3)                33:13;34:7,9;35:5,11, uniqueness (1)
    6:12;18:18;28:3;    testimony (32)              34:3,6;48:9           12,16;36:4,11,15;       23:22
    32:10;63:12;78:5       6:24;10:9,12,16;      totals (3)               37:1;45:1;46:11,23, United (1)
 talking (18)              11:2,6;17:19;19:6,14, 48:7,10;79:12            24;72:24;73:11;         82:1
    7:19;18:13,15;26:6;    18;27:9;30:2;34:20; track (4)                  77:14,16;79:18;       universally (2)
   33:5;59:14;62:10;         40:2,6,12,21;46:9;      41:17;43:7,9;74:21       82:24;92:17;95:4;       15:17,22
   68:24,25;75:22;           52:14;54:6;56:23;     traditional (1)            98:19;102:23          University (6)
   78:25;80:12;81:7,9,       61:2,15;73:19;93:5;     79:23                  two-hour (1)              9:3,5,11,12,18,21
   18;82:22,23;91:5          97:20,23;98:5,7,17;   trafficking (1)            20:8                  unless (2)
tandem (1)                   100:17;101:4            44:16                  tying (1)                 43:15;74:23
   77:22                   theirs (1)              trajectory (2)             94:8                  unresponsive (3)
tangent (1)                  17:25                   41:20,22               type (4)                  89:7;90:11;91:3
   13:6                    therefore (3)           trammel (1)                15:4;76:5;78:14;      untangling (1)
taught (2)                   16:1;74:7;88:11         71:24                    99:14                   89:7
   9:10,13                 third (2)               transcript (3)           types (4)               unusual (1)
tax (21)                   35:20;38:11               5:19;8:5;33:4            43:19;50:25;52:16;      14:19
   39:9,13,15;56:17;     though (5)                transmitted (1)            63:2                  up (38)
   69:15;72:10,15,16,19; 44:23;65:6;77:19;           25:5                   typical (3)               9:3;10:9;16:11;
   74:1,3,6,11,15;76:4;    93:23;100:3             travel (4)                 14:16;35:23;100:11      17:2;22:9;23:1,4;
   95:23;101:9,13,13,14; thought (6)                 19:21,22,25;20:15      typically (3)             24:12;25:2,10;28:12;
   102:3                   22:9;30:10;35:21;       traveling (2)              48:24;52:25;80:1        30:17;31:12,12;33:7,
taxes (3)                  37:19;69:7;98:15          20:16;32:25            typo (1)                  22;39:3,22;60:13;
   18:18;54:7;55:19      three (26)                trends (3)                 97:11                   64:9;65:1,1;66:7;
technical (1)              18:23;21:16;34:8;         67:17,18;102:15                                  68:20;72:8;73:11;
   16:7                    35:3,10;37:12,18,19;    trial (12)                             U           75:6;76:6;78:16;
telephone (2)              44:24;45:2,18;46:12,      6:8,24;19:10;20:6,                               79:12;83:18;85:23;
   20:4;79:6               13,24;51:5;72:21;         9;22:16;26:25;27:1, unadjusted (1)               94:8,12,23;95:23;
tends (1)                  77:13,17;82:24;           10;46:8;50:15;52:18   32:11                      97:14;101:12
   52:25                   86:16;95:15,18,20,25;   tried (2)                unaware (3)             update (2)
Teresa (5)                 98:19;102:23              46:4;90:17               51:5,9;54:19            23:17;35:13
   69:16;72:13;82:20; three-year (1)               tripling (1)             unbelievable (1)        updated (4)
   93:7;94:9               24:1                      22:17                    67:18                   8:13,14;38:23;39:1
term (3)                   throwing (1)            truckers (2)             under (7)               updating (1)
   15:24;16:12;42:20         63:25                   14:17,17                 5:4;43:21;74:19;        40:10
terminated (1)             thrown (1)              true (13)                  77:6,6;95:15;100:2    upon (13)
   9:15                      63:25                   15:17,22;17:15;     undercover (1)               12:8;19:21;36:14,
terminology (1)            Tim (6)                   21:19;24:14,17;27:7; 20:24                       21;45:3,23;46:2;53:8;
   77:10                     6:10;59:19;70:20;       62:17;77:14;80:5;   underlies (2)                58:13;67:3;73:15,18;
terms (61)                   84:21;85:10;86:20       89:24;92:21;96:2      89:9;91:6                  75:23
   6:23;7:16;11:18;        timeline (2)            truism (1)               underlying (3)          upstairs (1)
   12:10;14:15,25;           11:13;64:11             18:5                     75:22;89:16;100:16      74:2
   15:23;20:15,17;         timeliness (1)          truthful (2)             understood (9)          up-to-date (1)
   22:10;23:23;27:23;        51:6                    59:8;60:9                30:4;33:4;40:22;        8:17
   29:23;30:1;31:9;        times (9)               try (9)                    57:5;67:25,25;72:3;   upward (1)
   33:20;34:4;36:3;          6:12,17;14:17;20:1,     13:1;20:17;34:19;        75:14;99:23             55:21
   40:18;42:7,13;44:19;      21;56:4;98:9,17,19      45:4;51:25;57:7;       undertake (1)           use (20)
   45:11,21;46:6,16,25;    title (1)                 59:25;80:11;81:17        47:24                   5:12,19;33:15;44:2;
   47:13,15;48:7,25;         25:20                 trying (18)              undertaken (1)            45:10;60:17;66:8;
   49:1;53:10;57:1;58:2,   today (10)                13:3;34:20,20,24;        48:19                   76:18;77:8,9,10,25;
   10,15,21;62:11;63:2,      5:14;9:24;21:22;        36:3;39:17;46:5;       unemployed (1)            79:5;81:10,11,17;
   4,11,13,18;64:2,22;       22:18;33:11;34:2;       52:17;54:3;69:24;        64:6                    82:18;85:23;96:23;
   65:7;66:20;67:5;          62:1,17;70:20;74:14     71:23;79:15;85:19;     unemployment (1)          98:4
   68:10;76:16;77:24;      told (7)                  88:4;90:5,24,25;         65:14                 used (8)
   81:18;82:4,4;83:1;        33:1;50:19;61:8,12;     92:22                  unfortunately (1)         24:1;36:8;54:9;
   84:12;86:24;87:22;        74:3;90:23;101:16     turn (3)                   74:1                    79:19;80:16;81:8;
   88:12;89:18             Tom (1)                   16:10,14;68:21         uniform (1)               95:9;96:1
testified (1)                43:15                 turns (1)                  65:16                 user (1)
   10:8                    took (1)                  8:7                    unimpacted (1)            43:25
testifies (1)                21:3                  Twenty-eight (1)           93:6                  users (1)
   52:11                   topic (1)                 20:22                  unique (7)                44:5
testify (3)                  30:6                  two (31)                   8:4;9:6;17:23;        using (6)
   27:1;66:5;81:1          top-notch (1)             9:10,13;11:25;           63:17;77:19;78:15;      16:7,11;42:7,20;
testifying (1)               61:3                    19:18;21:15;30:16;       101:15                  67:6;98:6
Min-U-Script®                                      Ansley Court Reporting                                (15) talked - using
                                                       (404) 210-6977
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 44 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                          June 28, 2021
 usual (1)             Virginia (1)         Whereupon (18)           95:12               Zoom (1)
   8:5                    8:22                4:3,6,22;7:11;       worker (3)               8:4
 usually (5)           virtually (1)          16:19;17:5;23:6;       28:25;40:20;61:3
   20:22;77:16;81:8,      66:3                25:11,13;26:3;31:15; workers (3)                       1
   11;94:16            vitae (2)              52:4;62:7;71:4;75:17; 66:8;77:2;78:5
 utilize (2)              8:12;16:22          94:3;103:11,15       Workers' (2)          1 (5)
   38:7;102:9          vitality (1)         Whichever (1)            14:24;18:18            4:6;9:4,5;17:1,6
 utilized (8)             42:12               6:1                  workforce (4)         1:26 (1)
   63:20;75:5;76:21,   vocational (1)       whole (3)                37:23;42:14;68:8;      103:16
   22;95:14,18,22;97:15 51:17                 12:22;63:8;79:1        89:15               10 (7)
 utilizing (1)         voice (1)            who's (3)              working (11)             10:15;11:2,13,24;
  76:18                    63:6                    41:16;58:9;79:3          29:7;39:2,14;41:16,     39:10;55:19;72:11
                         voila (1)               whose (1)                  22,24;47:22;49:12;    10:06 (1)
             V             52:18                   14:5                     92:18;102:12,16         4:2
                                                 wide (1)                 worklife (11)           100 (1)
valid (1)                            W             45:9                     35:13,14,15,17;         22:19
  15:18                                          widow's (1)                36:5,5;37:15,15,24;   1021 (2)
valuation (2)            wage (13)               33:3                       45:7,10                 24:25;25:7
  89:25;91:19              48:9;76:25;77:2,24; wife (4)                   worksheet (6)           1088 (1)
value (46)                 78:3,7;87:4;95:10,10, 72:13;80:18;89:22;         74:17;75:1,2,5,22;      29:1
  11:5,6,11;12:7,12,       11,14,22;96:19        90:6                       76:2                  1099 (1)
  18,22;13:1,4,4,9;      wages (7)               wild (1)                 world (1)                 29:1
  18:25;34:22;46:16,       46:16;48:16;78:5,6,     22:9                     64:5                  1099- (1)
  18,18,20;48:16;58:3;     12;88:19;101:21       willing (2)              worth (2)                 39:11
  68:6;76:20;79:17,20;   wait (5)                  42:2,2                   15:15;81:4            1099-employee (1)
  80:9,12;81:18;82:10;     26:9;37:17;59:18;     wish (2)                 wring (1)                 39:2
  84:11,22;85:12;87:7;     86:10,11                100:22;101:2             64:4                  10-minute (2)
  88:5,6,7,8,12,18,20,   waive (1)               withdraw (1)             written (1)               61:23;62:3
  25;89:2,18,22,25;        7:8                     85:10                    99:24                 11 (1)
  90:2;93:3;100:3        walk-in (1)             withholding (4)          wrong (2)                 97:14
valued (3)                 65:24                   28:18;39:18,19,23        30:21;64:22           12 (3)
  83:15;86:25;89:1       wants (2)               within (7)                                         39:10;72:11;81:12
values (2)                 23:20;79:25             41:6;44:18;45:18;                  Y           13 (2)
  53:19;79:17            warnings (1)              76:21;77:17;78:23,25                             39:10;72:11
valuing (2)                51:5                  without (4)              year (17)               14 (3)
  83:4;88:13             warrant (1)               46:5;73:4;93:21;    21:15,16;36:15;          67:23;72:11;97:14
variable (1)               65:3                    96:3                39:13;47:8,8,11;49:7, 14th (2)
  36:14                way (17)               Witness (26)             8;53:17;65:2,2;66:7;     23:15,22
variables (2)            8:11;23:17;38:11;      4:9,12,21,24;22:22;    95:13;96:4;97:5;      16 (4)
  44:7;65:15             43:4;44:22;46:5;       25:1,4;31:18;55:17;    102:23                   22:15;28:15;30:10;
variations (1)           52:13;59:23;64:18;     56:8,10;57:15;59:21; years (51)                 35:11
  65:2                   66:1;71:8;73:17;76:5; 68:23;69:3,7,11,12;     6:11,13,24;9:16,16; 16,000 (1)
various (1)              89:23;90:3;93:18;      70:5,10,16,22;84:2;    10:15;11:2,13,24;        97:6
  79:9                   94:14                  86:9,14;103:4          21:15,16,17;23:24; 16,406 (1)
vast (1)               ways (1)               witnesses (1)            24:1;35:18,24;36:18;     97:12
  18:4                   42:4                   32:25                  37:5;38:1;41:16;43:9, 1985 (1)
version (4)            Wednesday (2)          woman (1)                12;46:21;47:22;48:6,     11:14
  17:13;32:10,23,24      29:20;40:1             66:21                  15,18;49:5,12,25;     1996 (1)
versions (1)           week (4)               word (4)                 53:1;55:20;65:21;        6:8
  62:20                  24:23;29:20;40:1;      12:12;45:20;63:7,8     67:23;69:16;72:14,
versus (18)              81:12                words (5)                25;73:4;74:12;75:10;              2
  34:1,23,25;35:3,4;   weeks (3)                12:17,23;41:10;        81:8;82:24;96:1;
  39:2,12;43:8,11,18;    33:13;95:12;96:18      49:21;78:4             97:14,15;98:10;99:9; 2 (4)
  44:1;46:11,12;78:13, well-being (1)         work (20)                101:19;102:2,7,23        4:6;23:3,7,11
  14;89:16;92:18;100:5 80:8                     9:22;29:12;36:16,    year-to-year (1)        2,400 (1)
viable (1)             weren't (2)              16,19,21;45:21;47:7;   48:22                    21:1
  38:3                   39:11;68:7             48:3;49:5,13,24;     Young (1)               2,800 (1)
View (2)               what's (7)               50:11;53:4;67:11;      9:9                      21:1
  17:14;45:24            23:11;25:17,25;        76:8,11;79:25;95:23;                         2000 (3)
violated (1)             31:21;40:20;51:15;     99:14                           Z               8:19;9:4,5
  11:20                  76:12                worked (9)                                     2009 (4)
violations (1)         When's (1)               43:8,11;45:13,13;    zero (3)                   39:10;72:11;96:22;
  11:17                  10:4                   46:17;58:10;59:9,12; 45:14;77:16,17             101:19
Min-U-Script®                                    Ansley Court Reporting                                     (16) usual - 2009
                                                     (404) 210-6977
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 45 of 104
                                         The remote video-conference deposition of FRANCIS W. RUSHING, Ph.D.
TERESA POPE HOOKS, Individually, et al. vs.
CHRISTOPHER BREWER, et al.                                                                       June 28, 2021
 2010 (1)
  97:14
2011 (13)
                                     4                     9
  69:16;70:21;71:19;    4 (12)                   912 (1)
  72:12,15,19;73:21;       30:13;31:8,12,16,      31:19
  74:4,16,20;76:3,13;      22;33:10;34:1;62:16; 95 (1)
  101:9                    63:12;68:21,22;        100:9
2013 (3)                   103:13               99 (1)
  77:7;97:10,12         4.06 (2)                  100:10
2014 (4)                   35:24;49:5
  95:23;96:2,22;        40 (1)
  101:20                  6:16
2016 (18)               42,000 (1)
  20:25;22:4,5;24:4;      97:5
  25:20;26:15;27:20;    48-page (1)
  30:6,9,24;31:23;        17:12
  32:23;34:13,23;
  37:13;62:17;63:5;
  69:21
                                     5
2018 (1)                5 (1)
  34:23                   45:7
2020 (1)                50 (6)
  65:9                    7:19;22:19;36:10;
2021 (15)                 82:9;96:15;97:6
  10:11;23:15,16;      59 (2)
  24:25;25:7,7;26:24,    38:1;81:8
  25;27:21;30:1;34:12; 59-year-old-male (1)
  37:7;65:6;67:23;69:4 35:19
20s (1)
  81:10
23rd (9)
                                 6
  24:24;25:8;26:24,    6,362 (3)
  25;27:21;28:2,5;30:1; 73:21;74:8,18
  37:7                 62 (2)
24 (1)                    36:13;49:25
  20:21                63 (1)
24-hour (1)               35:25
  79:9                 67 (9)
24th (1)                  36:16,17,18;37:1;
  28:3                    45:13;46:17;47:7,14;
26 (1)                    49:5
  71:16                67th (1)
26th (1)                  47:8
  69:21
28 (1)                               7
  24:7
28th (2)                70 (5)
  10:3,4                  36:19;37:1;45:14;
                          47:14;49:6
            3           70th (1)
                          47:8
3 (17)                  75 (1)
  4:6;25:3,14,18,25;      96:15
  27:4;31:2,12;33:11;
  34:1;50:9;62:13;                   8
  63:12;68:19,20;
  75:25;95:4            8 (1)
30 (2)                    30:7
  6:16;16:13            85 (1)
350 (1)                   98:22
  20:21                 8th (5)
36 (1)                    25:20;26:14;30:9,
  21:23                   11;31:23
Min-U-Script®                                    Ansley Court Reporting                          (17) 2010 - 99
                                                     (404) 210-6977
   Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 46 of 104




                                      CURRICULUM VITAE


                                  FRANCIS W. RUSHING, Ph.D.




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PERSONAL DATA:
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Marital Status: Married                                         Children: 4


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Ph.D., Economics, University of North Carolina at Chapel Hill, 1967
A.B., Economics, University of Georgia, 1961 (Magna Cum Laude)
Phi Beta Kappa; Phi Kappa Phi; Who's Who in American Colleges and Universities;
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EXPERIENCE:
Academic Appointments


July, 2000                                             Emeritus Professor of Economics, Georgia
State                                                                       University


August, 2000 – August, 2002                   Professor of Economics and Director, Center of
                                                                      Business and Economic
Education (part-time)




                                                1
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 47 of 104




1990 - July, 2000                           Holder, Bernard B. and Eugenia A. Ramsey
                               Chair of
                                                  Private Enterprise, Georgia State
                               University


1980 - July, 2000                           Professor of Economics, Georgia State
                               University


1974 – 1980                                 Associate Professor of Economics, Georgia
                               State
                                                  University


1972 – 1974                                 Associate Professor of Economics, College of
                               William and
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1968 – 1972                                  Assistant Professor of Economics, University
                               of Georgia


Summers 1969,                  Visiting Assistant Professor of Economics,
1970, 1971                     University of North Carolina at Chapel Hill


Administrative Appointments




1993 - 1996                    Interim Chairman, Department of Economics, Georgia
                               State University


1986 - 1999                    Director, International Center for Entrepreneurship,
                               Georgia State University


1986 - 1990                    Associate Dean for Research, College of Business
                               Administration


                                       2
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 48 of 104




1980 - 1986                    Chairman, Department of Economics, Georgia State
                               University


1984 - 1986                    Interim Director, Institute of International Business,
                               Georgia State University


1974 - 1981                    Executive Director of the Georgia Council on Economic
                               Education and Director, Center for Business and
                               Economic Education, Georgia State University


1971 - 1972                    Assistant Dean of Graduate School, University of Georgia


Consulting


1977 - 1993                    Senior Economics Consultant, Science Policy Program,
                               International Policy Center, SRI International, Arlington,
                               Virginia


1976 - 1977                    Senior Economist and Program Manager in Economics,
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Military Service 1965 - 1968   Officer, United States Air Force, assigned as an
                               economic analyst to the Department of Defense




                                          3
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 49 of 104




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                                                 4
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 50 of 104




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                                                 5
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 51 of 104




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                                                 6
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                                                  7
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 53 of 104




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                                                  8
     Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 54 of 104




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"High Tech Trade - Are We Losing the War?", Business, July/August/September 1985, pp. 36-
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Communicating Economic Understanding: A Handbook for Program Directors (with Craig Aronoff
and David Martin), Joint Council on Economic Education, 1985


"Review of U.S. Advanced Technology Policy," Proceedings, Brazil-U.S. Business Council VII
Plenary, 1983, U. S. Chamber of Commerce, 1985, pp. 81-93


"U.S.-Brazil Private Sector Cooperation in Science and Technology for the 1980's" (with Carole
Ganz Brown), Proceedings, Conference on U.S.-Brazil Private Sector Cooperation in Science and
Technology, National Science Foundation, 1983




                                                  9
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 55 of 104




"A Summary Report on the Educational System of the United States and the Soviet Union:
Comparative Analysis" (with Catherine P. Ailes), prepared for the National Commission on
Excellence in Education and cited in A Nation at Risk: The Imperative for Educational Reform, A
Report to the Nation and the Secretary of Education, National Commission on Excellence in
Education, April 1983


"The Emerging Impact of Foreign Competition on National Security and Emergency Preparedness
Telecommunication" (with Catherine P. Ailes), SRI International, Menlo Park, California, January
1982


"Education and Human Resources in Soviet Growth Strategy" (with Catherine P. Ailes),
Comparative Strategy: An International Journal, Vol. 3, No. 3, Winter 1982, pp. 219-244


Comparison of the Methods of Financing Research and Development in the U.S. and USSR (with
Catherine P. Ailes and James Styles), prepared for National Science Foundation, Washington,
D.C., l981, 78 pp.


"What is Economic Education?" in Consumer Education and Economic Education in the Public
Schools, Judith Staley Brenneke, Editor, U.S. Department of Education and Joint Council on
Economic Education, l981, pp. 45-49


"Building an Effective Economic Education Program Using Principles of Successful Adoption and
Implementation" (with Carole Hahn), Economic Education: Links to the Social Studies, S. Stowell
Symmes, ed., National Council of the Social Sciences and the Joint Council on Economic
Education, 1981


The Planning and Management of Research and Development in Soviet Industrial Organizations,
editor, prepared for National Science Foundation, May 1980


A Summary Report on the Educational Systems of the United States and the Soviet Union:
Comparative Analysis (with Catherine P. Ailes), Technical Note SSC-TN-7557-12, prepared for
National Science Foundation, Washington, D.C., March 1980, 33 pp.




                                                10
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 56 of 104




"An Assessment of the USSR-US Scientific and Technical Exchange Program," in Soviet Economy
in a Time of Change, Joint Economic Committee, United States Congress, October 1979, pp. 605-
624


"The Application of Economic Leverage in U.S.-USSR Relations," Comparative Strategy: An
International Journal, Vol. l, No. 4, October 1979 (with Herbert S. Levine and Charles H. Movit),
pp. 371-404


"The Role of U.S. Imports in the Soviet Growth Strategy for the Seventies," Journal of
International Business Studies, Fall/Winter 1977, pp. 31-47 (with Anne Lieberman)


Pacing Industries in the USSR, 1944-1990, and Implications for Forecasting New Plant Facilities
(with Holland Hunter, Charles Movit, and Arthur Zuehlke), SSC-TN-77-3, SRI International, Menlo
Park, California, July 1977


"Promoting Curriculum Change in Economics: A Model," Southern Social Studies Quarterly,
Winter 1976


"A Prime Need: Education in Economics," Atlanta Magazine, January l976


"U.S.-USSR Trade and Soviet Technology Requirements," (with Anne Lieberman), Association for
Comparative Economic Studies Bulletin, Fall 1976, pp. 61-77


Contributor to the SRI-WEFA Soviet Econometric Model, Vol. I and II: Phase III (authors: Donald
W. Green, Lawrence Klein, Herbert S. Levine, Peter Miovic, Gene D. Guill, and Ross S. Preston),
SSC-TN-2970-5, Stanford Research Institute, Menlo Park, California, October 1976


"Soviet Chemical Industry: A Modern Growth Sector," in Soviet Economy in a New Perspective,
Joint Economic Committee, United States Congress, October 1976, pp. 535-557


"Economic Education: What Course of Action," Georgia Social Studies Journal, November 1976




                                                11
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 57 of 104




Study of the Political and Military Utility of U.S.-USSR Economic Relations (with Herbert S. Levine,
Arthur A. Zuehlke, Charles H. Movit, and James E. Cole), SSC-TN-5087-l, Stanford Research
Institute, Menlo Park, California, December 1976


Impact on U.S. Foreign Trade and Investment From Commercial Transfers of Advanced
Technology to the Soviet Union and Eastern Europe (with Anne Lieberman), SSC-TN-75-3,
Stanford Research Institute, Menlo Park, California, February 1975, 66 pp.


Technical Change in the Soviet Chemical Industry (with Carlisle Moody, Jr.), SSC-TN-2625-8,
Stanford Research Institute, Menlo Park, California, February 1975, 41 pp.


"Economic Education in Georgia, Progress, Joint Council on Economic Education, December 1975


"An Economics Index to the Quality of Life," a note, Western Economic Journal, Volume XI, No. l,
March 1973, p. 116


"Growth, Capital-Output Ratios, and the Soviet Chemical Industry," Economia Internazionale,
Volume 25, No. 4, November 1972, pp. 3-15


"Bonus Formulae and Soviet Managerial Performance: A Comment," Southern Economic Journal,
Vol. 38, No. 4, April 1972, pp. 569-572.


A series of articles on comparative economic systems in Economic Encyclopedia, Dushkin
Publishing Group, Inc., 1972.


Transportation and Spatial Mobility in India (with J.C.D. Blaine), Chapel Hill Graduate School of
Business Administration, University of North Carolina, 1965, 59 pp.


Book Reviews:


Intellectual Property Rights and Capital Formation by Charles E. Walker and Mark A. Bloomfield
(eds.), Small Business Economics, An International Journal, 1992, pp. 245-246.




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  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 58 of 104




Technology in Comecon, by Wilczynski, ACES Bulletin, Summer 1976


The Spoils of Progress: Environmental Pollution in the Soviet Union by Marshall I. Goldman,
Southern Economic Journal, Vol. 40, No. l, July 1973.


The Soviet Model and Underdeveloped Countries by Charles K. Wilber, Southern Economic
Journal, Vol. 37, No. l, 1970.


Myth, Oil, and Politics, Introduction to the Political Economy of Petroleum by Charles F. Doran,
Journal of Comparative Strategy, Vol. l, No. 2, 1980




Research Papers and Reports:


"An Empirical Analysis of the Impact of Patent Protection on Economic Growth," (with Mark A.
Thompson), Research Paper No. 54, Georgia State University, Policy Research Center, June
1995.


"Preparing for the Challenge of a Global Workforce: A Study of Training and Enterprise Councils
in Wales," (with Stanley J. Smits), Research Paper No. 47, Georgia State University, Policy
Research Center, August 1994.


"Human Resource and Enterprise Development at the Community Level in Great Britain: A
Strategic Constituencies Assessment," (with Stanley J. Smits and David W. G. Hind), Research
Paper No. 62, Georgia State University, Policy Research Center, July 1996.


"Strategies for Designing Economic Education Programming for the Commonwealth of Independent
States," (with Thomas McKinnon), Research Paper No. 27, Georgia State University, Policy
Research Center, July 1992.




                                                 13
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 59 of 104




"Georgia's Workforce Development Challenge: A Study of Best Practices and Options", (with
Stanley J. Smits, and Lori Fancher) Report for the Office of Planning and Budget, State of
Georgia. June, 1997.


“Plant Closings in the Textile and Apparel Industries: An Analysis” (with Julia Melkers and David
Sjoquist) Report for the Office for Planning and Budget, State of Georgia, July, 2000




OTHER PROFESSIONAL ACTIVITY:


Presented paper, " Role of Entrepreneurship in the Principles of Economics Courses" (with Calvin
Kent), National Council on Economics Education and the National Association of Economic
Educators, Honolulu, Hawaii, September, 1996


Invited participant at the Mount Pelerin Society meetings, Vienna, Austria, September, 1996.


Attended the 6th Conference of the International Joseph A. Schumpeter Society, Stockholm,
Sweden, June, 1996.


Chaired session, "Entrepreneurial Freedom and Religion," Association of Private Enterprise
Education meetings, Las Vegas, March/April 1996.


                                                14
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 60 of 104




Panel member for discussion on "Teaching Economics in Russia," Association of Private
Enterprise Education meetings, Las Vegas, March/April 1996.


Chaired session, "Education: Entrepreneurship, Gambling and the Environment," Association of
Private Enterprise Education meetings, Las Vegas, March/April 1996.


Elected to the Executive Committee of the Georgia Council on Economic Education, 1996 - 1998.


Chair of the Program Committee of the Georgia Council on Economic Education, 1996 - 1998.


A Founder of the Council of Entrepreneurship Chairs, 1995


Served as an Advisor to the Board of Directors meeting, Marion Kauffman Foundation, in Orlando,
Florida, January 1995.


Chaired session "Issues in Economic Development," Southern Economic Association Annual
Conference, New Orleans, Louisiana, November 1995.


Organized workshop, "Entrepreneurship Education: What Americans Know and Don't Know and
What's to Be Done About It." Presented "Entrepreneurship Education: In Class and Out," Georgia
Council for the Social Studies, Savannah, Georgia, October 1995.
Served as judge for 92 nominations for the Student National Agri-Entrepreneurship Awards
Program, Alexandria, Virginia, October 1995.


Conducted a workshop on "Entrepreneurship Education for Pre-college Students" for the National
Council on Economic Education, Dallas, Texas, September 1995.


Session Chair, "Development Strategies." Also panel member on session "Heritage and Future
Directions of Private Enterprise Education." Association of Private Enterprise Education, Atlanta,
April 1995.




                                                 15
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 61 of 104




Participant in symposium entitled "The University and Social Development."     Speaker during
sessions on "Technical Cooperation Among Developing Countries" and "Industry, University, and
Government." Delivered remarks during concluding session. The University of el Salvador,
Buenos Aires, Argentina, October 12-14, 1994.


Attended advisory meeting for "Agri-Entrepreneurship Development and Educational Initiatives,"
National FFA Foundation, Kansas City, October 1994.


Participant in the annual meeting of The National Council on Economic Education and the National
Association of Economic Educators, Williamsburg, Virginia, September 1994.


Attended annual meeting of the Georgia Association of Economics and Finance, Georgia College,
Milledgeville, Georgia, April 14-15, 1994.


Organizer and participant, invited by the National Council on Economic Education, for the First
International Meeting "Children and Business" held in Moscow, August 20-26, 1993.


Lecture, "Economics USA and Entrepreneurship" for audience of Metro-Atlanta Teachers meeting
at Westminster Schools, July 1993.


Member, Educational Advisory Committee of the National Federation of Independent Business,
1991 - present.


Member of the Advisory Board for the Ewing Marion Kauffman Foundation, Center for
Entrepreneurial Leadership, 1993 - present.


Member of Organizing Committee for Symposium: Public/Private Cooperation for the Promotion of
Development, sponsored by the Regents Global Center of the University System of Georgia, a host
of universities, and the Consulate General of Argentina. Atlanta Hyatt Regency on November 4-5,
1992.




                                                16
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 62 of 104




Served as both consultant and contributor to the Resource Guide for the
Economics/Business/Free Enterprise course for Georgia's high school students. The guide was
published by the Office of Instructional Services, Georgia Department of Education, Fall 1992.


Moderated panel, "Current Status of Economic Education in the United States." Meeting of the
National Federation of Independent Business, Colorado Springs, August 1992.


Conducted a two-week workshop for Atlanta-area secondary school teachers of advanced
placement economics courses, June 1992.


Invited participant in the Tenth Annual International Entrepreneurship Education Forum, Lake
Tahoe, May 1992.


Panelist/judge for The Outstanding Teacher Award presented by the National Federation of
Independent Business, Washington, D.C., May 14-15, 1992.


Participated in the Sixth Annual International Business Plan competition, Hartford, CT, April 1992.
The Ramsey chair co-sponsored this program with Cornell University and Kennesaw State College.


Interviewed Ministers of Education in the former Republics of the Soviet Union in Washington,
D.C., March 12-13, 1992. Program sponsored by the World Bank.


Directed the "You and the American Economy" program sponsored by the Ramsey Chair of
Private Enterprise, the Center for Business and Economic Education, and the Rotary Club of
Atlanta, held at Georgia State University, March 1991, 1992, 1993, and February 1994.
Presented "Getting a Job in the Twenty-First Century" as plenary speaker in 1992.


Chairman of the Educational Advisory Committee of the National Federation of Independent
Businesses Foundation. National Leadership Conference, Colorado Springs, Colorado, August
1991.


Association of Private Enterprise Education, elected to Board of Directors, 1992; President, l990-
9l; Vice President and Program Chairman, l989-90


                                                 17
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 63 of 104




The Society of Economics Educators, Inc., Secretary/Treasurer, l990-91, 1992-93, 1994-96;
President, l987-l989


Trustee, Georgia Council on Economic Education, l981--


Inter-University Advisory Committee, Center for East-West Trade Policy, University of Georgia


Georgia Partners of the Americas


Director and Instructor, Entrepreneurship and REAL Enterprises, a curriculum development and
teacher training program sponsored by the Georgia Department of Education and the Georgia
Council on Economic Education, Valdosta, June 26-July 3, l990


Member of the curriculum writing team for the Entrepreneurship/Economics Education (E3) Project
sponsored by the Pew Foundation, l988-l990. Materials developed: (l) llth grade
economics/entrepreneurship course; (2) infusion units for secondary World and American History
courses; (3) l2th grade economics/entrepreneurship course.


Lecturer/consultant for U.S. Information Agency, presenting programs on topics of entrepreneurship
and executive education in Mexico City, Monterrey, Puebla, and Guadalajara June l9-25, l989


Member, National Committee on United States-China Relations Technology Transfer Study Team to
the People's Republic of China, July 25-August 7, l987


Director and Instructor, Southeastern Regional Workshop on Effective Teaching of Economics co-
sponsored by the Joint Council on Economic Education and the Georgia Council on Economic
Education, summer l984


Economist member of National Science Foundation team advising Saudi Arabian National Center
on Science and Technology, Riyadh, Saudi Arabia, January 2l-30, l98l




                                                18
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 64 of 104




Head, U. S. Delegation to the Soviet Union on The Planning and Management of Research and
Development in Soviet Industrial Organizations, December l979


Economist for Consumer Economics Institute for College and University Professors, American
Express Foundation and Joint Council on Economic Education, Summer l979




GRANTS


"Protection of Intellectual Property Rights in S&T and Economic Performance," funded by the
Brazil-U.S. Business Council of the Chamber of Commerce of the United States and the National
Science Foundation l988-89


"Communicating Economic Understanding", a program designed for businesses in developing and
conducting economic education programming, pilot programs in New York, Chicago and Atlanta Fall
l984, funded by grants from The Coca-Cola Foundation, Inc., The J. M. Foundation, and R. J.
Reynolds Industries


"Economics in the Middle Grades Curriculum: A Teacher Education Project," Summer l979-Spring
l980, funded by the National Science Foundation


"Model Program to Provide Consumers' Education to Low Income Atlantans," l976-77, funded by
the United States Office of Education


"Summer Social Science Program in Economics for Outstanding High School Students," Summer
l975, funded by the National Science Foundation


EDITORIAL ACTIVITIES


Reviewer for National Science Foundation


Member of the Editorial Board, Journal of Comparative Strategy




                                               19
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 65 of 104




Editorial Advisory Board, Studies in Economic Analysis, University of South Carolina


Guest Editor, special issue on Economic Education, Georgia Social Studies Journal, November
l976


Referee, Journal of Economic Education, Southern Economic Journal


Member of the Editorial Board, Journal of Private Enterprise




PAPERS PRESENTED AT PROFESSIONAL MEETINGS


"Intellectual Property Protection, Entrepreneurship, and Economic Growth" (with Mark Thompson),
Association of Private Enterprise Education meeting, Las Vegas, March/April 1996.


"Intellectual Property Protection, Entrepreneurship, and Economic Growth" (with Mark Thompson),
at the ENDEC World Conference on Entrepreneurship in Transitional Economies, Entrepreneurship
Development Centre, Nanyang Technological University, held in Shanghai, People's Republic of
China, December 1995.


"An Empirical Analysis of the Impact of Patent Protection on Economic Growth" (with Mark A.
Thompson), Southern Economic Association Annual Conference, New Orleans, November 1995.


"Entrepreneurship Education: In Class and Out," Georgia Council for the Social Studies,
Savannah, Georgia, October 1995.


"Entrepreneurship and Economics: A Further Contribution" (with Calvin A. Kent), Society of
Economic Educators, Cincinnati, Ohio, May 1995.


"Entrepreneurship Education Programming: What's Available for the Senior High Schools and How
Good Is It?" 13th Annual International Entrepreneurship Education Forum, Albuquerque, New
Mexico, May 1995.




                                                20
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 66 of 104




"Preparing the Labor Force for the Challenges of Global Competition (with Stanley Smits), Miles
International Conference, El Paso, Texas, April 30/May 2, 1995.


"Economic and Entrepreneurship Education in Russia," International Secondary Economics
Education Conference, Liverpool, April 18-20, 1995.
"Entrepreneurship Education: Two Perspectives," University of Arkansas, Fayetteville, November
1994.


"Technical Cooperation Among Developing Countries," at symposium, The University del Salvador,
Buenos Aires, October 1994.


"Evaluation of Text and Program Materials," session on Entrepreneurship in the K-12 Curriculum,
annual meeting of The National Council on Economic Education and the National Association of
Economic Educators, Williamsburg, Virginia, September 1994.


"Strategies for Designing Economic and Entrepreneurship Education Instruction for Pre-University
Students in Russia" (with Thomas McKinnon), Moscow State University, Russia, April/May 1994.


"The Integration of Entrepreneurship in the Teaching of Microeconomics" (with Calvin A. Kent),
annual meeting of the Midsouth Academy of Economics and Finance, Nashville, Tennessee,
February 1994.


"Technology Transfer and Environmental Issues" at symposium entitled "Society and the University
in the 21st Century." University of del Salvador, Buenos Aires, Argentina, October 18-22, 1993.


"Role of Entrepreneurship Economic Education in Curricula," annual meeting of the National
Council on Economic Education and the National Association of Economic Educators, Milwaukee,
Wisconsin, October 6-9, 1993.


"NAFTA and the Environment: Beware of Wolves (Protection) in Sheep's Clothing
(Environment)." 38th World Conference of the International Council for Small Business, June
1993.




                                                21
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 67 of 104




"Clarifying the Role of Entrepreneurship in Neo-Classical Macro-Economics: Policy Implications"
(with Calvin Kent), Annual Conference of The Association of Private Enterprise Education,
Washington, D.C., April 4-6, 1993.


"Precollege Mathematics and Science Education in the Former Soviet Union" (with Catherine
Ailes), American Association for the Advancement of Science annual meeting, Boston, February 12,
1993.


"Environmental Issues and Economic Growth: The Case of NAFTA," Symposium, The New Vision
of America for the 21st Century: Unity and Diversity, University of Salvador, Buenos Aires,
Argentina in November, 1992.


"Controlling Pollution by All Means: Incentives Save Money," (with Carl Mink, Georgia State
University), 17th Annual Conference of The Association of Private Enterprise Education, April 11-14,
1992, Hartford, Connecticut.


"The Role of Economic Education and Entrepreneurship in Dealing with Change." Sachsen-Anhalt
Educators Program sponsored by the State Department of Education, The Federal Reserve Bank of
Atlanta, and the Georgia Council on Economic Education, April 7, 1992.


"Designing an Economic Education Program for the Commonwealth of Independent States" (with
Thomas McKinnon, University of Arkansas), MidSouth Academy of Economics and Finance, Mobile,
February 1992.


"Clarifying the Role of Entrepreneurship in Microeconomics" (with Calvin Kent, Department of
Energy and Baylor University), Missouri Valley Economic Association, St. Louis, February 1992.


"Economic Rationales for Intellectual Property Protection in Developing Countries," Argentine
Symposium, University of Salvador, Buenos Aires, Argentina: Rethinking the Concept of Security:
Issues and Implications for the Post Cold War Era, October 12-19, 1991.


"Intellectual Property Rights," presentation before the Treasury Executive Institute, Washington,
D.C., June l2, l99l


                                                 22
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 68 of 104




"An Economic Rationale for Stronger Intellectual Property Protection in Developing Countries,"
Association of Private Enterprise Education, Nashville, TN, April l99l


"General Issues Affecting the Development of High Technology Industries, "    MidSouth Academy
of Economics and Finance, Shreveport, LA, February l99l


"The Position of Distinguished Economics on Economics Education," Eastern Economic
Association, Pittsburgh, PA, March l99l


"Integrating Entrepreneurship Concepts into Economics Education", Joint Council on Economic
Education/NAEE annual meeting, Los Angeles, October l990


"International Property Rights and International Trade," Georgia Association of Economics and
Finance annual meeting, Milledgeville, Ga., May 4, l990


"Intellectual Property Rights in the l990's: Problems and Solutions," J. Anderson Davis Lecture
Series Keynote Address, MidSouth Academy of Economics and Finance, February 8, l990,
Jackson, Miss.


"The Next Stage of the DEEP Process," session on Perspectives on the Future of DEEP,
JCEE/NAEE annual meeting, Atlanta, Ga., October l989


"Making the Case for Entrepreneurship Education," in session on Entrepreneurship Education,
JCEE/NAEE annual meeting, Atlanta, October l989


"Economics and Entrepreneurship Education in the Elementary Grade," Conference on Economics
Education, administered by the Reason Foundation for the Towbes Foundation, Santa Barbara,
California, August l988


"Teaching Entrepreneurship in Secondary Schools," Association for Private Enterprise Education
annual meeting, Cleveland, Ohio, April l988




                                                 23
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 69 of 104




"Just What is Entrepreneurship Anyway?", Widener University Conference on Entrepreneurship
Education, March l988


"General Issues Affecting Sector Development," World Bank China Electronics Industry Seminar,
Washington, D.C., October l987


"Teaching Entrepreneurship in Elementary and Secondary Schools," Western Economic
Association, Vancouver, B.C., July l987


"The Current Status of the Science Curriculum," paper for the l986 National Forum for Social
Science, American Association for the Advancement of Science, Washington, D.C., November l4-
l5, l986


"National Policies for Developing High Technology Industries: International Comparisons--
Preliminary Findings and Observations," paper presented before Brazil-U.S. Business Council VIII
Plenary, Brazil, May 3l, l985


"Increasing Competitiveness of the Japanese in the Telecommunications Industry," Georgia
Association of Economic Educators, April l9, l985


"Review of U.S. Advanced Technology Policy,' Brazil-U.S. Business Council VII Plenary, Sao
Paulo, Brazil, October 5-6, l983


"Communicating the Disinflation to Management: A Matter of Economic Education," Conference
on Strategic Planning in a Disinflationary Economy" sponsored by National Association of Business
Economists/ Atlanta Economics Club, Atlanta, Ga., April l983


"Training and Utilization of Scientists and Engineers in the U.S.," with Catherine Ailes, sponsored
by the National Academy of Science's Committee on Scholarly Communication with the People's
Republic of China, Washington, D.C., January l983


Conference on Methods of Assessing U.S. Scientific Efforts, "Expert Panels as a Method of
Assessment," Baltimore, Maryland, October 27-28, l982


                                                 24
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 70 of 104




"National Differences in Curriculum and Instruction," Testimony before the National Commission on
Excellence in Education, February 25, l982


Forum on the Politics of Innovation and Productivity, "Role of Government in Productivity," Tarpon
Springs, Fla., December l980
Workshop on East-West Trade, "The Problems and Prospects of Compensation Agreements in
US-USSR Foreign Trade," Moscow, USSR, December l977


Western Economic Association, "US-USSR Trade: A Case of Technology Transfer," June l976


Southern Economic Association, "Growth, Capital-Output Ratios, and the Soviet Chemical
industry," in session on East European Economies, November l973


Southern Economic Association, "Soviet Urban Policy: A Study in Contradictions," with Clyde
Haulman, November l973


Western Economic Association, "Technological Change in the Soviet Chemical Industry," with
Carlisle Moody, August l973


PROFESSIONAL MEETING PARTICIPATIONS


Attended annual meeting of Georgia Association of Economics and Finance, Georgia College,
Milledgeville, GA, April 1994.


Moderator for Workshop 1, "Reflections of the Evolving Global Economy: Tracking Trends," of the
series entitled "The Relevance of International Business to Non-Business Disciplines" sponsored
by The Georgia Tech Center for International Business, Education and Research and The Regents'
Global Center in cooperation with The Georgia State University Institute of International Business,
The Southern Center for International Studies, and The University Center in Georgia, March 1994.




                                                 25
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 71 of 104




Discussant, session on "Creative Secondary Level Economic Education Programs" at the annual
meeting of the Midsouth Academy of Economics and Finance, Nashville, Tennessee, February
1994.


Keynote Speaker, "Economic Education -- A Domestic and Global Perspective," at seminar
entitled Innovative Teaching Strategies for the Economics Curriculum, sponsored by South-Western
Publishing Co., Atlanta, October 1993.


Speaker, program celebrating the opening of the Institute for EastWest Studies European Center in
Atlanta. Spoke during session on "Private Sector Development in Eastern Europe," September
1993.


Speaker, seminar sponsored by the College of Business Administration and the Regents' Global
Center for an audience of 75 Russian business persons, August 1993.


Panelist, session on "Intellectual Property Issues," Third International Conference on Academic-
Industry Relations, State University of New York at Purchase, April 30-May 2, 1993.


Attended conference on "Changes in the Former Soviet Union," Georgetown University, April 1993.


Attended annual meeting of The Society of Economics Educators, Los Angeles, March 1993.


Chaired session, "Success Factors in Black Entrepreneurship." 17th Annual Conference of The
Association of Private Enterprise Education, April 11-14, 1992, Hartford, Connecticut.


Invited to make a presentation on "Economics and Entrepreneurship in the Pre-college Curriculum"
to the Social Studies Assessment Consortium at UCLA, March 26-27, 1992.


Discussant, session on Socialist Economies in Transition, "Converting Sellers' to Buyers' Markets
in the Soviet Union" by Susan Linz, Michigan State University, Southern Economic Association
meeting, 1991.




                                                 26
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 72 of 104




Discussant, session on The Economics of Science, "Scientific Rewards and the Economic Nature
of the Scientific Endeavor" By Paula E. Stephan, Georgia State University and Sharon G. Levin,
University of Missouri-St. Louis, Southern Economic Association meeting, 1991.


Presenter, session on An Experiential Approach to Teaching Economics and Entrepreneurship to
Secondary Students, Georgia Council for the Social Sciences l99l fall conference, Savannah, Ga.


Discussant, CSWEP Panel on Socialist Economies in Transition, Southern Economic Association,
November l99l


Invited participant, Price-Babson Entrepreneurship Institute, Babson College, May l9-23, l99l


Discussant, sessions on Industrial Organization and Public Policy; and on Market Structures and
Firm Behavior; at MidSouth Academy of Economics and Finance, February l99l, Shreveport, LA


Session chair, Exporting Free Market Economics Education: A True 'Leading Sector'?, Association
of Private Enterprise Education, Dallas, TX, April l990


Discussant, Economics in the School Curriculum: The DEEP Experience National Conference,
Cleveland, OH, May l8-20, l989


Director, Protection of Intellectual Property Rights in S&T and Economic Performance Symposium
sponsored by the Brazil-U.S. Business Council of the Chamber of Commerce of the U.S. and the
National Science Foundation, April l989


Session chair, Plenary Session on "Entrepreneurship and Economic Development," Association of
Private Enterprise Education, Orlando, FL, April l989


Program coordinator for student papers in economics/finance, MidSouth Academy of Economics
and Finance annual meeting, Nashville, TN, February l989, moderator, Student Paper Session I


Moderator and panelist, Panel on Entrepreneurship, MidSouth Academy of Economics and Finance,
February l989


                                                 27
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 73 of 104




Invited participant, XI Plenary, Brazil-U.S. Business Council, Brasilia, May 30-June l, l988


Discussant, Association for Private Enterprise session on "What High School Economics IS,"
Cleveland, OH, April l988


Session chair, "Identifying, Encouraging and Preparing the Entrepreneur for Survival," APEE
annual meeting, Cleveland, OH, April l988


Chair, panel on Entrepreneurial Education, Georgia Association of Economics and Finance, Unicoi,
GA, March l988


Director, NSF-sponsored "U.S.-PRC Joint Workshop on the Measurement of the Impact of S&T on
Development," Washington, D.C., September l4-l8, l987


Panel, "What Is Economic Education? A Roundtable," invited session, Western Economic
Association, Vancouver, B.C., July l987


Chair and panelist, session on "Black Entrepreneurship," Association of Private Enterprise
Education, Atlanta, April l987


Chair, session on "The Participants in Private Enterprise - Studies of the Entrepreneurs,"
Association of Private Enterprise Education, Atlanta, April l987


Panel, "The U.S. Economy - Present and Future Trends," with Dr. Donald Ratajczak and Ms.
Mary Rosenbaum, London Business School International Executive Program, Georgia State
University, International Business Council, November l7, l986


Panel, "International Economic Competition", with Claudio Frischtak, World Bank; Henry Nau,
George Washington University; and Denis Simon, MIT, International Legislative Forum sponsored
by International Business Council, Southern Legislative Conference, and Southern Center for
International Studies, Atlanta, November 20-2l, l986




                                                 28
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 74 of 104




Invited discussant of paper by John Culbertson on "International Economic Concepts," Conference
on Economic Education sponsored by Joint Council on Economic Education, September l8-20,
l986, Massachusetts Institute of Technology


Invited participant, Symposium on Soviet Science, NATO Science Committee, Brussels, Belgium,
September 24-26, l986


Invited participant, Brazil-U.S. Business Council Tenth Anniversary Plenary Meeting, May l3-l4,
l986, Washington, D.C.


Project Director, Symposium on "Natio delegation, Federal University of Brazil Seminar, Recife,
October l984


Participant, Advanced Teacher Training Program Workshop, University of Colorado, June l983


Moderator, panel on "Case Studies in Cooperation: Lessons to Be Learned for the Future,"
Conference on the U.S.-Brazil Private Sector Cooperation in Science and Technology for the
l980's, sponsored by SRI International and the National Science Foundation, Washington, D.C.,
March l983


Chair, program on Effective Teaching of College Economics Courses, Midsouth Academy of
Economists, February l982


Participant, Teacher Training Program Workshop, Harvard University, June l982


Participant, Conference of the U.S.-USSR Science Policy Working Group, sponsored by National
Science Foundation, Washington, D.C., May l982


Chair, Soviet and East European Economics session, Eastern Economic Association, Spring l982


Program Committee, Eastern Economic Association annual meeting, Spring l982




                                                29
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 75 of 104




Chair, panel on International Comparison of Education and Training of Scientists and Engineers,
Science Race Conference, SRI International, December l7 and l8, l98l


Participant, NSF Planning Symposium: U.S. Science Cooperation with Industrial Countries,
Washington, D.C., SRI International, December 7-8, l98l


Discussant, session on Economic Education, Southern Economic Association meetings, November
l979


Discussant session on Socialist Economics, Southern Economic Association meetings, November
l978


Discussant, session on Economic Education, Southern Economic Association meetings, November
l978


Workshop on East-West Trade, Moscow, USSR, June l978
Workshop on Training Sciencists and Engineers in the United States and the USSF, (Science
Policy Working Group, US-USSR Scientific and Technical Exchange Program), Washington, D.C.,
March l978


Chair, session on Input-Output Analysis in the USSR, American Association for the Advancement
of Slavic Studies, October l977


Chair, session on Soviet Economy, Southern Economic Association, November l975


Discussant, session on the Soviet Economy, Southern Slavic Association, November l975


Participant, National Association of Center and Council Directors meetings, two sessions: "Role of
State Council Directors in Economic Education," and "Economic Enrichment Program for
Outstanding High School Students," October l975


Discussant, session on Economic Education, Southern Economic Association meetings, November
l973


                                                30
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 76 of 104




Discussant, "A Model of a Soviet Firm," Atlantic Economic Association meetings, September l973


U.S.-Soviet Technology Transfer Seminar, Proceedings published by Hudson Institute, HI-l843-DD,
May l973


Discussant, session on Technological Assimilation in the Soviet Union, Southern Conference on
Slavic Studies, October l972


Discussant, session on Peasant Economies, Southern Economic Association meeting, November
l969




CONTINUING EDUCATION AND PUBLIC SERVICE


Talk: "The Economy's Blue Skies with Only a Few Clouds," to The Rotary Club, Milledgeville,
Georgia, April 1994.


Conducted two-week workshop for Area Secondary Teachers of Advance Placement Economics
Courses, June 15-26, 1992.


Speaker: "Writing Research Proposals/Obtaining Grants," Georgia State University, Faculty
Development Committee Workshop Series, April 17, 1992.


Presentation: "Entrepreneurship, Economic Education and Free Enterprise Programs," semi-
annual meeting of the Board of Advisors of the College of Business Administration, Georgia State
University, February 12, 1992.
Presentation: "Getting a Job in the Twenty-First Century," You and the American Economy
Program sponsored by the Ramsey Chair of Private Enterprise and the Rotary Club of Atlanta,
March 2, 1992.




                                               31
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 77 of 104




Guest lecture to Principles of Economics class on the "Transformation of the Economy of the
former Soviet Union," March 4, 1992.


Speaker at the meeting of the Phi Delta Kappa Chapter of Rome, Georgia. Topic: "Economics
and Entrepreneurship Curriculum for At Risk Students," March 5, 1992.


Speaker at the Georgia College School of Business Administration's Business Forum on the subject
of "The Transformation of the Economies of Eastern Europe, Topic: "Economics and
Entrepreneurship Curriculum for At Risk Students," March 5, 1992.


Speaker at the Georgia College School of Business Administration's Business Forum on the subject
of "The Transformation of the Economies of Eastern Europe," March 9, 1992.


Served on the Curriculum Writing team for the second year curriculum of the Summer Business
Academy sponsored by the Georgia Business Forum, 1992.


Speaker at a series of 16 workshops on the instruction of economics in the secondary schools of
Georgia. Workshops sponsored by the Georgia Department of Education and the Georgia Council
on Economic Education, October, November, December 1991.


Briefed the Program Committee of the Georgia Council on Economic Education on the 16
workshops for teachers of high school economics, January 1992.


Briefed the Executive Committee of the Georgia Council on Economic Education on the 16
workshops for teachers of high school economics held in the Fall 1991 on March 4, 1992.


Convocation speaker at Reinhardt College, "Entrepreneurship in Education," October 1991.


Speaker, "The Soviet Union in Transition," at the Philosophy Forum, Georgia State University,
October 1991.


Two sessions on "Entrepreneurship in Economics Education" at the Georgia Council on Economics
Education conference for High School educators, September 1991.


                                               32
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 78 of 104




Author (with Beverly Armento) of the curriculum for a Residential Business Academy Program for
Outstanding High School Students for Summer of l99l, sponsored by the Georgia Business Forum


Member, Research Committee, Georgia Council on Economic Education, l990-9l, 1991-92.


Talk to the James D. Compton Private Enterprise Foundation for the Georgia Council on Economic
Education, Brunswick, GA, April 23, l99l


Program Director, l99l You and the American Economy Program co-sponsored by the Ramsey
Chair of Private Enterprise and the Atlanta Rotary Club


Advisory Council, Alonzo A. Crim High School Center for Entrepreneurship, l988--


Advisory Committee, Fulton/DeKalb/City of Atlanta Small Business Development (GRASP)
Project, l988--


Headed local arrangements for International Business Plan Competition co-sponsored by Salisbury
State University, the Ramsey Chair of Private Enterprise and the Zwerner Professorship of Family
Owned Business, Atlanta, March l990


Member of Advisory Committee to the Foundation for Teaching Economics, Pilot Video Series on
Entrepreneurs for Middle Grades History, l989-90


Talk, "Issues in Intellectual Property Rights Protection," to Managers' Retreat on International
Business Development sponsored by Southern Research Institute, New Orleans, October l989


Conducted E3 Teacher Training Workshop, Philadelphia, PA, ll/l7/89


Lecture on International Trade to Westminster Schools Summer Economics Institute, l989


Talks, "International Aspects: Entrepreneurship," Entrepreneurship for Teachers Course, John
Carroll University, Cleveland, Ohio, October l988 and October l987


                                                 33
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 79 of 104




Talk, "What is Entrepreneurship?", Georgia Business Forum, Cobb Gifted Program, Atlanta,
February l4, l989


Two workshops, "Science and Technology in International Economics," and "Developmental
Economics" for Atlanta International Affairs Seminar sponsored by the GSU Model UN Program,
September l7, l988


Moderator, August 4, l988 meeting of the Directors' Roundtable, Center for Professional Education,
Georgia State University


Conducted economics portion of seminar for Fulbright Scholars sponsored by Institute of
International Education, Atlanta, January 29-30, l988


Governor's Growth Strategies Commission, Growth Issues Resources Council, Fall l987


Soviet Host Committee for the Soviet Exhibit, City of Atlanta Bureau of Cultural Affairs, Fall l987
Talks, "Quarterly Economic Overview," Centers for Disease Control Seminars, June l0, l987, June
6, l985, June l4, l985, November 30, l984


Visiting scholar for Governor's Honors Program, Valdosta, Summers l984, l985, l986


Seminars on "America and the World Economy," You and the American Economy Program
sponsored by the Chair of Private Enterprise and the Atlanta Rotary Club, Spring l98l, l982, l983,
l984, l985, l986


CMA Review, Coca-Cola l986 (3 sessions on economics), spring l986


Guest lecturer, "The Soviet Economy: Problems and Prospects," Augusta College Seminar Series
on Russia, May 7, l985




                                                 34
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 80 of 104




Talks, "Russian Economic Trends Since l9l7," Auburn University Center for Economic Education;
and "Education and Technology in Russia," Comparative Economics Institute banquet speech,
Auburn University, July l9, l984


Director, Managerial Economics Program, Williams Brothers Concrete, February-March l983


Talk, "Reagonomics - Pro and Con," Hugh O'Brian Youth Leadership Seminar, April 24, l982


Talk, "Combating Inflation and Improving Productivity," February 4, l982 and "A Framework for
Developing an Economic Understanding Program," February 5, l982, for the "Communicating
Economic Understanding" program sponsored by Chair of Private Enterprise, Georgia State
University and the International Association of Business Communicators


Advisory Board, Hugh O'Brian Youth Foundation Youth Leadership Seminar, l98l


The Economy and How It Works, Economic Education Employee Program for the C&S National
Bank, November l98l


Featured guest speaker, Revitalizing the Economic Education Program in Alabama, before Alabama
Chamber of Commerce, Montgomery, Ala., Spring l98l


Economic Education for Employees, four sessions on The American Economy and How It Works,
Bremen Steel Co., January and February l98l


Topics in Economics course for six Master Teachers in Economics, through Center for Business
and Economic Education, Georgia State University, Spring l98l, funded by Gulf Oil Corporation


Economics sessions, Atlanta Society of Financial Analysts, l98l and l982 Study Program for the
CFA Exam, Georgia State University


Seminar, "National Economy," AT&T Southern Region Engineering Department, Second Level-Up
Meeting, February l98l




                                               35
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 81 of 104




Talk, "The American Economy, Problems and Prospects," Hugh O'Brian Foundation, April l98l


Program, "Comparative Economics and International Economic Relations," presented for students
of Atlanta City, DeKalb County, and Westminster Schools, Atlanta, March-April l979


Series of lectures on selected economic topics, presented for Atlanta City school teachers,
January-April l979


Series of lectures presented for Barrow County school teachers, January-April l979


Lecturer and panel moderator, workshop on "Private Enterprise Perspectives on Medical Care,"
Medical Association of Georgia, May l979


"Economic Education and the Media," Atlanta Association of Professional Advertising Women,
August l978


National Association of Affiliated Economic Education Directors, "Managing Programs in Economic
Education," October l978


Director, Economic Education Program for Employees of Gold Kist and Cotton States Insurance
Company, Georgia, April l978


Coordinator, Seminar for Teachers, "Economics in the Classroom," sponsored by Chatham County
Board of Education, October l977-February l978


Director, Master Teachers in Economic Education Program, January-July l978


National Association of Affiliated Economic Education Directors program on Economic Education for
Employees, October l977


Coordinator and Lecturer, Economic Education for Employees of TRW, Columbus, GA, October-
November l977




                                                36
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 82 of 104




Moderator, Panel on the Media and Economic Education, National Conference on Business and the
Media, GSU, September l977


Talk, "The Soviet Economy," Georgia Architectural and Engineering Society, April l976


Director, Economic Education for Employees of Owens-Corning, Atlanta, GA, January l976


Director, Program in Economics for Management, National Bank of Georgia, December l975


Economic Enrichment Program for Outstanding High School Students, National Association of
Center and Council Directors of Economic Education, October l975


Talk, "Role of State Council Directors in Economic Education," National Association of Center and
Council Directors meeting, October l975


Developmental Economic Education Program, Container Corporation of America, October l975


Summer Workshop for Metropolitan Area Teachers in Economic Education, workshop director and
instructor of record, l975, l976, l978, l979, Georgia State University




                                                 37
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 83 of 104




OTHER SERVICE ACTIVITIES


Interviewed by CNN Radio about the Gallup poll on economic understanding, September 10, 1992.


Interviewed by Bond Buyer on subject of Free Trade in Latin America, May 1992.


Interviewed by Atlanta Journal/Constitution business columnist Ernest Holsendolph, and quoted in
his article, "Assignment: Make Money," on March 25, 1992.


Interviewed by Rhonda Richards and quoted in an entrepreneurship cover story in USA Today,
February 11, 1992.


Interviewed on WGST Radio, September 4, 1991.


Interviewed on GSU Radio Station, September 10, 1991.


Judge, Teacher of the Year Awards, Georgia Council on Economic Education, February-March
l990, l99l, 1992.


Talk, "Private Enterprise or Perestroika," Advanced Placement Economics class at Riverwood High
School, September l990


Interview for GSU Signal, "Talking With GSU's Experts" series, February 6, l990


Talk to MK 9l5 seminar academic career module on "Your Research Agenda", 2/82/90


Talk, "Economic Changes in the Soviet Union," Master Teachers of Economic Education class,
GSU, November 9, l988


Participated in Atlanta Teacher/Business Round Table, January l6, l987


Talk on the Soviet Economy, Holy Innocents Episcopal Church lecture series, October l986




                                               38
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 84 of 104




Member of selection committee, Chevis Regal Young Entrepreneurs Award, Georgia area, l986


Welcoming remarks, Conference on How Labor Markets Work, GSU, November 7, l986


Lecture on The Southeast and International Trade for the Westminster summer Economics Institute
sponsored by the Center of Business and Economic Education, GSU, June l9, l986


Talk, "Business Perspectives in Today's Economy," Richway Management Group, January l5, l985


Talk, "Economic Outlook," Alpha Kappa Psi, January l7, l985


Telephone interview for Atlanta Constitution on the President's export policies, September 23, l985


Talk, "Faculty, Programs and Funding: Partners in Promoting Academic Excellence," to Centurion
and Ambassadors Club volunteers, GSU Alumni Association, September l8, l985


Presentation to CBA Advisory Council breakfast meeting, November 8, l985


Economics for Elementary Teachers and Their Pupils, Center for Business and Economic
Education Program GSU, Fall l984


Committee to review the Social Studies text, Topicality Review Conference, National Evaluation
Systems, Inc., Decatur, GA, June 7-8, l984


Talk, "World Economic Order," International Executives Program sponsored by Georgia World
Congress Institute and the Cobb International Center, Lake Arrowhead, November l984


Talk on Brazil for Economics Undergraduate Seminar Series, GSU, Fall l984


Talk, "Higher Education in Georgia: The Year Ahead," Augusta College, September l983


Presentation on U.S. Trade Relations with Developing Countries," Department of Economics
Undergraduate Seminar, November l983


                                                39
   Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 85 of 104




Talk, Economics for Executives Forum, Georgia College, Milledgeville, January l982


Participant, Conference on Mental Health and the Economy, Georgia State University, March l982


Presentation on Careers for Economists, Department of Economics Undergraduate Seminar, May
l4, l982


Panelist, program on Business Ethics, MBA Assn. and Student Government Assn., Georgia State
University, April l98l


Talk, Cobb County Chamber of Commerce, February l98l


Talk, "Forecasting the Economic Environment," Achim Lodge of B'nai B'rith, November l98l


Talk, "The Soviet Economy," Kiwanis Club, September l980


TV Interview, "Georgia Economic Update," Georgia Educational TV, December l980


Talk, "The Soviet Economy," Heards Ferry Elementary School, Atlanta, April l979


Talk, "The Role of Private Enterprise Education in Private Colleges and Universities," Berry
College, April l979


Talk, "The Soviet Economy: Problems and Prospects," Georgia Southern College, Statesboro, GA,
April l979


Member, Georgia Teaching Field Criterion, Referenced Test Ad Hoc Committee in Social Studies,
l976


Consultant, "Economic Education Program for Low Income Communities in Atlanta" coauthored by
Charles Boardman, Sponsored by HEW, l976-77




                                                40
   Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 86 of 104




"A Look at the American Economy: What Are the Alternatives?" American Association of University
Women, Oglethorpe University, Atlanta, GA, November l975


"Economics in the Social Studies," Council of State Social Studies Specialists, November l975


Session on Value Clarification in Economics," National Council on Social Studies, November l975


Discussant, Aspects of Economics Education, Federal Conference on Vocational Education,
October l975


UNIVERSITY SERVICE


University:


Member of Georgia State University President's Fiscal Advisory Council, 1995-96.


Chair of Senate Sub-Committee on Intellectual Property Rights, 1995-96.


Chair of University Senate Nominating Committee, 1995.


Chair, University Center in Georgia Interdepartmental Groups for Economics, 1994-95.


Member of Ad Hoc Committee to Review the Organization of the Office of Vice President of
Research, 1995.


Member of Ad Hoc Committee on the Establishment of a University College of Policy Studies,
1995.


Committee member for the three-year review of the Provost of Georgia State University, 1995.


Committee member of the review committee for Vice President of Research for the Chancellor's
Initiative Fund, 1995




                                               41
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 87 of 104




Serves on Academic Council of the Regents' Global Center, 1992 --


Member, University Senate Research Committee, 1992-93.


Member, University Senate PACE Committee, 1992-93.


Served on University Senate Nominating Committee, Spring 1993.


Served as member of Evaluation Committee for the Provost/Vice President for Academic Affairs,
Spring 1993. Coordinated evaluations for the College of Business Administration.


Liason, Georgia Research Alliance Universities Academic and Research Faculty, 1992.


Member, Search Committee for Director of Research and Development, Winter l99l


Member, University Institutional Review Board for the Protection of Human Subjects, Spring l987 -
Fall l990


Member, Search Committee for Dean of the College of Business Administration, l2/83-3/84


Participant, The College Student with a Disability workshop for faculty, GSU, ll/5/84
Participant, seminar for departmental chairmen, GSU, ll/26-84




College:


Co-chair of the editorial board of GSU Business Press, 1993
Served on the Promotion and Tenure subcommittee of the CBA Faculty Affairs Committee for
1992-1993.
Organizer of Current Issues in Economics seminars sponsored by the Ramsey               Chair of
Private Enterprise, Fall l990 --
Chairman, Research Program Committee, spring l987 --
CBA Drafting Committee, l988-90


                                                42
   Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 88 of 104




Faculty Development Seminars on Grantsmanship, December l986,
 May l988, January l990, December l990; Seminar on Large Databases,      February l989,
February l99l
Interim Chairman, Department of Economics, winter l989
Center for Business and Economic Education Advisory Committee, l988 --
Search Committee for Director of Policy Research Program, spring l988
Search Committee for Director of Institute of Industrial Relations,
 l987-88
Faculty representative on CBA Board of Advisors Committee on Faculty
 Internships, l987-88
Member, International Business Interdisciplinary Academic Advisory
 Committee, l985-88; during winter and spring l987 served as member
 of special subcommittee to intensively examine and develop the
 curriculum in international business at both undergraduate and
 graduate levels
Chairman, CBA Review Board for Protection of Human Subjects, l986-87
EMBA Faculty, l985-87
Member, Task Force on Faculty Development for the AACSB Revisitation
 Report, l983-84
Search Committee for Chair of Marketing Department, fall l984
Search Committee for Director, Institute of Industrial Relations, l980
Chairman, Search Committee for Director of International Business
 Programs, l980-8l
Faculty of the Industrial Relations Institute, l98l-86
Member, Productivity Center, l982-86
Instructional Innovation and Development Council, l975-76




Department of Economics/Policy Research Center:


Representative to the University Senate, 1994
Member of the Department of Economics Strategic Planning Committee, 1991-92.




                                                   43
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 89 of 104




Directed with David Bruce the preparation of a proposal to the Department of Education on
        establishing a Center for International Business Education at the College of Business
        Administration, Georgia State University, February 1992.




CBA Executive Committee:


Chairman, subcommittee to recommend Faculty Recognition Awards for Research,            l988, l989,
l990
Chairman, committee to make recommendations to allocate research
 professor program resources to other research related activities, fall
 l986
Member, joint subcommittee on criteria for summer teaching, winter l985
Member, subcommittee on budget allocation, spring l984
Member, Alumni Distinguished Professor selection committee, l983-85
Member, subcommittee on off-campus class schedule for l983-84, l982-83
Chairman, subcommittee to develop college-wide promotion and tenure
 document, summer-fall l983
Member, subcommittee on core course coordination policy, winter l983
Chairman, subcommittee on Center for Innovation and Productivity, l980-8l
Subcommittee to Review a Plan to Survey Faculty Community Service, l980
Chairman, subcommittee on research, l98l-83
Chairman, subcommittee on criteria and procedures for selection of Alumni
 Distinguished Professors, l982-83




DISSERTATIONS DIRECTED


Laddie Sula (completed)
Parviz Asheghian (completed l980)
Jashwant Dhatt (completed l983)
Lucille Welzant, College of Education (completed)
Robert Materna (completed l988)


                                                 44
   Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 90 of 104




Lloyd Russow (completed l989)


CITATIONS


"Soviet Chemical Industry: A Modern Growth Sector," in Soviet Economy in a New Perspective,
Joint Committee, U. S. Congress, l976: cited by V. Sobeslavsky and P. Beazley, The Transfer of
Technology to Socialist Countries published for Royal Institute of International Affairs by Gower
Publishing Co. Ltd., England, l980, Table 3, p. 43; footnotes 3-4, p. 42; footnote l5, p. ll0.


"Soviet Chemical Industry: A Modern Growth Sector," in Soviet Economy in a New Perspective,
Joint Economic Committee, U. S. Congress, l976: cited in Gorbachev's Economic Plans, Vol. l, p.
350, Study Papers Submitted to the Joint Economic Committee, U. S. Congress, November 23,
l987.


A Summary Report on the Educational Systems of the United States and the Soviet Union: A
Comparative Analysis, Catherine Ailes and Francis W. Rushing, SRI International, l98l: cited in C.
Sinclair, ed., The Status of Soviet Civil Science, p. l7, Martinus Nijhoff Publishers, l987


International Business Studies, Vol. 8, p. 3l, l977: cited by I. Lange, Journal of International
Business, Vol. 8, p. 5, l977


US-USSR Compensation, l977, cited by R. B. Foster, Comparative Strategy: An International
Journal, Vol. l, p. l3, l978


Southern Economic Journal, l972, cited by J. P. Bonin, Southern Economic Journal, Vol. 2, p.
490, l976


Southern Economic Journal, Vol. 38, p. 569, l972, cited by M. Ellman, Southern Economic
Journal, Vol. 39, p. 652, l973


Soviet Economy in a New Perspective, Joint Economic Committee, U.S. Congress, l976, pp. 535-
558, cited by Philip Hanson and Malcolm R. Hill, Joint Economic Committee, U.S. Congress, l979




                                                  45
   Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 91 of 104




Training and Utilization of Scientists, Engineers and Technicians 1 l98l, cited in National Science
Board, Science Indicators l980, U.S. Government Printing Office, l98l, pp. 6, l3, 220 (f.n.)


Training and Utilization of Scientists, Engineers and Technicians, l98l, pp. 75-76, cited in National
Science Board, Science Indicators l980, p. 209.


Training and Utilization of Scientists, Engineers and Technicians, l98l, pp. 74-93, in National
Science Board, Science Indicators l980, p. 7 (f.n.)


Training and Utilization of Scientists, Engineers and Technicians, l98l, p. 36, in National Science
Board, Science Indicators l980, p. 7 (f.n.)


The Science Race: Education and Employment of Scientists and Engineers, U.S. and USSR,
reviewed by S. Arunachalam in Science Today, January l983, pp. 64-66.


The Science Race, see High Technology and High School: Preparing Students for California's
Changing Economy, June l982, Office of Appropriate Technology, State of California, pp. ll8-l2l.


The Science Race, cited in "U.S. Science and Engineering Education and Manpower: Background;
Supply and Demand; and Comparison With Japan, the Soviet Union, and West Germany," Report
prepared by the Congressional Research Service, Library of Congress, transmitted to the
Committee on Science and Technology, U.S. House of Representatives, Ninety-Eighth Congress,
April l983. A principal source on the Soviet Union cited on pp. l06, l07, ll0, lll, ll2, ll3, ll4, ll5, ll6,
ll7, ll8, l27, l46, l47, l48, l49, 2ll, 228, 229, 239, and 240.


The Science Race, cited by John Irvine and Ben R. Martin, "Basic Research in the East and
West: A Comparison of the Scientific Accelerators," Research Paper, Science Policy Research
Unit, University of Sussex, May l983, fn l3.




   1
   Material from this report prepared for National Science Foundation, l98l, was incorporated into
The Science Race (see below).


                                                    46
   Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 92 of 104




The Science Race, cited in C. Sinclair, ed., The Status of Soviet Civil Science, p. l7, Martinus
Nijhoff Publishers, l987


The Science Race, cited in Soviet Education - A Journal of Translations, Richard Dobson, ed.,
"The Restructuring of Soviet Higher and Secondary Specialized Education: Phase l," July-August
l987, p. 23.


National Policies for Developing High Technology Industries, excerpts from paper by Henry Nau, in
Economic Development Abroad newsletter, National Council for Urban Economic Development and
International Center, Academy for State & Local Government, February l5, l988


National Policies for Developing High Technology Industries: International Comparisons, reviewed in
"Review Essay" by Simon Schwartzmann, Latin American Research Review, spring l989, pp. 209-
22l.


National Policies for Developing High Technology Industries, cited as 'recommended reading' in
John W. Sewell, "Toward North-South Partnership," Issues in Science and Technology, Vol. VI,
No. 3, Spring l990, p. 52.


Intellectual Property Rights in Science, Technology, and Economic Performance: International
Comparisons, reviewed in Reference and Research Book News, June l990.


"Building an Effective Economic Education Program Using Principles of Successful Adoption and
Implementation," (with C. L. Hahn), in Symmes ed., Economic Education: Links to the Social
Studies, cited in Effective Economic Education in the Schools, ed. William B. Walstad and John C.
Soper, National Education Association, l99l, p. 68.


"Soviet Math and Science Educational Reforms During Perestroika," (with C.P. Ailes), Technology
and Society, cited in "From Marx to Markets: Reform of the University Economics Curriculum in
Russia," Stanley L. Brue and Craig R. MacPhee, The Journal of Economic Education, 26 (2)
Spring 1995, p. 194.




                                                 47
  Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 93 of 104




"The Changing Face of Economics Instruction in Russia", in An International Perspective on
Economic Education, ed. W. B. Walstad, cited in "From Marx to Markets: Reform of the University
Economics Curriculum in Russia," Stanley L. Brue and Craig R. MacPhee, The Journal of
Economic Education, 26 (2) Spring 1995, p. 194.




                                               48
Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 94 of 104




                                       Fee Schedule

                                Francis W. Rushing, Ph.D.
                                  Economics Consultant




May 14, 2021



    My hourly fee for serving as an economics expert witness is three hundred and fifty
dollars per hour. This fee applies to time spent reviewing documents, doing analysis,
traveling and testifying at depositions and trials. My deposition fee is $1400.00 for the
first two hours and three hundred and fifty dollars per hour for any additional time. I
request a retainer of eight hours or $2,800.00 at the time I am retained.
Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 95 of 104
   Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 96 of 104



                  FACTS AND ASSUMPTIONS UPON WHICH THE ANALYSES ARE BASED


1. David Nelson Hooks was born on                    , On September 25, 2014 he died from gunshot
wounds to the head and torso at the age of 59 years. According to the Annuity Mortality Table for 1949,
Ultimate a 59 year old male would have a life expectancy of an additional 19.26 years.

2. Mr. Hooks married Theresa Pope Hooks in 1989 and is the father of a daughter, Carla Hooks and a
stepson, Brandon Dean. He had completed 11 grades of education at East Laurens High School. He later
completed his GED.

3. David Hooks was self-employed for 20 years prior to July, 2014. He was the owner and operator of
Eastside Construction, Inc. The tax returns for the corporation for the years 2009 -2014 show the
following net profits or net losses:

                                  2009                 $42,959
                                  2010                 $ (2,369)
                                  2011                 $ (6,362)
                                  2012                 $ 4,504
                                  2013                 $16,406)
                                  2014                 $ (1,921)

4. On July 22, 2014 Mr. Hooks applied for a position as Job Forman with Graham Brother Construction.
On July 31, 2014 he was hired as Job Foreman at the hourly wage of $28.00 and an overtime rate of
$42.00 per hour. He received his first check on August 8, 2014. Mr. Hooks only worked for 6.5 weeks
prior to his death.

5. This analysis uses as the base wage for Mr. Hooks the annualized wage of $77,149 based on his
hourly rates and the break-down of regular time and over time reflected in his pay records provided by
Graham Brothers Construction LLC. Profile 1 of this analysis assumes Mr. Hooks would have a worklife
of 4.06 years from his date of death. This worklife is taken from the worklife tables prepared by Gary R.
Skoog, James E. Ciecka, and Kurt V. Krueger and published in the Journal of Forensic Economics, 22 (2),
PP. 165-229, 2011. This wage is inflated at 3.0 per annum for his worklife. The worklife statistic reflects
Mr. Hooks’ sex, age, and educational attainment. The wage inflation rate is taken from the Bureau of
Labor of Labor Statics “Hours and Earnings in Private Non-agricultural Industries in the United States,
1970- 2019.

6. Profile 2. assumes Mr. Hooks would have continued to work to the age of 67 when he would have
retired and been eligible for full time social security retirement. Profile 3 assumes Mr. Hooks would
have worked until he reached the age of 70 when he could have drawn the maximum social security
retirement payments. Profile 1, 2, and 3 assume his wages would have increased at 3.0 percent per
annum.

7. Mr. Hooks was employed as an independent contractor and was not paid fringe benefits by Graham
Brothers Construction, LLC.

8. Mr. Hooks also performed household services. This analysis assumes he provided the average
number of hours per week as males in the United States at his age. The hourly data is reported in the
   Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 97 of 104



Bureau of Labor Statistics publication of the American Time Use Survey, 2013. The hours performed
would change as he aged and it is assumed he would have performed the services for his life expectancy
from the age 59. The hours have been valued at their replacement cost of $12.00 per hour. The hourly
rate reflects the average hourly rates of occupations similar to those of household services and they are
published in the Georgia Department of Labor Occupational wage data. The hourly rate is inflated at 3.0
percent per annum.

9. Wages and the value of household services have been reduced to present value using a 5.0 percent
discount rate per the Statutes of the State of Georgia.




                                          SUMMARY OF FINDINGS
                                             (2021 dollars)


Loss of Earning Capacity:

      Profile 1. Worklife of 4.06 years

                   Present value of past lost wages                   Total   $409,797




        Profile 2: Retirement at age 67

                   Present value of past lost wages                           $680,727
                   Present value of future lost wages                           90,930
                                                                              _________
                                                                        Total $771,657




          Profile 3: Retirement at age 70

                   Present value of past lost wages                            $ 680,727
                   Present Value of future lost wages                            353,759
                                                                             __________
                                                                       Total $1,034,486
     Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 98 of 104




Lost Value of Household Services

               Present value of lost past household services                   75,062

               Present value of lost future household services                123,486
                                                                            __________
                                                                   Total     $198,548


TOTAL ECONOMIC LOSSES

                  Profile 1: $409,797 plus household services $198,548= $608,345

                  Profile 2: $771,657 plus household services $198,548 = $970,205

                  Profile 3: $1,034,486 plus household services $198,548 = $1,233,034




                                         MATERIALS REVIEWED


1.    David M. Hooks employment records at Graham Brothers Contractors, LLC, 2014.

2. Theresa Pope Hooks Deposition, August 8, 2016, In the Matter of: Theresa Pope Hooks, Individually.
et al. vs Christopher Brewer, et al., Southern District of Georgia, Dublin Division.

3. Federal and State of Georgia Tax Returns of David Hooks and Teresa Hooks, 2009, 2010, 2012, 2013,
2014.

4. Federal and State of Georgia Tax Returns for Eastside Construction, Inc., 2009, 2010, 2012, 2013,
2014.
Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 99 of 104
Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 100 of 104
Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 101 of 104
Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 102 of 104
Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 103 of 104
Case 3:16-cv-00023-DHB-BKE Document 195-1 Filed 11/30/21 Page 104 of 104
